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11                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12

13   CHINA CENTRAL TELEVISION, a China ) Case No.
     company; CHINA INTERNATIONAL              ) CV 15-1869 MMM (AJWx)
14   COMMUNICATIONS CO., LTD., a China )
     company; TVB HOLDINGS (USA), INC., a ) COMPENDIUM OF
15   California corporation; and DISH          )
     NETWORK L.L.C., a Colorado corporation, ) EVIDENCE
16                         Plaintiffs,         ) IN SUPPORT OF
                                                 PLAINTIFFS’    MOTION FOR
            vs.                                ) DEFAULT JUDGMENT
17   CREATE NEW TECHNOLOGY (HK)                ) AGAINST CREATE NEW
     LIMITED, a Hong Kong company; HUA         ) TECHNOLOGY (HK)
18   YANG INTERNATIONAL TECHNOLOGY )) LIMITED AND HUA YANG
     LIMITED, a Hong Kong company;               INTERNATIONAL
19   SHENZHEN GREATVISION NETWORK )) TECHNOLOGY LIMITED
     TECHNOLOGY CO. LTD., a China                VOL 1 OF 5
20   company; CLUB TVPAD, INC., a California ))
     corporation; BENNETT WONG, an             ) [[Proposed] Order; Motion For
21   individual, ASHA MEDIA GROUP INC.           Default Judgment; Application To
     d/b/a TVPAD.COM, a Florida corporation; )) Seal concurrently submitted]
22   AMIT BHALLA, an individual;
     NEWTVPAD LTD. COMPANY d/b/a               )
23   NEWTVPAD.COM a/k/a TVPAD USA, a           ) Date: November 23, 2015
     Texas corporation; LIANGZHONG ZHOU, )) Time: 10:00 a.m.
24   an individual; HONGHUI CHEN d/b/a E-
     DIGITAL, an individual; JOHN DOE 1 d/b/a )) Courtroom: 780
25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN ) Judge:            Hon. Margaret M.
     DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )                Morrow
26   JOHN DOE 5 d/b/a GANG YUE; JOHN
     DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 )) Complaint Filed: March 13, 2015
27   d/b/a GANG TAI WU XIA; and JOHN DOES)
     8-10,                                     )
28                         Defendants.

     COMPENDIUM OF EVIDENCE
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                   DECLARATION OF CARLA A. McCAULEY
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 1                           DECLARATION OF CARLA A. MCCAULEY
 2           I, Carla A. McCauley, declare as follows:
 3           1.       I am licensed to practice law before all the courts in the State of
 4   California and am admitted to the United States Court of Appeals for the Ninth
 5   Circuit and the Central District of California. I am a partner at Davis Wright
 6   Tremaine LLP, counsel for Plaintiffs in the above-entitled matter. I submit this
 7   Declaration in support of Plaintiffs’ Motion for Entry of Default Judgment against
 8   Defendants Create New Technology (HK) Limited (“CNT”) and Hua Yang
 9   International Technology Limited (“HYIT”) (collectively “Defendants”). I have
10   personal knowledge of the facts contained herein, and, if called upon as a witness, I
11   could and would testify competently about these facts, except for those matters stated
12   expressly upon information and belief, which matters are believed to be true.
13          I.       Summary of Service of Papers and Compliance with Procedural
14                                               Requirements
15           2.       On March 16, 2015, copies of the Summons and Complaint in this
16   action were electronically delivered by my colleague, George Wukoson, to Owen
17   Tse, a Partner with Vivien Chan & Co., Solicitors & Notaries with offices located in
18   Hong Kong at 57/F Cheung Kong Center, 2 Queen’s Road Central. Mr. Tse
19   thereafter confirmed that, on March 17, 2015, the Summons and Complaint were
20   personally served on HYIT at its registered office in Hong Kong. Mr. Tse also
21   confirmed that, on March 18, 2015, the Summons and Complaint were personally
22   served on CNT at its registered office in Hong Kong. I was copied on all of these
23   communications between Mr. Wukoson and Mr. Tse. True and correct copies of the
24   Proofs of Service filed with the Court on March 24, 2015 are attached hereto as
25   Exhibit 8.
26           3.       To date, HYIT has neither appeared nor otherwise responded to the
27   Complaint, and Plaintiffs have not received any communications from either HYIT
28   or counsel for HYIT. CNT originally appeared by counsel to request a continuance

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 1   of its time to answer the Complaint and to oppose an ex parte application filed by
 2   Plaintiffs (see Dkt. Nos. 47 and 50). Shortly thereafter, however, CNT’s counsel
 3   asked for leave to withdraw, stating that CNT no longer intended to respond to the
 4   Complaint or to defend this action. A true and correct copy of the Notice of Motion
 5   of CNT’s counsel to withdraw, stating CNT’s intention to not file an answer, is
 6   attached hereto as Exhibit 9. CNT has not answered or otherwise responded to the
 7   Complaint in this action to date.
 8           4.       On May 28, 2015, the Clerk entered default as to HYIT and CNT after
 9   the Court determined that the parties had been properly served with the Complaint.
10   (See Dkt. Nos. 87-88.)
11           5.       HYIT and CNT are both companies organized under the laws of Hong
12   Kong. Neither HYIT nor CNT are minors or incompetent persons, nor are they
13   military service members, or otherwise entitled to the exceptions found in the
14   Servicemembers Civil Relief Act (50 App. U.S.C. § 521).
15           6.       On September 9, 2015, I emailed Owen Tse, one of Plaintiffs’ solicitors
16   in Hong Kong with the law firm of Vivien Chan & Co., to arrange for personal
17   service of this Motion for Default Judgment on CNT and HYIT at their registered
18   offices in Hong Kong. Attached hereto as Exhibit 10 is a true and correct copy of
19   my email to Mr. Tse arranging for service, and Mr. Tse’s response. Plaintiffs shall
20   file a Proof of Service of the Motion for Default Judgment and all accompanying
21   documents, executed by a solicitor from Vivien Chan & Co., and attesting to
22   personal service on CNT and HYIT at their registered offices in Hong Kong in
23   accordance with service procedures under the Hong Kong companies ordinance.
24   II.      Summary of Evidence of TVpad Sales by Defendants in the United States
25           7.       Because Defendants have defaulted, Plaintiffs have been unable to
26   secure discovery directly from Defendants. However, after entry of default against
27   Defendants, Plaintiffs have sought and obtained discovery from various third parties,
28   with the object of ascertaining, to the extent possible, how many TVpad units

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 1   Defendants shipped into the United States. I have managed all aspects of this third-
 2   party discovery. As part of that effort, we have served document subpoenas on
 3   several third-party shipping companies and have also secured the deposition of YTC
 4   Summit International Inc. (“YTC Summit”), CNT’s fulfillment center located in
 5   Arcadia, California.
 6           8.       These discovery efforts demonstrate that Defendants have used at least
 7   three methods to deliver TVpads to consumers in the United States from September
 8   2011 to the present:
 9                    a.     By container ship from China to YTC Summit, which then shipped
10                           TVpads on to end customers in the United States by United Parcel
11                           Service (“UPS”), and to distributor MetroVista;
12                    b.     By DHL Express (“DHL”) from China to TVpad distributors and
13                           customers in the United States.
14                    c.     By UPS from China to TVpad distributors and customers in the
15                           United States;
16           9.       In brief summary, this third-party discovery yielded the following
17   information about these various methods of shipment:
18                • Shipments by Container Ship
19                         o YTC Summit managed large shipments of TVpads into the United
20                             States on behalf of CNT for over three years, from February 2012
21                             until April 2015.
22                         o Available U.S. customs records show that 32,540 TVpads were
23                             shipped by CNT to YTC Summit during a 15-month period from
24                             December 1, 2013 to March 6, 2015, or more than 2,000 TVpad
25                             units a month. Applying that average for the time period during
26                             which customs records are not available indicates that at least
27                             another 40,000 units would have been shipped to YTC Summit,
28

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 1                             for a total of 72,540 TVpad units, shipped by Defendants to YTC
 2                             Summit between February 2012 and March 2015.
 3                         o In December 2011, CNT shipped 820 TVpad units to third party
 4                             distributor MetroVista.
 5                • Direct Shipments by DHL
 6                         o Defendants used a DHL Express account to ship TVpads directly
 7                             from China to purchasers in the United States, including both to
 8                             individual TVpad customers and to bulk purchasers (i.e., TVpad
 9                             distributors). From September 22, 2011 to August 7, 2015,
10                             Defendants shipped at least 100,696 TVpad units to bulk
11                             purchasers in the United States by DHL, and another 8,191
12                             TVpad units to individual TVpad customers.
13                         o Additional units were shipped by a TVpad distributor in China to
14                             some users in the United States, totaling at least 4,478 units.
15                • Direct Shipments by UPS
16                         o Defendants used UPS to ship at least 7,348 TVpad units directly
17                             from China to primarily bulk purchasers in the United States.
18                • Total of all Shipments
19                         o Based on the evidence Plaintiffs have been able to acquire to date,
20                             Defendants have shipped at least 194,073 TVpad units to
21                             purchasers in the United States since 2011.
22                • Damages Based on Total Shipments of TVpads
23                         o Based on the shipment of at least 194,073 TVpad units to the
24                             United States since 2011, Defendants avoided costs and Plaintiffs
25                             lost revenue equal to at least $279,465,120 in licensing fees that
26                             Defendants would have had to pay to Plaintiffs to license CCTV
27                             and TVB television programs for the TVpad.
28

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 1                         o Plaintiffs have also lost revenue equal to at least $17,466,480 in
 2                             subscription fees that TVpad users did not pay to authorized
 3                             providers of CCTV and TVB television programs, such as
 4                             Plaintiff DISH, in order to view CCTV and TVB programming
 5                             they illegally received for free.
 6                         o Defendants have realized at least $25,460,691 in revenues from
 7                             their sales of TVpad devices to TVpad users in the United States.
 8           10.      For reasons detailed below, the above calculation of 194,073 TVpad
 9   units sold by Defendants in the U.S. since 2011 is only a floor for all possible
10   shipments to the U.S., as the records Plaintiffs received from third parties are
11   incomplete in many cases, and because there are other known sources of TVpad
12   shipments to the United States, including from third party sellers located in China or
13   through Amazon, which are not included in this total. Defendants’ default and
14   failure to provide discovery prevents a full accounting of their total TVpad sales.
15           11.      Below, I explain the methods through which Plaintiffs acquired the
16   records and testimony necessary to establish each of the above summary points. I
17   further detail the methods through which Plaintiffs summarized the voluminous
18   records received in response to their third-party discovery requests, and then totaled
19   the number of TVpad units that these voluminous records show were shipped to the
20   United States. Finally, to aid the Court’s understanding of the evidence presented,
21   attached hereto as Exhibit 11, is a global summary of all data on TVpad units
22   shipped to the United States, which truly and accurately summarizes the information
23   received by Plaintiffs in this action from third parties in response to discovery.
24                                   III.   Shipments Through YTC Summit
25           12.      On July 15, 2015, I deposed Steven Chen, the President of YTC Summit
26   International Inc. (“YTC Summit”), a company based in Arcadia, California that
27   provided TVpad fulfillment services for CNT in the United States. In his deposition
28   testimony, Mr. Chen explained that CNT uses many different names, including

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 1   ShenZhen Greatvision Network Technology Co., Ltd., Qi Chuang Technology and
 2   Create New E-commerce (SZ) Co., Ltd. (See Chen Deposition at pp. 67, 131.) As
 3   described by Mr. Chen, YTC Summit handled primarily bulk shipments on behalf of
 4   Defendants using a UPS Account number provided by CNT. (See Chen Deposition
 5   at p. 60.) Mr. Chen testified that YTC Summit began its TVpad fulfillment
 6   relationship with CNT in February 2012, and ended in April 2015 (after the instant
 7   lawsuit was filed). (See Chen Deposition at pp. 26, 35, 43-43.) True and correct
 8   copies of excerpts from Mr. Chen’s deposition, along with relevant excerpts from the
 9   exhibits to Mr. Chen’s deposition, are attached hereto as Exhibit 12.
10           13.      As discussed in Paragraph 29 of the accompanying Declaration of
11   Christopher Weil, U.S. customs records show that for the 16-month period from
12   December 2013 through March 2015, CNT shipped a total of 32,540 TVpad devices
13   to YTC Summit, or on average more than 2,000 TVpad devices every month.
14           14.      Although Mr. Chen testified that YTC Summit began its fulfillment
15   relationship with CNT in February 2012, the available customs records do not cover
16   the period from February 2012 through November 2013, and YTC Summit has not
17   retained records for this period. See Exhibit 12 (Chen Deposition at pp. 25, 35, 129).
18   Given YTC Summit’s average receipt of at least 2,000 devices a month during the
19   period for which customs records are available, and assuming CNT began shipping to
20   YTC Summit in April 2012 (two months after the parties signed their fulfillment
21   contract), YTC Summit likely received at least an additional 40,000 TVpad units
22   from CNT during the 20 months preceding December 2013, for a total of 72,540
23   TVpad units shipped from CNT to YTC Summit for the entire period of February
24   2012 through March 2015. (As also set forth in the accompanying Weil Declaration,
25   the total number of shipments that YTC Summit actually received from Defendants
26   is much higher than those calculable by reference to customs records, because these
27   records are limited to shipments that arrive at U.S. ports of entry through ships, and
28   exclude other methods of delivery such as air freight.)

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  1           15.      As a means of corroborating the number of TVpad units shipped to YTC
  2   Summit from CNT, we also have collected information regarding the number of
  3   TVpad units that YTC Summit then shipped out to CNT’s customers, by cross-
  4   referencing shipping records produced by YTC Summit with records produced by
  5   UPS. This information is set forth at Paragraphs 37-45 below.
  6                                   IV.   Direct Shipments by DHL Express
  7           16.      On June 25, 2015, I issued a subpoena to DHL Express, requesting
  8   shipping records for Defendants. A true and correct copy of the DHL subpoena is
  9   attached hereto as Exhibit 21.
 10           17.      After issuing the subpoena, I communicated multiple times with counsel
 11   for DHL regarding compliance with the subpoena. I also provided DHL with copies
 12   of three DHL waybills that Plaintiffs had procured in the course of their
 13   investigation: (a) Two waybills that accompanied shipments of TVpads delivered to
 14   Plaintiffs’ investigators after they made purchases of the TVpads from CNT’s
 15   websites (see Weil Decl. ¶¶18, 23, 30); and (b) and one waybill that YTC Summit
 16   produced to Plaintiffs. True and correct copies of the waybills I provided to DHL,
 17   with confidential address information for Plaintiffs’ investigators redacted, are
 18   attached hereto as Exhibit 22 and Exhibit 64.
 19           18.      On August 21, 2015, DHL produced an Excel spreadsheet entitled “File
 20   No. 3068 – Account Numbers” comprising 9,262 lines of data reflecting shipments
 21   made by DHL on behalf of Defendants (and entities associated with Defendants) to
 22   TVpad distributors and TVpad customers in the United States. Thereafter, DHL
 23   provided a signed declaration authenticating these records, a true and correct copy of
 24   which is attached hereto as Exhibit 23. Given the voluminous size of the Excel
 25   spreadsheet produced by DHL and its inclusion of possible home addresses for
 26   recipients, the spreadsheet shall be concurrently lodged on a disc under seal with the
 27   Court, and designated in a folder identified as Exhibit 24.
 28

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  1           19.      Given the breadth of records produced by DHL, I and staff working
  2   under my direction created a summary that shows: (1) the identity and addresses of
  3   the shipping parties; (2) the total quantity of TVpad units shipped per individually
  4   tracked shipment; (3) the identities of the receiving parties; and (4) the date of
  5   shipment. We eliminated from our summary any shipments of TVpads that were
  6   made to addresses outside the domestic United States, any shipments of products
  7   other than TVpads, and any shipments that were not made either by or on behalf of
  8   Defendants.
  9           20.      In our summary chart, I and staff working under my direction and
 10   control added a new column entitled “DWT TVpad Unit Quantity” for the total
 11   TVpad units shipped per line item. I and staff working under my direction then
 12   added a TVpad unit total in that column based upon the description provided by DHL
 13   for each shipment. In most cases, the DHL records provided the total number of
 14   TVpad “sets” or “media players” that were shipped by DHL. In some cases,
 15   however, the information in the DHL records was incomplete regarding the total
 16   TVpad units included in the shipment. In those instances, we referred to DHL’s
 17   declared value column for a given shipment and compared that value to the similar
 18   declared values for other shipments during the same time period. Where a shipment
 19   had the same declared value as a shipment that clearly referred to the total quantity of
 20   TVpad devices, we concluded that the incompletely described shipment contained
 21   the same number of TVpad units as were in the shipment of equal declared value.
 22           21.      After determining total TVpad unit numbers, I then sorted the resulting
 23   data by shipper name and address to determine which entities were identified as
 24   shipping entities. Several thousand shipments were made to addresses in the United
 25   States, including to Asha Media Group Inc.—one of the TVpad distributor
 26   defendants in this lawsuit—by a company named Hoogle HK Industry Co., Ltd.
 27   (“Hoogle”) in Guandong, China. Hoogle is either affiliated with Defendants or is a
 28   TVpad distributor who ships to the United States directly from China. Staff working

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  1   under my direction moved these entries into a separate worksheet in Excel, and I then
  2   summed the total number of TVpad units shipped to U.S. customers by Hoogle. In
  3   total, Hoogle shipped 4,478 TVpad units to the United States, primarily to bulk
  4   purchasers. A true and correct summary of the Hoogle shipments, sorted by recipient
  5   address, is attached hereto as Exhibit 25.
  6           22.      The remaining shipments in the DHL Excel spreadsheet were shipped
  7   by entities known to be related to Defendants. Among the shipper names were
  8   Longway Technology Co., Ltd. or LWHong Kong, Hua Yang International, Qi
  9   Chuang Technology or Qi Chuang Shen Zhen, Create New Technology HK Limited,
 10   Create New Ecommerce SC Co., Ltd. Various employees, often listed only by first
 11   name, were also identified in the shipper name column, but using the same addresses
 12   as Defendants used elsewhere in the DHL data. YTC Summit identified Qi Chuang
 13   and Create New Ecommerce as entities that are synonymous with CNT. See Exhibit
 14   12 (Chen Deposition at pp. 67, 75-76, 131). Defendants identify Longway as one of
 15   their authorized TVpad distributors on their Facebook page as of August 2011. A
 16   true and correct copy of the Facebook page which I printed on September 4, 2015,
 17   explaining the Longway association, with a certified translation, is attached hereto as
 18   Exhibit 26.
 19           23.      After compiling all of Defendants’ TVpad shipments into a single Excel
 20   worksheet, we sorted the Excel data by recipient address and date to determine which
 21   recipients were receiving TVpads in bulk. Recipients who received bulk shipments
 22   of TVpad devices are almost certainly TVpad distributors who likely paid a
 23   wholesale price. Any party who received 10 or more TVpad units in a single
 24   shipment we treated as a TVpad distributor (who paid a wholesale price), and we
 25   moved all shipments for that recipient to a separate “bulk purchaser” worksheet. All
 26   other recipients who received fewer than 10 TVpads units in any single shipment
 27   were assumed to be individual TVpad customers (who paid a retail price). This
 28   analysis likely overestimates the number of bulk purchasers who would have paid

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  1   wholesale prices, since some of the bulk purchasers only received a handful of
  2   shipments, and accordingly were likely paying retail prices. Using 10 TVpad units as
  3   the threshold for bulk purchasers likely also overestimates the number of purchasers
  4   who paid wholesale prices, because at least one U.S. TVpad distributor has testified
  5   that his company obtained the benefit of paying wholesale prices only when it
  6   purchased 20 TVpad units or more. See Declaration of Liangzhong Zhou ¶11.
  7           24.      As a result of our analysis, I determined that between October 5, 2011
  8   and April 15, 2015, Defendants used DHL to ship a total of 100,696 TVpad units to
  9   bulk purchases (i.e., TVpad distributors) in the United States who paid wholesale
 10   prices to Defendants. A true and correct copy of the summary spreadsheet showing
 11   these totals, with relevant columns shown and sorted by recipient address and then
 12   date, is attached hereto as Exhibit 27.
 13           25.      As a result of our analysis, I determined that from September 23, 2011
 14   through August 4, 2015, Defendants used DHL to ship a total of 8,191 TVpads to
 15   individual purchasers in the United States who paid retail prices to Defendants. A
 16   true and correct copy of the summary spreadsheet showing this total, with relevant
 17   columns shown and sorted by recipient address and then date, is attached hereto as
 18   Exhibit 28.
 19           26.      The records produced by DHL do not reflect all shipments made by
 20   Defendants of TVpad units into the United States. Plaintiffs’ analysis includes only
 21   those shipments that were made directly by Defendants or Hoogle. There may be
 22   other TVpad distributors located in China who are shipping and selling TVpads
 23   directly into the United States, but for whom we lack records of shipments.
 24   Additionally, a number of retailers sell the TVpad devices on Amazon, but it is
 25   impossible to know the location of such sellers and any sales they have made in the
 26   United States are shipped through other channels or using shipping company account
 27   numbers for which Plaintiffs lack records. A true and correct copy of a printout for a
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  1   TVpad available for purchase on Amazon and sold by “Lava Store” for $239, and
  2   which I printed on September 9, 2015, is attached hereto as Exhibit 29.
  3           27.      In addition, Plaintiffs’ investigators’ recent purchase of a TVpad from
  4   the official TVpad website, located at mtvpad.com, was not reflected in the DHL
  5   shipping records we received, even though I produced that waybill to DHL in order
  6   to assist DHL in locating responsive records. The TVpad device was delivered in
  7   August by DHL, and was accompanied by a waybill that identified Hua Zhi Mei Co
  8   Ltd. as the shipper, from an address in Hong Kong. This was a shipper name that we
  9   have never seen previously, and suggests that Defendants may be using new shipper
 10   names to avoid detection. However, the party who received payment for this device
 11   was Yukun Technology (HK) Co., Ltd. (“Yukun”). See Weil Decl. Ex. 59. As set
 12   forth in the accompanying Declaration of George Wukoson, Yukun was a wholly
 13   owned subsidiary of Create New Technology International Limited, CNT’s one-time
 14   parent company, from July 2013 to June 2014, and as of June 2014 is wholly owned
 15   by Zhang Wenwei, director of CNT. In addition, Yukun was the party named on the
 16   payment receipt for the purchase of another TVpad device shipped by CNT in
 17   December 2014, as detailed in the Declaration of George P. Wukoson. In other
 18   words, Defendants are selling and shipping TVpads under a variety of different
 19   names and aliases, and all shipments of TVpads under those names and aliases are
 20   not reflected in the shipping records produced by DHL.
 21           28.      Similarly, although I provided DHL with copies of a DHL waybill dated
 22   February 10, 2012 for a shipment from Qi Chuang Technology to Steven Chen at
 23   YTC Summit, this shipment was also not included in the records produced by DHL.
 24   This again suggests that not all records have been produced of TVpad shipments
 25   made by Defendants and their affiliated companies into the United States via DHL.
 26           29.      Finally, the shipping records produced by DHL include only three
 27   TVpad shipments to individual purchasers after May 2015, even though it is clear
 28   that, as detailed in Plaintiffs’ pending Motion for Contempt (Doc. No. 109), CNT is

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  1   still advertising and actively selling TVpad devices in the United States. There are
  2   likely many more TVpad shipments either made by Defendants or by others on
  3   Defendants’ behalf, for which we have not been able to obtain shipping records. In
  4   sum, the total number of TVpad devices that Defendants (and their affiliates) have
  5   shipped to the United States may be orders of magnitude higher than the summary of
  6   total shipments we have been able to ascertain through limited third party discovery
  7   and detailed in summary form in Exhibit 11.
  8                                   V.   Direct Shipments by UPS
  9           30.      On June 25, 2015, I issued a subpoena to UPS, requesting shipping
 10   records for Defendants. A true and correct copy of the UPS subpoena is attached
 11   hereto as Exhibit 13.
 12           31.      After issuing the subpoena, I communicated multiple times with counsel
 13   for UPS regarding compliance with the subpoena. UPS provided an initial response
 14   to the subpoena by producing a document entitled “LNPS150657 International
 15   Shipments” in Excel format, which set forth shipments by Defendants to addresses
 16   both inside the United States and abroad for the period of September 3, 2012 to
 17   March 11, 2014. UPS also produced a 2,757 page PDF entitled “LNPS150657
 18   Responsive Documents”, which included, among other shipping records, copies of
 19   shipment invoices. The invoices UPS produced corresponded to the TVpad
 20   shipments reflected in the “International Shipments” Excel spreadsheet, and provide
 21   precise TVpad unit numbers for each one of those shipments. As these records are
 22   voluminous and include possible home address information, a true and correct copy
 23   of the “International Shipments” Excel spreadsheet and an excerpt from the
 24   “LNPS150657 Responsive documents” production that includes all produced
 25   shipment invoices, shall be concurrently lodged on a disc under seal with the Court,
 26   in a folder identified as Exhibit 14.
 27           32.      After I took the deposition of Mr. Chen of YTC Summit, I also provided
 28   UPS with the UPS account number that Mr. Chen testified YTC Summit used on

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  1   behalf of CNT to make all shipments of TVpad devices within the United States in
  2   accordance with YTC Summit’s fulfillment contract with CNT. See Exhibit 12
  3   (Chen Deposition at pp. 60, 138). Thereafter, UPS made a second production of 107
  4   pages, which included, among other data, a PDF that identified shipments made from
  5   this UPS account number to addresses in the United States from April 2, 2012 to
  6   April 16, 2012 and from August 6, 2013 through April 22, 2015. The records, as
  7   produced, include a 16 month gap in shipments, and also do not provide unit
  8   numbers or other descriptions for the shipments. No invoices were produced by UPS
  9   with this subsequent production. Again, given the voluminous nature of this
 10   production and possible inclusion of home addresses, a true and correct copy of this
 11   document, entitled “LNPS150657 Additional Responsive Documents”, shall be
 12   concurrently lodged on a disc under seal with the Court, in a folder identified as
 13   Exhibit 15. A true and correct copy of the declaration of the UPS custodian of
 14   records, authenticating both productions of documents, is attached hereto as Exhibit
 15   16.
 16           33.      Given the breadth of the records produced by UPS, I and staff working
 17   under my direction created a summary of the UPS records that shows: (1) the identity
 18   and addresses of the shipping parties; (2) the total quantity of TVpad units shipped
 19   per individually tracked shipment; (3) the identities of the receiving parties; and (4)
 20   the date of shipment. We eliminated from our summaries any shipments of TVpads
 21   that were made to addresses outside the domestic United States, any shipments of
 22   products other than TVpads, and any shipments that were not made either by or on
 23   behalf of Defendants.
 24           34.      Because UPS produced data showing Defendants’ direct international
 25   shipments in a native Excel worksheet, our work to determine the total number of
 26   TVpad units shipped by Defendants directly to addresses in the domestic United
 27   States was fairly simple.
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  1           35.      First, I and staff working under my control removed any shipments to
  2   addresses other than the domestic United States from the “International Shipments”
  3   Excel spreadsheet produced by UPS. I also ensured that all shipments were either by
  4   CNT or HYIT. I then sorted the data by recipient name, and added a new column
  5   entitled “DWT TVpad Units Per UPS Invoices” to record total TVpad quantity
  6   information per shipment line item. We then cross-referenced the Excel spreadsheet
  7   to the copies of the invoices produced by UPS, which identified the quantity of
  8   TVpads included in each order with reference to the unique shipment identification
  9   number. We then added the quantity of TVpads shipped in each line item to the
 10   Excel summary, and summed the total number of TVpads units shipped.
 11           36.      Of the 42 shipments made by Defendants into the domestic United
 12   States from September 3, 2012 to March 11, 2014, the vast majority were bulk
 13   shipments of multiple TVpad devices, as evidenced not only by the quantity shipped
 14   per order, but also by the number of repeat shipments to the same purchasers. The
 15   total number of TVpad devices shipped by Defendants into the United States by UPS
 16   during this period of time totaled 7,348 TVpad units. Attached hereto as Exhibit 17
 17   is a true and correct copy of a summary from the Excel spreadsheet, with only the
 18   most relevant columns of information visible, sorted by import date.
 19                                   VI.   Corroborating Data
 20           a. YTC Summit’s Shipments on Behalf of Defendants
 21           37.      As noted previously, customs records indicate that Defendants shipped
 22   at least 72,540 TVpads to YTC Summit by container ship, in order for YTC Summit
 23   to then fulfill orders to U.S TVpad customers. Logically, the number of TVpad units
 24   that YTC Summit shipped to customers should be roughly the same as those that
 25   YTC Summit received. Therefore, Plaintiffs have conducted third-party discovery in
 26   order to determine the number of TVpad units shipped out by YTC Summit to U.S.
 27   TVpad customers. That analysis, as detailed below, shows that approximately
 28   65,855 TVpad units were shipped by YTC Summit to customers.

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  1           38.      At his deposition, Mr. Chen testified that YTC Summit had destroyed all
  2   emails, shipping records and other details of its fulfillment work on behalf of CNT
  3   for dates preceding its receipt of a deposition subpoena issued in early 2015 by the
  4   plaintiffs in a related action, Munhwa Broadcasting Corp. et al. v. Create New
  5   Technology Co. Ltd. et al., Case No. 14-04213-RGK (RZx) (the “Munhwa Action”).
  6   See Exhibit 12 (Chen Deposition at pp. 129, 176). Thus, in response to the subpoena
  7   I issued in this action, YTC Summit was only able to produce documents covering a
  8   few months in 2015. These documents included a limited number of UPS invoices
  9   for the CNT account YTC Summit used to ship TVpad devices to customers in the
 10   United States. Mr. Chen authenticated those records in his deposition. See Exhibit
 11   12 (Chen Deposition at pp. 128, 149, 164-67 and deposition exhibit 15).
 12           39.      YTC Summit’s UPS invoices provide total TVpad units shipped per
 13   UPS shipment, as well as the recipient information. For a seven-week period in 2015
 14   (from March 3 to April 22), YTC Summit shipped out 5,373 TVpad units. While this
 15   would average over 3,000 units per month, Mr. Chen testified that during this time
 16   period YTC Summit was unloading all of its inventory as it ended its relationship
 17   with CNT, so these may have been atypical months. To arrive at a more conservative
 18   calculation of shipments to customers during prior periods, we cross-referenced the
 19   YTC Summit data with UPS data, which covered a larger timeframe (although as set
 20   forth below at Paragraph 44, the UPS data also had a gap in the time period it
 21   covered).
 22           40.      With respect to UPS’s production of YTC Summit shipments made to
 23   U.S. TVpad customers on behalf of Defendants, staff working under my direction
 24   first converted the data that UPS produced into an Excel spreadsheet. As the UPS
 25   data produced did not include TVpad unit numbers, we cross-referenced the UPS
 26   data with the TVpad unit numbers documented in the UPS invoices that YTC
 27   Summit produced in response to Plaintiffs’ subpoena, and which were marked as part
 28   of deposition exhibit 15, included with the deposition of Mr. Chen attached hereto as

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  1   Exhibit 12. Because YTC Summit only retained records for the period of March
  2   2015 through April 2015, we included a TVpad quantity for all shipments for which
  3   we had TVpad unit information. We then split out into separate worksheets those
  4   shipments that were made to repeat purchasers who received multiple shipments on
  5   different dates into a “bulk purchaser” worksheet, and those recipients who only
  6   received one or two shipments from YTC Summit into an “individual purchaser”
  7   worksheet.
  8           41.      The vast majority of individual recipients received shipments in the last
  9   few months YTC Summit was handling fulfillment for Defendants, and so we could
 10   calculate for almost all of those shipments the exact number of TVpad units those
 11   recipients received. 142 units were shipped in the last few months of YTC Summit’s
 12   fulfillment relationship. For the remaining 10 shipments, we conservatively assumed
 13   only 1 TVpad device was shipped per order. We thus determined that YTC Summit
 14   shipped a total of 152 TVpad units on behalf of CNT to individual purchasers from
 15   April 6, 2012 to April 14, 2015. A true and correct copy of that summary of YTC
 16   Summit shipments to individual purchasers is attached hereto as Exhibit 19.
 17           42.      For the bulk purchaser summary, we first summed the total number of
 18   TVpad units shipped to those bulk purchasers over the last few months of YTC
 19   Summit’s fulfillment relationship for which we have UPS invoices with unit
 20   quantities. We determined YTC Summit shipped a total of 5,231 TVpad units to bulk
 21   purchasers in those last few months. Based on the total of known TVpad units
 22   shipped by YTC Summit to bulk purchasers from March through April 2015, we then
 23   calculated the average number of TVpad units shipped per carton during that period
 24   was 18 TVpad units. We applied the average of 18 TVpad units to the remaining
 25   bulk shipments, and summed that total, concluding YTC Summit shipped an
 26   additional 33,174 units of TVpads to U.S. bulk purchasers during its fulfillment
 27   relationship with Defendants. A true and correct copy of that summary of YTC
 28   Summit shipments to bulk purchasers is attached hereto as Exhibit 20.

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  1           43.      Across all shipments by YTC Summit to both individuals and bulk
  2   purchasers, during the 21-month period from August 6, 2013 through April 22, 2015,
  3   plus a handful of days in April 2012, YTC Summit shipped 38,405 TVpad units on
  4   behalf of CNT to U.S. bulk purchasers, or approximately 1,830 units per month.
  5   Notably, one thousand units alone were shipped to the TVpad “flagship” store
  6   located 349 7th Street in Oakland, California, the grand opening of which Defendants
  7   advertised on their blog. A true and correct copy of a printout from the blog located
  8   at http://www.itvpad.com/blog/blogInfo446.html, dated April 9, 2015, is attached
  9   hereto as Exhibit 18.
 10           44.      Because the UPS records do not reflect any shipments made by YTC
 11   Summit to either individual purchasers or bulk purchasers from April 17, 2012 to
 12   August 5, 2013—a time period we know from Mr. Chen’s deposition testimony that
 13   YTC Summit was operating as CNT’s fulfillment center (Chen Deposition at pp. 25,
 14   35)—we necessarily lack full insight into the TVpad shipments YTC Summit was
 15   making during this 15-month period. Notwithstanding the gap in data, we know as
 16   set forth above that for the period of approximately 21 months for which UPS did
 17   produce shipping information, YTC Summit shipped an average of 1,830 devices per
 18   month. Applying that average to the 15-month gap would yield an additional 27,450
 19   TVpad units shipped by YTC Summit, bringing the total for the entire period to
 20   65,855 TVpad units.
 21           45.      While we do not count these TVpad units in the summary attached
 22   hereto as Exhibit 11 in order to avoid double counting, these averages are consistent
 23   with and corroborate Plaintiffs’ calculation of the number of TVpad units that CNT
 24   was shipping to YTC Summit on a monthly basis (2,000 units) based on customs
 25   records, and with the total TVpad units shipped to YTC Summit (72,540 units). Any
 26   difference is likely attributable to incomplete information in both data sets. Plaintiffs
 27   therefore offer this additional calculation as further support for the unit totals of
 28   TVpads summarized in Exhibit 11.

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  1           b. Summary of HSBC Wire Transfer Information
  2           46.        On June 23, 2015, I issued a subpoena to third-party HSBC Bank USA,
  3   N.A. (“HSBC”), seeking wire transfer records for bank accounts associated with
  4   Defendants—a true and correct copy of which is attached hereto as Exhibit 30.
  5   These bank records further substantiate that Plaintiffs’ summary substantially
  6   undercounts the total number of TVpad devices sold by Defendants (or their
  7   affiliates) into the United States from 2011 to the present.
  8           47.      After issuing the subpoena, I communicated multiple times with
  9   HSBC’s subpoena processing department regarding compliance with the subpoena,
 10   including providing to HSBC the account number known to be associated with
 11   CNT’s account with the bank. On August 12, 2015, I received HSBC’s production in
 12   response to this subpoena, which included a 1,206 page PDF entitled “Wires 2”,
 13   which included, among other transactions, wire transfers originating from parties in
 14   the United States and deposited to an HSBC account maintained by CNT. As these
 15   records are voluminous in printed format and include private account information for
 16   numerous parties, a true and correct copy of the “Wires 2” document shall be
 17   concurrently lodged under seal on a disc with the Court, in a folder identified as
 18   Exhibit 31. A true and correct copy of the declaration of authenticity for these wire
 19   transfers, executed by HSBC bank’s custodian of records, is attached hereto as
 20   Exhibit 32.
 21           48.        On August 13, 2015, I issued a second subpoena to HSBC for records
 22   associated with an account for Yukun, the entity that as noted above at Paragraph 27
 23   has received payments on behalf of CNT for shipments of TVpads. A true and
 24   correct copy of the second HSBC subpoena is attached hereto as Exhibit 33.
 25           49.        On August 25, 2015, I received HSBC’s second production of a 525
 26   page PDF entitled “Wires”, which included, among other transactions, wire transfers
 27   originating from parties in the United States and deposited to an HSBC account
 28   maintained by Yukun. As these records are voluminous in printed format and

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  1   include private account information, a true and correct copy of the Yukun wire
  2   transfers shall be concurrently lodged on a disc under seal with the Court, in a folder
  3   identified as Exhibit 34. A true and correct copy of the declaration of authenticity
  4   for these wire transfers, executed by HSBC bank’s custodian of records, is attached
  5   hereto as Exhibit 35.
  6           50.      After receiving these documents, I provided them to my colleague,
  7   George Wukoson, in order to convert the data into native Excel spreadsheets, and to
  8   summarize the data. As Mr. Wukoson explains in his concurrently filed declaration,
  9   CNT received over $11.9 million in wire transfers from originators in the United
 10   States, many of whom are identifiable by name and address as bulk purchasers of
 11   TVpads from the YTC Summit, DHL and UPS spreadsheets. Yukun received over
 12   $1.1 million in wire transfers from originators in the United States—again
 13   identifiable as bulk purchasers of TVpads. The summary of these transactions is
 14   attached as Exhibit 36.
 15           51.      After Mr. Wukoson and his team reviewed the HSBC data and
 16   summarized it, I and staff working under my direction compared the originators who
 17   were sending wire transfers to CNT and Yukun to the shipping records that I had
 18   received from UPS and DHL in order to ascertain significant patterns and overlap
 19   between the two sets of data. The HSBC data is clearly only a small subset of the
 20   total monies that Defendants have received from sales of TVpads into the United
 21   States, because there are thousands of individuals who were shipped tvpads (either
 22   individual units or in bulk), that do not appear on the HSBC wire transfer data. Just
 23   to provide two examples, neither defendants Asha Media nor ClubTVpad, or their
 24   principals, appear on the HSBC wire transfer records, even though both were
 25   purchasing large quantities of TVpads for distribution into the United States.
 26           52.      In addition, for some of the parties who have made large wire transfer
 27   payments to CNT or Yukun according to the HSBC data (indicating large TVpad
 28   purchases), the UPS and DHL records reflect that they received only minimal TVpad

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  1   shipments. For example, according to UPS and DHL records, CV Construction only
  2   received one TVpad unit. Yet, according to the HSBC data, CV Construction
  3   transferred $33,429 to Yukun from December 13, 2011 to January 10, 2012. Clearly
  4   this party did not pay so much money for a single TVpad device. Rather, this
  5   discrepancy points to the incomplete nature of the records Plaintiffs have received
  6   from third parties to date, and how their summary of total TVpad units set forth in
  7   Exhibit 11 likely undercounts substantially Defendants’ actual TVpad sales into the
  8   United States.
  9              VII. Summary of Plaintiffs’ Damages and Defendants’ Revenue
 10           53.      As set forth above, Plaintiffs have acquired shipping and customs
 11   records which demonstrate that Defendants have sold at least 194,073 TVpad units
 12   into the United States during the period of 2011 to 2015. Multiplying 194,073
 13   TVpad units by the applicable wholesale or retail price Defendants received for these
 14   units establishes that Defendants have secured at least $25,460,691 from sales of
 15   TVpads in the United States. These sales of TVpad units into the United States
 16   represent sales revenue that Defendants have illegally garnered as a direct result of
 17   providing an unauthorized pirate TVpad service that streams without permission
 18   Plaintiffs’ copyrighted television programs, while using Plaintiffs’ trademarks to
 19   promote the TVpad service. A summary of Defendants’ sales is included in Part I of
 20   the summary attached as Exhibit 11.
 21           54.      As detailed in the accompanying declaration of Christopher Kuelling,
 22   Defendants’ sales of TVpads, however, do not begin to measure Plaintiffs’ actual
 23   injury in this case. Had Defendants attempted to secure the rights to show all of the
 24   TVB and CCTV channels available through the Infringing TVpad Apps by legitimate
 25   means, they would have had to pay CCTV and TVB a per-user licensing fee.
 26   Declaration of Christopher Kuelling ¶14. According to Mr. Kuelling, this licensing
 27   fee would have been at least $30 per subscriber. Multiplied by the number of TVpad
 28   users (194,273) and by the number of months that Defendants have been illegally

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  1   retransmitting CCTV and TVB channels through the TVpad device (48 months), this
  2   yields lost licensing fees of $279,465,120. This amount both represents costs that
  3   Defendants avoided through their illegal conduct and also fees that Plaintiffs were
  4   not paid as a result of that illegal conduct. A summary of the lost licensing fees is
  5   included in Part II of the summary attached as Exhibit 11.
  6           55.      As also set forth in the Kuelling Declaration, the illegal retransmission
  7   of CCTV and TVB channels by Defendants through the TVpad device further
  8   deprives Plaintiffs of potential subscription fees for their authorized television
  9   services in the United States. TVpad users have stated publicly that they have not
 10   renewed their DISH subscription once they purchased a TVpad (Weil Decl. ¶15), and
 11   both TVB and CCTV have seen downturns in their subscriber base with DISH since
 12   introduction of the TVpad device (Kuelling Decl. ¶15; Tsang Decl. ¶18).
 13           56.      In terms of the financial impact of these lost subscribers, Mr. Kuelling
 14   explains that DISH currently charges U.S. subscribers $30 per month for its TVB
 15   “Jadeworld” package, and $15 per month for its CCTV “Great Wall” package. DISH
 16   recently dropped the price of the Great Wall package due to pressure from the
 17   infringing TVpad service. Even assuming that only a small fraction of the
 18   documented 194,073 TVpad users in the United States had chosen to subscribe to
 19   either the Great Wall or Jadeworld package for a two-year subscription (the typical
 20   DISH contract, according to Mr. Kuelling) in the absence of the infringing TVpad
 21   service, this represents a significant amount of lost subscription revenue. Indeed,
 22   assuming only 25% of TVpad users would have chosen to subscribe to an authorized
 23   service to view CCTV and TVB television programs, and even assuming that such
 24   users would have paid the lowest available monthly subscription plan of $15 for the
 25   Great Wall package, this would constitute lost subscription revenues of at least
 26   $17,466,480. Of course, the actual lost subscription revenues could be much higher.
 27   A summary of the lost subscription revenues is included in Part III of the summary
 28   attached as Exhibit 11.

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  1                           VIII. Munwha Broadcasting Default Judgment
  2           57.      On September 2, 2015, in the Munwha Action, Judge R. Gary Klausner
  3   granted default judgment against CNT in a similar infringement action brought by
  4   various Korean broadcasting companies based on Defendants’ unauthorized
  5   distribution of Korean language television programs over the TVpad service. The
  6   Court ordered total damages in that case of $65,315,954. A true and correct copy of
  7   the Court’s order is attached hereto as Exhibit 37. The Court in the Munhwa Action
  8   accepted the plaintiffs’ assessment that Defendants had sold 19,677 TVpad units to
  9   viewers in the United States who accessed Korean language broadcasting on the
 10   TVpad device. This number represents only 10% of the 194,073 TVpad units that
 11   Plaintiffs have established were sold by Defendants in the United States.
 12           I declare under penalty of perjury under the laws of the United States of
 13   America that the foregoing is true and correct.
 14   Executed September 14, 2015 at Los Angeles, California.
 15                                                               /s Carla A. McCauley
                                                                  Carla A. McCauley
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      DECLARATION OF CARLA A. MCCAULEY                                  LOS ANGELES, CALIFORNIA 90017-2566
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                     DECLARATION OF GEORGE WUKOSON
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                                 #:3638

  1                           DECLARATION OF GEORGE P. WUKOSON
  2           I, George P. Wukoson, declare as follows:
  3           1.       I am an attorney licensed to practice law in the State of New York and
  4   before the bars of the Southern and Eastern Districts of New York. I am an associate
  5   with the law firm of Davis Wright Tremaine LLP (“DWT”), counsel to the Plaintiffs
  6   in this action, admitted pro hac vice.
  7           2.      In the course of our work on this matter, I and other DWT attorneys and
  8   staff members analyzed shipping and bank account records and corporate registration
  9   records of defendants Create New Technology (HK) Limited (“CNT”) and Hua Yang
 10   International Technology Limited (“HYIT”) (collectively, “Defendants”) and their
 11   associated operating entities for, among other things, evidence of the sales and
 12   shipments of TVpad devices to the United States.
 13           3.      In the course of that work, a DWT staff member working under my
 14   direction ordered a TVpad device. That TVpad device was shipped on June 23, 2014
 15   by defendant CNT. Payment for that TVpad device was made on June 20, 2014 to an
 16   entity called Yukun Technology (HK) Co., Ltd (“Yukun”). True and correct copies
 17   of the receipt and commercial invoice for the TVpad device DWT ordered reflecting
 18   these facts are attached hereto as Exhibit 38.
 19           4.      Yukun is an associated operating entity of CNT. Yukun was formerly
 20   wholly-owned by Create New Technology International Limited (which also
 21   formerly wholly-owned defendant CNT), and Yukun is currently wholly-owned by
 22   Zhang Wenwei, director of CNT. True and correct copies of Hong Kong Companies
 23   Registry records for Yukun reflecting these facts are attached hereto as Exhibit 66.
 24           5.      On August 21, 2015, my colleague Carla McCauley provided me with
 25   three sets of wire transfer transaction data involving the HSBC bank accounts of
 26   CNT and Yukun, which we obtained through subpoenas issued to HSBC Bank USA,
 27   N.A. (the “HSBC Data”). Working with Ms. McCauley and staff under my direction,
 28   I converted the HSBC Data into Excel spreadsheets, and then assembled from those

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  1   spreadsheets a summary of the voluminous data aggregating wire transfer payments
  2   from U.S. TVpad distributors to the known HSBC accounts of CNT and Yukun.
  3           6.      In order to create this summary, after converting the PDF production to
  4   native Excel spreadsheets, staff working under my direction then limited the native
  5   format data to only those transactions that originated with parties in the United States
  6   making wire transfer payments to either CNT or Yukun in China. I and my staff also
  7   checked the data compiled in the Excel spreadsheet to ensure any duplicate
  8   transactions were removed. These Excel spreadsheets were then sorted by originating
  9   party name, to allow me and my staff to review which U.S. parties were frequently
 10   sending money to either CNT or Yukun in China and to total the amounts transferred
 11   by each individual U.S. party to CNT or Yukun. Attached hereto as Exhibit 36 are
 12   true and correct copies of the summaries prepared in Excel using the original HSBC
 13   Data for wire transfer payments made by parties in the U.S. to CNT and Yukun. The
 14   data was sorted by originator party name, and then totaled such that all wire transfer
 15   payments are added into a single sum for each party. The date ranges for the wire
 16   transfer payments summed in this manner are also provided, along with the addresses
 17   of the originating parties.
 18           7.      As shown in Exhibit 36, the amounts transferred into the known HSBC
 19   accounts of CNT and Yukun from parties in the United States totals $13,048,899.56.
 20           8.      Working with staff under my direction, I also compared the names and
 21   addresses of the U.S. payors identified in the HSBC data to shipping records for
 22   TVpads sold in the United States that were by UPS and DHL. This comparison
 23   confirmed that a majority of the wire payments in the HSBC Data aligned with
 24   address or name information for U.S. parties who are known from the shipping
 25   records to be bulk purchasers of TVpad devices. In other words, the HSBC wire
 26   transfers are from U.S. based parties who buy TVpads in bulk, presumably to resell
 27   the devices. In fact, two of the U.S. TVpad distributors named as defendants in this
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  1   action—Liangzhong Zhou and Honghui “Hugo” Chen—are included in the HSBC
  2   Data.
  3           9.      This comparison also confirmed that the data produced by HSBC does
  4   not include all the bulk purchases of TVpads that US TVpad distributors have made
  5   from Defendants. For example, in Exhibit 36 (the HSBC Data summaries) there are
  6   143 individual U.S. parties who made payments to CNT or Yukun, but in the DHL
  7   and UPS shipping records there are many more U.S. bulk purchasers of TVpad
  8   devices who are not listed in the HSBC bank records. Just to give one example,
  9   defendant Asha Media, which is a large U.S. distributor of TVpads, is not listed as a
 10   wire transaction originator in any of the HSBC bank records.
 11           10. This comparison also confirmed that the TVpad shipping records
 12   produced by UPS and DHL did not include all shipments for all of the bulk
 13   purchasers included in the HSBC data, let alone all purchasers of TVpads. For
 14   example, we have identified at least 8 parties who made over $30,000 in wire
 15   transfers to CNT but for whom we see no DHL or UPS shipping records (by either
 16   name or address). These bulk purchasers missing from the shipping records include
 17   one, Ja-De Trading Corp., that made over $530,000 in wire transfers to Defendants,
 18   and another, Caytan Enterprise LLC, that made over $400,000 in wire transfers to
 19   Defendants. Even for bulk purchasers included in the shipping records, those records
 20   appear to be incomplete. For example, while HSBC records reflect wire transfers of
 21   over $33,000 from CV Construction LLC to Yukun, the DHL and UPS records
 22   reflect only one shipment of a single TVpad to CV Construction LLC’s shipping
 23   address.
 24           11. All of the U.S. transactions in the HSBC Data appear to have been for
 25   bulk sales of TVpads by Defendants to U.S. TVpad distributors. Once aggregated,
 26   none of the wire transfer payments made by the listed U.S. parties to CNT totaled
 27   small enough amounts (i.e., $200 to $500) that would indicate the purchase of just
 28   one or two TVpad devices, such as by an individual consumer. Consequently, the

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  1   transactions evidenced by the HSBC Data appear to exclude TVpad purchases by

  2   individual TVpad users in the United States. To date, we at DWT have not been able
  J   to identiff what bank account or accounts associated with Defendants or any of their
  4   associated operating entities may have been used by Defendants to receive payments

  5   from individual consumers who purchase TVpad devices directly from Defendants
  6   (or their operating entities).

  7                12. A list of U.S. TVpad distributors that purchased TVpads          in bulk from

  8   Defendants and are not parties in this action, compiled from the HSBC Data, is

  9   attached hereto as                 Exhibit 67.
 t0               I declare under penalty of perjury under the laws of the United States of
 11   America that the foregoing is true and correct.
 T2   Executed this 14th day of September,2015.

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                                                               George P. Wukoson
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                    DECLARATION OF LIANGZHONG ZHOU
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                                 #:3643

  1                            DECLARATION OF LIANGZHONG ZHOU
  2           I, Liangzhong Zhou, pursuant to 28 U.S.C. § 1746, declare as follows:
  3           1.       I am owner of newTVpad Ltd. Company d/b/a newtvpad.com a/k/a
  4   TVpad USA (“newTVpad”). I reside in Dallas, Texas, and my company newTVpad
  5   operated out of Texas. I am fully familiar with the facts and circumstances stated
  6   herein.
  7           2.       I submit this declaration in connection with the above-captioned action.
  8   In this action, Plaintiffs China Central Television, China International
  9   Communications Co., Ltd., TVB Holdings (USA), Inc. and DISH Network L.L.C.
 10   (collectively, “Plaintiffs”) made claims against me and newTVpad for secondary
 11   copyright infringement, trademark infringement, unfair competition and violation of
 12   California Business and Professions Code 17200 et seq., based upon newTVpad’s
 13   sales and promotion of the TVpad set-top device.
 14           3.       I first learned of the TVpad set-top device from online advertisements I
 15   saw in early 2012, on a website owned or controlled by the Chinese companies
 16   responsible for creating and promoting the TVpad device. The website contained
 17   contact information for anyone interested in distributing or promoting the TVpad
 18   device, and I contacted an agent by email because I was interested in helping
 19   promote TVpads. At that time, I was not interested in selling the TVpad device, but
 20   understood that I could earn income from promoting it among members of the
 21   Chinese community in the United States.
 22           4.       I became aware at the time (in 2012) that there were two Chinese
 23   companies involved in creating and promoting the TVpad device. The first was
 24   Create New Technology (HK) Limited (“CNT”), and the second was Hua Yang
 25   International Technology Limited (“HYIT”). My understanding was that CNT
 26   manufactured the TVpad device, and HYIT was the marketer for the device.
 27           5.       My first contact with CNT was in May 2012. On May 24, 2012, I
 28   received a confirmation from the official TVpad website that I had been successfully
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  1   registered on the authorized dealer network. A true and correct copy of this email is
  2   attached hereto as Exhibit 1.
  3           6.       My primary contact thereafter was an individual named Lily Chow. We
  4   communicated primarily by email, and occasionally by using a messaging or “chat”
  5   service.
  6           7.       On June 14, 2012, I was provided promotion codes that I could use to
  7   promote the TVpad device; purchasers who used my promotion code would then get
  8   a discount on their TVpad purchase price, and I would receive payment for each
  9   successful sale. A true and correct copy of this June 14, 2012 email is attached
 10   hereto as Exhibit 2.
 11           8.       Subsequently, CNT sent samples of the TVpad device for me to try out.
 12           9.       On or about August 14, 2012, I made my first purchase of TVpad
 13   devices from CNT. I purchased 50 units of the TVpad1 device (model number
 14   M121S) at a wholesale price of $115 per unit. A true and correct copy of the
 15   purchase order for this purchase is attached hereto as Exhibit 3.
 16           10.      After the first purchase, between August 14, 2012 and April 2013, I
 17   made nine more purchases of TVpads from CNT, each in quantities of 100 units per
 18   order. In all, I purchased 50 TVpad1 units for $115 per unit; 300 TVpad1 units for
 19   the price of $120 per unit; 300 TVpad1 units for $110 per unit; 400 TVpad2 (model
 20   number M233) units for the price of $135 per unit; and 200 TVpad3 (model number
 21   M358) units for the price of $145. This equates to an average price of $126 per unit.
 22   I am missing several purchase orders, but true and correct copies of purchase orders
 23   for six of these purchases are attached hereto as Exhibit 4.
 24           11.      I was able to receive the wholesale price when I purchased least 20
 25   TVpad units in one order.
 26           12.      CNT shipped all TVpad devices to me directly from China using DHL,
 27   the international shipping company.
 28
                                                   2                      DAVIS WRIGHT TREMAINE LLP
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                  DECLARATION OF CHRISTOPHER KUELLING
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  1                       DECLARATION OF CHRISTOPHER KUELLING
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  3           I, Christopher Kuelling, declare as follows:
  4           1.       I am Senior Vice President, International Business & Legal Affairs at
  5   DISH Network L.L.C. (“DISH”). I have personal knowledge of the facts contained
  6   herein, and, if called upon as a witness, I could and would testify competently about
  7   these facts, except for those matters stated expressly upon information and belief,
  8   which matters are believed to be true. I make this declaration in support of Plaintiffs’
  9   motion for default judgment.
 10           2.       I have been employed by DISH since April 2002. I became the Senior
 11   Vice President, International Business & Legal Affairs at DISH in May 2014. Prior
 12   to this recent promotion, I served as Vice President, International Programming for
 13   approximately five years and my responsibilities included all content acquisition,
 14   marketing and sales of foreign language channels for DISH. Prior to that role, I
 15   served in various capacities including as senior attorney for DISH’s programming
 16   department, head of content acquisition for a DISH affiliate in Taiwan, and head of
 17   international sports rights acquisition for the same affiliate while based for three
 18   years in Europe. In my current role, I have responsibility for certain aspects of
 19   DISH’s international channel business, including content rights acquisition and
 20   overseeing anti-piracy efforts with regard to unauthorized distribution of video
 21   content for which DISH holds exclusive distribution rights. I am familiar with
 22   DISH’s business, its history as a company, its video programming offerings, and its
 23   programming distribution models, including its agreements with other companies to
 24   obtain programming content from both within and outside the United States.
 25                                         DISH’s Business
 26           3.       DISH is the nation’s third-largest pay television service, delivering
 27   video services to approximately 14 million customers nationwide through both
 28   satellite and Internet platforms. DISH’s primary service is satellite television, which

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  1   DISH provides to subscribers in return for subscription fees. Through its satellite
  2   service, DISH offers approximately 75 international programming packages
  3   containing close to 300 international channels.
  4           4.       Separately, a DISH affiliate offers many of the same international
  5   packages and channels through its Over-the-Top (“OTT”) 1 streaming video service
  6   called “Sling International” (formerly known as “DishWorld”). Sling International is
  7   an OTT subscription service that provides international television programming via
  8   an “app” that is available on numerous viewing devices including, but not limited to,
  9   Apple iPhones and iPads, Android phones and tablets, Samsung Smart TVs, Amazon
 10   Fire, Blu-Ray devices, personal computers, Microsoft Xbox and the Roku Streaming
 11   Player. The Sling International OTT service is a standalone service separate from
 12   DISH’s satellite delivery business, and a subscriber to the OTT service is not
 13   required to also subscribe to satellite service. New subscribers to the DISH satellite
 14   service are required to sign a two-year commitment.
 15                   DISH’s Rights to Transmit CCTV and TVB Programming
 16           5.       In 2004, DISH’s predecessor-in-interest, EchoStar Satellite L.L.C.
 17   (“EchoStar”), entered into a license agreement with China International Television
 18   Corporation, a wholly owned subsidiary of China Central Television (“CCTV”).
 19   That agreement granted to EchoStar the exclusive right to transmit CCTV’s “Great
 20   Wall Package” of television channels in the United States via satellite. The Great
 21   Wall Package includes content from 22 Chinese television channels, including the
 22   following CCTV channels: CCTV-4, CCTV-E, CCTV-Entertainment, CCTV-News,
 23   CCTV Movies (distributed as China Movie Channel (CMC)), and CCTV-Opera
 24   (collectively, the “CCTV U.S. Channels”).
 25

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 27  For purposes of this motion, “Over-the-Top” or “OTT” refers to the delivery of
    video programming using an Internet connection that is not owned, managed, or
 28 operated by such distributor (e.g., Netflix).

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  1           6.       DISH and China International Communication Co., Ltd. (“CICC”), as
  2   successors-in-interest to the original parties to the license agreement, have amended
  3   and renewed the license agreement periodically since 2004. Under the license
  4   agreement, as amended, DISH continues to own the exclusive right to transmit the
  5   Great Wall Package in the United States via satellite. In 2008, CICC also granted
  6   DISH the non-exclusive right to distribute CCTV’s Great Wall Package via OTT in
  7   the United States.
  8           7.       In 2012, DISH entered into a license agreement with TVB Satellite
  9   Platform, Inc., an affiliate of Television Broadcasts Limited (“TVB”) and Plaintiff
 10   TVB Holdings (USA), Inc. (“TVB (USA)”). Pursuant to the license agreement,
 11   DISH owns the exclusive right to transmit via satellite in the United States the
 12   following TVB television channels and the TVB television programs comprising
 13   those channels: TVB1, TVB2, TVBe, TVBS, TVB8, TVBV, TVB Pearl, TVB
 14   Drama, and TVBHD (collectively, the “TVB U.S. Channels”). The license
 15   agreement also grants to DISH the exclusive right to transmit the TVB U.S. Channels
 16   and the TVB television programs comprising those channels in the United States via
 17   OTT, except for video-on-demand content.
 18                           Infringement of CCTV and TVB Programming
                                Through the TVpad Retransmission Service
 19

 20           8.       As part of my job responsibilities, I oversee DISH’s anti-piracy efforts
 21   concerning international programming, including the investigation of “rogue”
 22   television services that deliver unlicensed international television programming to
 23   U.S. customers, such as the infringing international programming accessible through
 24   the TVpad device (the “TVpad Retransmission Service”). In July 2014, DISH
 25   (together with TVB (USA)) joined co-Plaintiffs CCTV and CICC in their anti-piracy
 26   efforts involving the TVpad device and the TVpad Retransmission Service, including
 27   retaining the Mintz Group, Inc. (“Mintz”), a private investigation firm, to investigate
 28   the TVpad device, the TVpad Retransmission Service, and defendants Create New

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  1   Technology (HK) Limited (“CNT”) and Hua Yang International Technology Limited
  2   (collectively, “Defendants”), who are responsible for manufacturing and distributing
  3   the TVpad device.
  4           9.       The TVpad device is a set-top box. When a user connects the TVpad
  5   device to both the Internet and a television, applications or “apps” available through
  6   a built-in software application called the “TVpad Store” permit users in the United
  7   States to view streaming television programs from mainland China, Hong Kong, and
  8   other parts of Asia.
  9           10.      One of the Mintz investigators with whom DISH has worked is Nicholas
 10   Braak. As detailed in the Declaration of Nicholas Braak, dated March 6, 2015 [Dkt.
 11   No. 23-1], which I have reviewed, several applications available in the TVpad Store
 12   stream CCTV and TVB channels and television programs from Asia to TVpad users
 13   in the United States (the “Infringing TVpad Apps”). DISH has not authorized
 14   anyone to stream CCTV or TVB channels or individual programming content
 15   comprising such channels through the Infringing TVpad Apps to TVpad users in the
 16   United States.
 17           11.      As part of its investigation, and as discussed in the Declarations of
 18   Nicholas Braak, dated August 21, 2015 and September 11, 2015, Mintz has
 19   continually monitored the TVpad Retransmission Service made available on the
 20   TVpad device and documented continued infringement, including of all
 21   programming carried on the CCTV and TVB U.S. Channels.
 22           12.      Defendants were not authorized by DISH to retransmit the TVB U.S.
 23   Channels or the copyrighted television programs broadcast on those channels at any
 24   time or in any manner. Therefore, Defendants infringed DISH’s exclusive right to
 25   distribute and publicly perform the works aired on the TVB U.S. Channels.
 26   Defendants’ infringement irreparably harms DISH by causing DISH to lose
 27   subscription revenue and market share, and damages DISH’s business reputation and
 28   goodwill. The harm to DISH will continue to accrue unless Defendants’

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  1   unauthorized retransmission of the TVB U.S. Channels is permanently enjoined.
  2                                   Particular Harms to DISH’s Business
  3           13.      DISH provides the CCTV and TVB U.S. Channels in packages that are
  4   added to customers’ satellite subscription plans for an extra fee or provided via the
  5   Sling International OTT service for a fee. DISH provides the CCTV U.S. Channels,
  6   included in CCTV’s “Great Wall Package” for $14.99 per month via satellite and,
  7   separately, for $15 per month via the Sling International OTT service. DISH
  8   provides the TVB U.S. Channels as well as CCTV’s CCTV-4 through the
  9   “Jadeworld” package for $29.99 per month via satellite and, separately, for $30.00
 10   per month via the Sling International OTT service.
 11           14.      Pursuant to its program licensing agreements, DISH pays license fees to
 12   broadcast networks based on the number of DISH subscribers that purchase access to
 13   each network’s programming. DISH also has clauses in its contracts that ensure
 14   DISH licenses the programming at a cost equal to or less than the amount paid by
 15   other providers. Based on my extensive experience negotiating such agreements for
 16   DISH and my familiarity with DISH’s license fees for markets of similar sizes, and
 17   considering that Defendants would have to negotiate for live-streaming, 12-hour
 18   delay and VOD rights across multiple apps, I calculate that CNT would have to pay
 19   at least $30 per subscriber for the non-exclusive rights to broadcast CCTV and TVB
 20   programming. This figure is very conservative, as the deal Defendants would have
 21   had to negotiate (in 2011, when Defendants began their TVpad Retransmission
 22   Service) would have been unprecedented and highly risky for CCTV and TVB.
 23   Defendants likely would have to pay greater amounts than DISH to license the
 24   CCTV and TVB U.S. Channels because DISH offers the networks a proven track
 25   record, long-term stability, a larger customer base and an upstanding reputation. By
 26   contrast, Defendants as unproven newcomers would have had to negotiate in a
 27   crowded, competitive market for any such license—a market in which, for instance,
 28   DISH already has an exclusive licensing agreement for OTT distribution and

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  1   performance rights in the TVB U.S. Channels that it would not readily
  2   relinquish. For this reason, it is likely that Defendants would have to pay at least $30
  3   per subscriber to become an authorized provider of the CCTV and TVB U.S.
  4   Channels, if they could acquire such a right at all.
  5           15.      DISH loses subscription revenues and market share whenever persons
  6   receive the CCTV and TVB U.S. Channels through Defendants’ TVpad
  7   Retransmission Service, as opposed to subscribing to the channels through DISH or
  8   Sling. Access to Defendants’ TVpad Retransmission Service requires the user to
  9   purchase a set-top box, which sells for a one-time cost, currently $299. There are no
 10   monthly subscription fees associated with Defendants’ TVpad Retransmission
 11   Service. Defendants are able to provide streaming CCTV and TVB U.S. Channels
 12   and programs through the TVpad Retransmission Service at a lower price (i.e., for
 13   free) than the comparable DISH services because Defendants are engaging in
 14   infringement rather than paying DISH’s co-Plaintiffs or their affiliates licensing fees
 15   for the right to transmit the CCTV and TVB U.S. Channels.
 16           16.      I have a good-faith belief that, as a result of Defendants’ unlawful
 17   activities described above, DISH has lost or failed to acquire many subscribers who
 18   otherwise would have been willing to pay subscription fees for access to DISH’s
 19   Great Wall Package of CCTV channels and Jadeworld Package of TVB channels.
 20   For instance, with respect to the Great Wall Package, the total number of DISH
 21   subscribers and monthly gross activations has been steadily declining from
 22   2011(when the TVpad Retransmission Service began operating) to the present. With
 23   respect to the Jadeworld Package, DISH launched the package in November 2012
 24   and fell well short of meeting the number of subscribers anticipated. Moreover,
 25   most of the subscribers to the Jadeworld Package on DISH’s satellite service had
 26   their two year commitments end in early 2015 and, over the past eight months, the
 27   number of subscribers has declined significantly.
 28

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  1           17.      Based on my knowledge of the industry and my experience overseeing
  2   DISH’s anti-piracy efforts, I conclude that this decline in DISH’s subscriber base to
  3   the Great Wall and Jadeworld Packages is attributable in large part, to the availability
  4   of CCTV and TVB programming for free on the TVpad device. That conclusion is
  5   buttressed by feedback from our DISH retailers in the local markets, who see the
  6   TVpad being advertised in newspapers and other media.
  7           18.      Likewise, Defendants’ unauthorized retransmission of the CCTV and
  8   TVB U.S. Channels results in price erosion that further reduces the subscription
  9   revenues received by DISH. In October 2014, as a result of competitive pressure
 10   from unauthorized distribution of the Great Wall Package, such as through the
 11   TVpad Retransmission Service, DISH reduced its monthly subscription fee for new
 12   customers of the Great Wall Package of CCTV channels from $22.99 to $14.99 per
 13   month.
 14                                   Defendants Refuse to Cease and Desist
 15           19.      On or about November 21, 2014, I sent cease-and-desist letters by
 16   Federal Express on behalf of DISH, TVB, and CCTV to Defendant CNT, among
 17   other defendants in this action. On November 23, 2014, Federal Express informed
 18   DISH that delivery of the cease-and-desist letter to CNT at its registered address in
 19   Hong Kong was attempted but refused by CNT because no specific individual’s
 20   name was listed on the package. I then provided Federal Express with the name of
 21   CNT’s sole shareholder Zhang Wenwei, but Federal Express informed DISH on
 22   November 30, 2014 that CNT had refused delivery with that name as well. True and
 23   correct copies of my November 2014 cease-and-desist letters to CNT are attached
 24   hereto as Exhibit 39. True and correct copies of emails from Federal Express to
 25   DISH employees working under my direction evidencing attempts by Federal
 26   Express to deliver the cease-and-desist letter to CNT are attached hereto as Exhibit
 27   40.
 28

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  1           20.      On December 8, 2014, I sent emails to CNT and other defendants which
  2   attached copies of the cease-and-desist letters addressed to each of them. I have not
  3   received any notifications (such as an “undeliverable” message) that would suggest
  4   that my email delivery of the cease-and-desist letters to CNT or the other defendants
  5   was unsuccessful. True and correct copies of my email to CNT and the attached
  6   cease-and-desist letter are attached hereto as Exhibit 41.
  7           21.      On December 16, 2014, after determining that the exhibits to my
  8   previous cease-and-desist letters were inadvertently omitted, I resent my November
  9   2014 cease-and-desist letters with the exhibits to CNT and another defendant via
 10   email. True and correct copies of my email to CNT and the attached cease-and-desist
 11   letter and exhibits are attached hereto as Exhibit 42.
 12           22.      My November 2014 cease-and-desist letter to CNT, as updated on
 13   December 16, 2014, notified CNT that “we have cause to believe that CNT and/or
 14   persons acting in concert with CNT are directly infringing the copyrights in
 15   television programming for which DISH, CCTV and/or TVB own exclusive rights,
 16   as well as inducing, materially contributing to, and failing to control the blatant
 17   infringing activities of others through the TVpad device.” The cease-and-desist
 18   letter, as updated, provided CNT with a list of the Infringing TVpad Apps, a list of
 19   the CCTV and TVB channels transmitted through those apps, and a representative
 20   list of 145 CCTV and TVB programs streamed through the Infringing TVpad Apps
 21   without authorization. The cease-and-desist letter demanded that “CNT and any
 22   parties acting in concert with CNT, or pursuant to CNT’s direction or control,”
 23   immediately (a) cease and desist from “providing CCTV and TVB content through
 24   the TVpad and its affiliated network”; and (b) cease and desist from “providing the
 25   [Infringing TVpad Apps], and any similar infringing applications, through the TVpad
 26   app store or otherwise.” See Exhibits 39, 41 and 42.
 27   ///
 28   ///

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                     DECLARATION OF SAMUEL P. TSANG
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  1                              DECLARATION OF SAMUEL P. TSANG
  2           I, Samuel P. Tsang, declare as follows:
  3           1.       I am the Vice President, Operations for Plaintiff TVB Holdings (USA),
  4   Inc. (“TVB (USA)”). I have personal knowledge of the facts contained herein, and, if
  5   called upon as a witness, I could and would testify competently about these facts,
  6   except for those matters stated expressly upon information and belief, which matters
  7   are believed to be true. I make this declaration in support of Plaintiffs’ Motion for
  8   Default Judgment as to Defendants Create New Technology (HK) Limited (“CNT”)
  9   and Hua Yang International Technology Limited (“HYIT”).
 10           2.       TVB (USA) is a wholly owned indirect subsidiary of Television
 11   Broadcasts Limited (“TVB”), the largest and most popular producer of Cantonese-
 12   language television programming in the world. In Hong Kong, TVB operates five
 13   over-the-air television channels—Jade, J2, Jade HD, iNews (Cantonese), and Pearl
 14   (English)—and 13 pay TV channels. Under a series of written license agreements,
 15   TVB (USA) and its affiliates broadcast and distribute TVB programming in the
 16   United States.
 17           3.       I have worked for TVB (USA) in various roles since 2000. In 2002,
 18   I was promoted to Vice President. In my current role as Vice President, Operations,
 19   I am responsible for overseeing the functions of Subscription Sales and Customer
 20   Service, U.S. News Production, Television Production, Engineering, and Information
 21   Technology. As a result of my experience working for TVB (USA) since 2000 and in
 22   my different roles as Customer Service Manager, Vice President, Marketing, and
 23   now Vice President, Operations, I am familiar with TVB (USA)’s business, including
 24   its history as a company, its programming, its programming distribution models, and
 25   its agreements with other companies to distribute its television programming within
 26   the United States. I am also familiar with the TVpad device, the infringing television
 27   programming available on that device, and TVB (USA)’s investigation of the
 28   manufacturer and distributors of the TVpad.

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  1           4.       As part of my job responsibilities, I have led TVB (USA)’s investigation
  2   of the TVpad device and the unlicensed international television programming
  3   accessible to U.S. consumers through the TVpad device (the “TVpad Retransmission
  4   Service”). I personally have inspected several TVpad devices acquired by TVB
  5   (USA) in the course of its investigation. In addition, I personally have viewed the
  6   streamed television programs delivered by the TVpad Retransmission Service. Also,
  7   I personally have inspected the software applications or “apps” available through the
  8   TVpad device’s “TVpad Store” to determine which apps illegally stream TVB
  9   channels and TVB programs without authorization.
 10           5.       As part of our investigation of the TVpad device, my colleagues and I
 11   periodically viewed programming on the TVpad1 device and its successors from
 12   June 2011 until the present. On the first date we tested, June 20, 2011, the TVpad1
 13   device—which used a menu of functions rather than TVpad apps—was streaming 11
 14   TVB and CCTV live channels: Jade, HD Jade, iNews, J2, Pearl, CCTV-1, CCTV-2,
 15   CCTV-10, CCTV-12, CCTV-新聞 (CCTV News), and CCTV少兒 (CCTV Kids).
 16   Our periodic viewing of programming on TVpad devices confirms that, since June
 17   2011, all versions of the TVpad device have made at least these TVB and CCTV
 18   channels available for live streaming. Over the 1,039 days from June 20, 2011
 19   through April 23, 2014, these 11 channels alone accounted for 274,296 hours of
 20   programming.
 21           6.       As part of my investigation of the TVpad device, I personally viewed
 22   the programs made available on a number of TVpad apps to determine which apps
 23   were streaming TVB programs without authorization (the “Infringing TVpad Apps”).
 24   As part of that effort, I documented a number of copyrighted TVB programs that
 25   were illegally transmitted through the TVpad device through video-on-demand
 26   (“VOD”). TVB’s efforts to document its infringed television programs are detailed
 27   in the Complaint, including at Paragraphs 114 and 115 and Exhibits C and D to the
 28   Complaint, which list all of TVB’s infringed television programs documented during

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  1   our early investigation of the TVpad device, as well as providing true and correct
  2   copies of all of the certificates of registration for those television programs. I also
  3   detailed these findings in my declaration in support of Plaintiffs’ request for
  4   preliminary injunctive relief, dated March 13, 2015, at Paragraphs 26 and 27 and
  5   Exhibits 92 and 93. In total, TVB, with the help of its investigators, documented 23
  6   episodes of copyright registered TVB television programs that were live streamed on
  7   TVpad devices, and 406 episodes of copyright registered TVB television programs
  8   that were available through VOD mode on TVpad devices at the time of filing the
  9   Complaint.
 10           7.       From June 18, 2015 through August 24, 2015—after the Court entered
 11   its preliminary injunction order in this matter on June 11, 2015—I and several TVB
 12   colleagues at my direction accessed the TVpad1, TVpad3 and TVpad4 devices that
 13   TVB had purchased for purposes of our investigation in order to determine whether
 14   the TVB programs that I had previously identified as being made available on the
 15   TVpad device through the Infringing TVpad Apps had been taken down by CNT, as
 16   required by the preliminary injunction order. I and my colleagues also tested the
 17   TVpad devices to determine whether any additional episodes of TVB copyrighted
 18   programs were now being infringed through the Infringing TVpad Apps. As a result
 19   of this testing, we confirmed that all 406 episodes of TVB programming we had
 20   previously documented as being infringed through various Infringing TVpad Apps in
 21   VOD mode were still being illegally streamed on the TVpad devices. We also
 22   documented thousands of additional examples of infringement, as detailed further
 23   below. (The episode counts in paragraphs 6-9 below, from our June through August
 24   2015 testing, include the 406 episodes originally documented. There is otherwise no
 25   overlap between those episode counts.)
 26           8.       From June 18, 2015 through June 22, 2015, I used a TVpad3 device
 27   located in my office, and later in my home, to determine what TVB programs can be
 28   accessed on the TVpad device using the Infringing TVpad App called Gang Yue

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  1   Wang Luo Dian Shi, which provides VOD content. I opened the app and personally
  2   observed which TVB series and episodes were available for streaming. I also
  3   accessed and viewed a portion of each of 1,216 episodes of TVB programs accessible
  4   through this Infringing TVpad App to confirm that the content was viewable once
  5   accessed.
  6           9.       From June 18, 2015 through June 22, 2015, at my direction, my TVB
  7   colleague Ringo Wong used a TVpad1 device located in his home to determine what
  8   TVB programs are available through the Infringing TVpad App called Gang Yue
  9   Kuai Kan, which also provides VOD content. Mr. Wong confirmed that he opened
 10   the Infringing TVpad App and personally observed that all 774 episodes of the TVB
 11   Program entitled “Come Home Love” were viewable on the TVpad device through
 12   the Gang Yue Kuai Kan app.
 13           10.      From June 18, 2015 through June 22, 2015, at my direction and in my
 14   presence, my colleague Eva Tam used a TVpad4 device located at TVB’s offices to
 15   determine what TVB programs are available through the Infringing TVpad App
 16   called Gang Tai Wu Xia, which also offers VOD content. Ms. Tam opened the app,
 17   and we together personally observed which TVB series and episodes were available
 18   for streaming by that VOD app. We accessed and viewed a portion of 398 episodes
 19   of TVB drama programs that were available on the TVpad device through this
 20   Infringing TVpad App.
 21           11.      From August 20, 2015 through August 24, 2015, Ringo Wong
 22   conducted a re-test of the Gang Yue Wang Luo Dian Shi Infringing TVpad App to
 23   determine what additional programs were being infringed. Mr. Wong documented
 24   that 540 additional TVB program episodes not identified during our June testing
 25   were available through VOD mode on the TVpad device. 187 of these newly tested
 26   programs are already registered with the U.S. Copyright Office, while 328 other
 27   infringed episodes are either programs for which TVB has submitted Copyright
 28   applications, fees and samples, but for which TVB has not yet received registrations,

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  1   or are of such recent vintage that they are still in the process of being aired or were
  2   just recently aired in Hong Kong or the United States, and Copyright applications are
  3   in the process of being filed with the U.S. Copyright Office.
  4           12.      In total during our June and August 2015 testing, I and my team
  5   witnessed 2,928 episodes of TVB programs being made available in VOD format
  6   through Infringing TVpad Apps on TVpad devices after entry of the Court’s
  7   preliminary injunction order. Of these VOD episodes, 1,966 of these works are
  8   registered with the U.S. Copyright Office.
  9           13.      In addition to these works, TVB previously documented, with the help
 10   of its investigators, 23 TVB copyrighted episodes that were live streamed through the
 11   Infringing TVpad Apps on the TVpad device. Of those episodes, 13 of those episodes
 12   have since been moved to the VOD menu of the Infringing TVpad App we tested in
 13   August—and are part of the 1,966 episodes of registered works listed above—
 14   leaving 10 episodes of content infringed through live streaming.
 15           14.      Taking into account these earlier documented infringed episodes, the
 16   total number of copyrighted episodes of TVB television programming infringed
 17   through the TVpad device and Infringing TVpad Apps—in both live streaming and
 18   VOD modes—that we have been able to document totals 1,976 works.
 19           15.      A summary chart detailing the title, date of infringement, copyright
 20   registration number and Infringing TVpad App for each of the registered works TVB
 21   determined were still being infringed through our June through August 2015 testing
 22   is attached hereto as Exhibit 43. True and correct copies of the certificates of
 23   registration for these works are attached hereto as Exhibit 44. These registrations
 24   were obtained by TVB’s wholly owned subsidiary, TVBO Production Limited and
 25   TVBO’s predecessor-in-interest, TVB (Overseas) Limited.
 26                     Continuing Irreparable Harm to TVB (USA)’s Business
 27           16.      Despite the Court’s entry of a preliminary injunction in this action,
 28   Defendants have continued their illegal conduct by providing, inducing, and

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  1   facilitating unauthorized streaming of TVB Channels and TVB Programs in the
  2   United States. As a consequence, TVB (USA) has continued to experience serious
  3   and irreparable injury for which we request redress through permanent injunctive
  4   relief. I summarize the nature and scope of the injury TVB (USA) experiences by
  5   virtue of Defendants’ wrongful conduct, below:
  6           17.      First, Defendants’ infringing conduct in providing and facilitating
  7   unauthorized streaming of TVB Channels and TVB Programs significantly reduces a
  8   valuable revenue stream to TVB (USA) and its affiliates. Through the TVpad
  9   Retransmission Service, Defendants compete directly with TVB (USA) and its U.S.
 10   Distribution Partners in distributing TVB Channels and TVB Programs in the United
 11   States. In substance, Defendants are operating a wholly unauthorized and free TVB
 12   retransmission service in the United States. This has caused and will continue to
 13   cause TVB (USA)’s U.S. Distribution Partners to lose an unknown number of
 14   subscribers who otherwise would be willing to pay subscription fees for access to
 15   TVB U.S. Channels and TVB Programs. When the U.S. Distribution Partners lose
 16   paying subscribers, it reduces the licensing revenues that TVB (USA) and its
 17   affiliates receive from the U.S. Distribution Partners because revenue payments are
 18   based on the number of their subscribers who subscribe to TVB U.S. Channels or
 19   packages. If Defendants had come to TVB for a license for TVB content for the
 20   TVpad, and considering that Defendants would have to negotiate for live-streaming,
 21   12-hour delay and VOD rights across multiple apps, we likely would not have been
 22   willing to license our content, but even if we had, we would have charged a
 23   significant premium.
 24           18.      Although it is difficult to calculate the amount of revenue TVB (USA)
 25   has lost from lost licensing revenue because Plaintiffs do not know how many
 26   customers TVB (USA)’s U.S. Distribution Partners have lost as a result of
 27   Defendants’ unlawful activities, I can explain the magnitude of the loss based on my
 28   knowledge and experience. Prior to the launch of TVpad in 2011, TVB (USA)’s U.S.

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  1   distribution revenue had been increasing every year. But since the launch of the
  2   TVpad device, our annual U.S. distribution revenue has dropped significantly,
  3   especially in the last two years. From 2011 until the present, our U.S. distribution
  4   revenue has decreased by approximately 50%, totaling millions of dollars in lost
  5   revenues.
  6           19.      I have personally observed the popularity of the TVpad device. I know
  7   many Chinese-Americans who have purchased a TVpad device to watch TVB
  8   programming. I have also observed that U.S. TVpad distributors advertise the TVpad
  9   device in major Chinese-language newspapers in the United States, online, and at
 10   events in the Chinese-American community. Based on my personal experience, my
 11   understanding of the ethnic Chinese television market in the United States, and my
 12   experience working for TVB(USA), I conclude that a substantial factor in the
 13   precipitous drop in our subscriber base has been and continues to be unfair
 14   competition from the TVpad device and TVpad Retransmission Service, which can
 15   (and do) make TVB programming available to U.S. customers for free solely because
 16   Defendants do not pay program license fees to us or anyone else. As noted above, it
 17   is difficult to calculate the amount of revenue TVB (USA) has lost in this way
 18   because we do not know how many subscribers and prospective subscribers TVB
 19   (USA) has lost due to the TVpad device and TVpad Retransmission Service.
 20           20.      In addition, by providing the live, time-shift, video-on-demand, and
 21   replay live modes found in the Infringing TVpad Apps, the TVpad device basically
 22   encompasses all the different functions that exist to allow a user to watch TVB
 23   Channels and TVB Programs at any time the user desires. Each of these functions
 24   represents a potential revenue stream to TVB (USA), but Defendants have usurped
 25   this legitimate market. This unfair competition undermines TVB (USA)’s U.S.
 26   Distribution Partners’ competitive position in the market, and thus diminishes TVB
 27   (USA)’s existing as well as potential revenue. The precise scope of the harm is
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  1   difficult to quantify, but I am certain that the magnitude of the harm has already
  2   affected TVB (USA)’s stability and standing in the market.
  3           21.      Second, Defendants’ infringing conduct in providing and facilitating
  4   unauthorized streaming undermines TVB (USA)’s strategic choices about where,
  5   when, and how to distribute its programs, particularly because TVB (USA) has
  6   chosen to limit distribution of TVB programming to a small number of U.S.
  7   Distribution Partners. TVB (USA) also carefully controls the timing and location of
  8   the distribution of TVB’s television programs in the United States to create the
  9   maximum incentive for U.S. customers to purchase access to TVB U.S. Channels
 10   through their cable, satellite, or telecommunications providers.
 11           22.      For example, in the United States, TVB (USA) generally broadcasts its
 12   popular dramas based on the East Coast time schedule approximately twelve hours
 13   after they first air in Hong Kong, so that United States viewers may watch new
 14   episodes during the traditional prime time scheduling block between 6PM and 11PM
 15   on weeknights. In turn, our U.S. Distribution Partners value the right to broadcast
 16   new episodes in this prime time scheduling block. These U.S. Distribution Partners
 17   rely on the understanding that, in their particular time zone, they—along with other
 18   authorized U.S. Distribution Partners—all will air a new episode at exactly the same
 19   time so that their customers get access to fresh, timely content at the same time as
 20   their competitors’ customers. This is particularly important for TVB’s popular
 21   dramas, many of which are “cliff hangers” that create a great deal of anticipation and
 22   excitement from episode to episode.
 23           23.      By streaming live broadcasts of TVB Channels from Asia at the same
 24   time that those broadcasts air in Asia, Defendants destroy TVB (USA)’s
 25   programming strategies and upset the legitimate expectations of our U.S. Distribution
 26   Partners. For example, if a popular drama airs at 8PM on TVB’s Jade Channel in
 27   Hong Kong, the Infringing TVpad Apps that stream live television will show that
 28   TVB drama at approximately 4AM Los Angeles time. A TVpad user living in Los

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  1   Angeles can watch the TVB drama at 4AM rather than having to wait until later that
  2   day to see the show on an authorized TVB U.S. Channel. Equally damaging, the
  3   TVpad user in Los Angeles can use an Infringing TVpad App with a replay live
  4   mode or video-on-demand function to watch the show at a more convenient time—
  5   for example, the following morning or during a break from work the next day—but
  6   still several hours before the show is aired on a TVB U.S. Channel by one of our
  7   authorized U.S. Distribution Partners.
  8           24.      In addition, Defendants’ unlawful conduct deprives TVB (USA) of its
  9   right not to retransmit the TVB Channels in the United States in their original form,
 10   as well as to limit or curate the TVB Programs that will air in the United States. TVB
 11   (USA) does not distribute all of the programming from TVB’s Hong-Kong and
 12   Taiwan channels in the United States, and for that reason it creates a unique feed for
 13   the TVB U.S. Channels. TVB (USA) carefully chooses the content distributed on the
 14   TVB U.S. Channels to fit the tastes of the U.S. market. Defendants’ unauthorized
 15   streaming of all TVB Channels and TVB Programs aired in Asia deprives TVB
 16   (USA) of its ability to curate its television programming for a United States audience.
 17   This loss of control threatens to hurt TVB (USA)’s goodwill with U.S. audiences and
 18   U.S. Distribution Partners, and the precise scope of the harm is difficult to quantify.
 19           25.      Third, Defendants’ unlawful conduct significantly reduces the value of
 20   video-on-demand rights that TVB (USA) can offer its U.S. Distribution Partners. In
 21   addition to licensing the TVB U.S. Channels, TVB (USA) can also license to cable,
 22   satellite, and other television providers the right to offer subscribers access to either
 23   previously aired TVB Programs or classic/popular TVB Programs for “on demand”
 24   viewing on standard televisions and mobile devices. The free availability in the
 25   TVpad Store of Infringing TVpad Apps that provide a video-on-demand function
 26   undermines TVB (USA)’s ability to grant a lucrative exclusive license for video-on-
 27   demand content because our prospective licensees’ potential customers can get the
 28   same video-on-demand service through the TVpad for free. That injury is

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  1   exacerbated by the fact that Defendants have also quickly converted TVB episodes
  2   only recently aired in Hong Kong or the United States into VOD format. This instant
  3   conversion of live programming to VOD not only further undermines TVB (USA)’s
  4   ability to grant lucrative licenses for this content, it also provides an example of how
  5   TVB is being injured not only by the constant streaming of its live broadcasts
  6   through the Infringing TVpad Apps, but also by the ongoing accessibility of these
  7   programs for repeated and ongoing infringement by uncounted TVpad users on a
  8   daily basis once these episodes are converted to VOD.
  9           26.      Fourth, Defendants’ infringing conduct in providing and facilitating
 10   unauthorized streaming of TVB Channels and TVB Programs in the United States
 11   interferes with TVB (USA)’s ability to develop and exploit a lawful market for
 12   Internet distribution of its television programs in the United States. DISH is our U.S.
 13   Distribution Partner for delivery of TVB content to subscribers via OTT (linear)
 14   streaming over the Internet. The TVpad Retransmission Service competes directly
 15   with DISH’s Internet-based streaming service (“Sling International”) because of the
 16   similarity of the technology, damaging TVB (USA)’s relationship and goodwill with
 17   DISH. In addition, the TVpad Retransmission Service threatens to confuse
 18   consumers about Internet-based distribution channels more generally, including what
 19   constitutes lawful Internet-based exploitation and whether payment is required for
 20   access to TVB Channels and TVB Programs through the Internet.
 21           27.      Fifth, Defendants’ infringing conduct in providing and facilitating
 22   unauthorized streaming of TVB Channels and TVB Programs in the United States
 23   threatens TVB (USA)’s ability to negotiate favorable license agreements with its
 24   U.S. Distribution Partners in the United States. Our U.S. Distribution Partners pay
 25   fees to TVB (USA) and its affiliates for the right to transmit TVB U.S. Channels and
 26   certain TVB Programs in the United States. Defendants’ unauthorized streaming of
 27   TVB Programs in the United States competes directly with our U.S. Distribution
 28   Partners, potentially undercutting the value of their license agreements. If Defendants

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  1   are permitted to continue competing directly with our U.S. Distribution Partners by
  2   illegally stealing and streaming TVB’s own content, it inevitably will reduce the
  3   amount that U.S. Distribution Partners are willing to pay TVB (USA) and its
  4   affiliates, thereby significantly reducing TVB (USA)’s revenues through license
  5   agreements for retransmission in the United States.
  6           28.      In addition, the unlicensed availability of TVB Channels and TVB
  7   Programs undermines TVB (USA)’s relationships with its U.S. Distribution Partners
  8   and damages TVB (USA)’s goodwill with them.
  9           29.      Sixth, Defendants’ infringing conduct impairs TVB (USA)’s brand,
 10   reputation, and goodwill with consumers by associating TVB programming with
 11   poor quality viewing experiences on the TVpad device. TVB (USA) takes steps to
 12   safeguard its reputation with respect to the quality of the viewing experience that
 13   viewers can expect when they watch TVB Channels and TVB Programs. Many of the
 14   license agreements that TVB (USA) and its affiliates have with U.S. Distribution
 15   Partners require that certain quality standards be met. TVB (USA) has no contract
 16   with any of the Defendants and therefore lacks any way to ensure that they provide
 17   viewers with a quality viewing experience. As set forth in detail in the accompanying
 18   Braak Declaration, which I have reviewed, Mintz investigators have documented
 19   numerous problems with the TVpad viewing experience. In addition, Mintz
 20   investigators have reviewed popular TVpad forums and discovered that posters on
 21   those forums frequently complain about technical problems with the TVpad device,
 22   including poor image quality and interruptions in service. Associating TVB Channels
 23   and TVB Programs with Defendants’ poor-quality TVpad service threatens to harm
 24   TVB (USA)’s brand and reputation, depriving it of customer goodwill. The harm
 25   associated with this injury to reputation and loss of customer goodwill is difficult to
 26   quantify.
 27   ///
 28   ///

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  1           30.      In short, through their infringing activity, Defendants have stripped
 2    TVB (USA) of control over its own copyrighted works and use those same
 3    copyrighted works to compete directly with TVB (USA) and its U.S. Distribution
  4   Partners, injuring their business models and depriving them of customer goodwill,
  5   causing TVB (USA) harm that is virtually impossible to calculate or quantify.
  6           I declare under penalty of perjury under the laws of the United States of
  7   America that the foregoing is true and correct.
  8   Executed this      11- day of September, 2015.
  9

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 11                                                       Samuel P. Tsang
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                      DECLARATION OF CHUNGUANG LU
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  1                               DECLARATION OF CHUNGUANG LU
  2

  3           I, Chunguang Lu, declare as follows:
  4           1.       I am the President of Plaintiff China International Communications Co.,
  5   Ltd. (“CICC”), an affiliate of Plaintiff China Central Television (“CCTV”). I have
  6   personal knowledge of the facts contained herein, and, if called upon as a witness, I
  7   could and would testify competently about these facts, except for those matters stated
  8   expressly upon information and belief, which matters are believed to be true. I make
  9   this declaration in support of Plaintiffs’ motion for a preliminary injunction.
 10           2.       I have worked for CICC in various roles since 2006. In 2013, I was
 11   promoted to President. In my role as President, I am responsible for overseeing the
 12   entire business operations of CICC, including marketing, customer relations, and
 13   licensing relationships with CICC’s distribution partners. As a result of my
 14   experience working for CICC since 2006 and in my role as President, I am familiar
 15   with CICC’s business and history as a company, and its licensing of CCTV
 16   programming in the United States. I am also familiar with the TVpad device, the
 17   infringing television programming available on that device, and CICC’s investigation
 18   of the manufacturers and distributors of the TVpad device.
 19                                               CCTV’s Business
 20           3.       Plaintiff CCTV is the predominant state television broadcaster in
 21   mainland China. CCTV has 42 television channels. CCTV’s flagship over-the-air
 22   channels in China are CCTV1 through CCTV14 (collectively, the “CCTV
 23   Channels”). CCTV’s television programming reaches more than a billion viewers,
 24   more than every major television network in the United States and Europe combined.
 25   CCTV is China’s most influential and prolific television program producer, creating
 26   and broadcasting a wide variety of television programs, including news, dramas,
 27   comedies, sports, documentaries, and entertainment programming. In addition to its
 28

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  1   television programs, CCTV has also built up a multimedia broadcasting platform and
  2   business operation, which includes movies, newspapers, and the Internet.
  3           4.       CICC is a wholly owned subsidiary of China International Television
  4   Corporation (“CITVC”), which, in turn, is a wholly owned subsidiary of CCTV.
  5   CICC is responsible for the overseas distribution and promotion of CCTV’s “Great
  6   Wall Package.”
  7           5.       CCTV’s Great Wall Package consists of programming from 22 Chinese
  8   television channels including the following CCTV channels: CCTV-4, CCTV-E,
  9   CCTV-Entertainment, CCTV-News, CCTV Movies (distributed as “China Movie
 10   Channel (CMC)”), and CCTV-Opera. CICC licenses and distributes the Great Wall
 11   Package in the United States, Canada, Latin America, Asia, Europe and Southeast
 12   Asia. The Great Wall Package is the only package of Chinese television programs
 13   approved for overseas broadcast by China’s State Administration of Radio Film and
 14   Television. (Hereafter, I shall refer to the CCTV channels included in the Great Wall
 15   Package, as distributed in the United States, collectively as the “CCTV U.S.
 16   Channels”.)
 17                                       CCTV’s Television Programs
 18           6.       CCTV produces, distributes, and owns the copyrights to a wide variety
 19   of television programming, including episodic dramas, comedies, news programs,
 20   sports, and other programs that are initially broadcast in China (“CCTV Programs”).
 21   CCTV Programs include episodes of highly successful programs such as “Across the
 22   Strait,” “Star Walk,” and “Art Life.”
 23           7.       CCTV spends substantial sums of money each year producing or
 24   acquiring rights to its content, including episodic dramas, sporting events, and news
 25   programs. CCTV and its affiliates spend millions of dollars a year advertising and
 26   promoting CCTV Programs.
 27           8.       CCTV has obtained United States copyright registrations for the
 28   television programs listed in Exhibit 94 (collectively, the “Registered CCTV

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  1   Programs”). The Registered CCTV Programs are only a small subset of the total
  2   programming that CCTV produces and distributes internationally, including in the
  3   United States.
  4                      Distribution of CCTV Programs Through Lawful Channels
  5           9.       On behalf of CCTV, CICC distributes the Great Wall Package in the
  6   United States through three authorized distribution partners: Plaintiff DISH Network
  7   L.L.C. (“DISH”), iTalk TV, and Kylin TV (collectively, the “Authorized U.S.
  8   Providers”). DISH is a satellite television and “Over-the-Top” (OTT) 1 services
  9   provider of the Great Wall Package. iTalk TV and Kylin TV are OTT providers of
 10   the Great Wall Package.
 11           10.      On behalf of CCTV, CICC enters into license agreements with the
 12   Authorized U.S. Providers that give the Authorized U.S. Providers the right to
 13   transmit the Great Wall Package, including the CCTV U.S. Channels and the CCTV
 14   programs carried on those channels, in the United States. The Authorized U.S.
 15   Providers pay CICC licensing fees for the right to transmit CCTV U.S. Channels and
 16   certain CCTV Programs to their customers. A portion of the licensing fees that CICC
 17   receives from the Authorized U.S. Providers are then paid to CCTV.
 18           11.      Although CICC licenses certain rights to CCTV programming in the
 19   United States, CCTV retains and owns the exclusive right to reproduce, publicly
 20   perform, and transmit CCTV channels and programs over the Internet in the United
 21   States.
 22           12.      In 2004, Plaintiff DISH’s predecessor-in-interest, EchoStar Satellite
 23   L.L.C., entered into a license agreement with CITVC, which at the time handled U.S.
 24   licensing of CCTV television programs before CICC took responsibility for that role.
 25

 26
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 27         For purposes of this motion, “Over-the-Top” or “OTT” refers to the delivery
    of video programming using an Internet connection that is not owned, managed, or
 28 operated by the party delivering the programming (e.g., Netflix).

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  1   That license agreement granted to EchoStar the exclusive right to transmit CCTV’s
  2   Great Wall Package in the United States via satellite.
  3           13.      DISH and CICC, as successors-in-interest to the original parties to the
  4   licensing agreement, have amended and renewed this licensing agreement
  5   periodically since 2004. Under the license agreement, as amended, DISH continues
  6   to own the exclusive right to transmit the Great Wall Package via satellite in the
  7   United States. In 2008, CICC also granted DISH the non-exclusive right to distribute
  8   the Great Wall Package via OTT television in the United States.
  9           14.      Only a small subset of all CCTV Programs that air in China are
 10   retransmitted on the CCTV U.S. Channels. For those programs, generally there is at
 11   least a twelve-hour delay between the first transmission of a CCTV Program in China
 12   and its initial retransmission in the United States on the CCTV U.S. Channels. This
 13   delay accounts for the time difference between China and the East Coast of the
 14   United States and permits CCTV Programs to air on the CCTV U.S. Channels at
 15   approximately the same time of day as they air in China.
 16           15.      The Authorized U.S. Providers in the United States charge their
 17   subscribers subscription fees to access the Great Wall Package. Typically, CICC’s
 18   licensing agreements require the Authorized U.S. Providers to split some portion of
 19   their revenues from subscription fees with CICC.
 20           16.      Another CCTV affiliate, China Network Television (CNTV), streams
 21   CCTV television programming over the Internet from its website at http://tv.cntv.cn/.
 22   CNTV’s webcasts offer interactive audiovisual services, integrating features of
 23   Internet-based operations with those of television programming. These include live
 24   video, video-on-demand, file upload, search and videocast services that make CNTV
 25   a popular online video platform for public information and entertainment.
 26           17.      CNTV also distributes a number of mobile applications that offer
 27   streaming video of certain CCTV Programs, including CCTV SPORTS and CCTV
 28

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  1   NEWS. CNTV makes these apps available for download through the iTunes and
  2   Google Play stores, among other authorized sites.
  3           18.      CICC spends substantial sums of money each year on the facilities,
  4   equipment, and labor necessary to distribute the CCTV U.S. Channels and CCTV
  5   Programs in the United States. These costs include system building, satellite
  6 transponder rent, system maintenance, equipment purchases, and labor.
                 Infringement of CCTV Channels and CCTV Programs
  7
                        Through the TVpad Retransmission Service
  8
              19.      In 2014, CCTV and CICC retained the Mintz Group, Inc. (“Mintz”), a
  9
      global private investigation company, to investigate Defendants’ operations and to
 10
      conduct forensic analysis of the TVpad device and of the unlicensed international
 11
      television programming accessible to U.S. consumers through the TVpad device (the
 12
      “TVpad Retransmission Service”). Thereafter, TVB Holdings (USA), Inc. and DISH
 13
      joined CCTV and CICC in their anti-piracy efforts involving the TVpad device and
 14
      the TVpad Retransmission Service.
 15
              20.      The TVpad device is a set-top box. When a user connects the TVpad
 16
      device to both the Internet and a television, applications or “apps” available through
 17
      a built-in software application called the “TVpad Store” on the TVpad device permit
 18
      the user to view streaming television programs in the United States. There are
 19
      currently two TVpad models—TVpad3 and TVpad4—that are being sold to
 20
      consumers in the United States.
 21
              21.      Based on Mintz’s investigation, I understand that infringing applications
 22
      available through the TVpad Store on the TVpad device intercept CCTV Channels
 23
      and CCTV Programs from mainland China, as well as other television programming
 24
      from Asia, and stream that pirated content to TVpad users in the United States and
 25
      elsewhere around the world.
 26
              22.      Based on Mintz’s investigation, I know that some TVpad applications
 27
      stream live broadcasts of CCTV Channels from China at the same time they air in
 28

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  1   China. (I shall hereafter refer to this application function as the “live” function.)
  2   Some TVpad applications permit users of the TVpad device to play broadcasts of
  3   CCTV Channels from China for up to three days after they air in China. (I shall
  4   hereafter refer to this application function as the “replay live” function.) I shall refer
  5   collectively to the TVpad applications that stream CCTV Channels and CCTV
  6   Programs without authorization as the “Infringing TVpad Apps”.
  7           23.      None of CICC, CCTV, or any of their affiliates have granted the
  8   Defendants in this action or any other party a license or other permission to stream,
  9   transmit or retransmit, or otherwise display, exhibit, perform, copy, and/or distribute
 10   CCTV Channels or CCTV Programs through the Infringing TVpad Apps in the
 11   United States, and CCTV and CICCC receive no revenue for this unauthorized
 12   streaming.
 13           24.      In consultation with Mintz, CICC has identified the following Infringing
 14   TVpad Apps with live and/or replay live functions that stream the following CCTV
 15   Channels to TVpad users in the United States without authorization:
 16

 17                                                    TVpad3              TVpad4
 18

 19        Infringing TVpad                CCTV’s Programming      CCTV’s Programming
             App and icon                      and Mode                and Mode
 20

 21            BETV PLUS                                        CCTV 1 (live & replay live),
 22
                                                                CCTV 2 (live), CCTV 3 (live
                                                                & replay live), CCTV 4 (live
 23
                                                                & replay live), CCTV6 (live
                                                                & replay live), CCTV 10
 24
                                                                (live), CCTV 11 (live),
                                                                CCTV12 (live), CCTV13
 25
                                                                (live & replay live), CCTV14
                                                                (live & replay live)
 26

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  1                                                    TVpad3                   TVpad4
  2

  3
           Infringing TVpad                CCTV’s Programming            CCTV’s Programming
  4          App and icon                      and Mode                      and Mode

  5
                BETV_HD                   CCTV 1 HD (live),
  6                                       CCTV 5 HD (live)
  7

  8

  9

 10                                       CCTV 1 (live & replay
                  BETV II                 live), CCTV 2 (live),
 11                                       CCTV 3 (live & replay
                                          live), CCTV 4 (live &
 12                                       replay live), CCTV 5 (live
                                          & replay live), CCTV 5+
 13                                       (live), CCTV6 (live &
                                          replay live), CCTV 10
 14                                       (live), CCTV 11 (live),
                                          CCTV12 (live), CCTV13
 15                                       (live & replay live),
                                          CCTV14 (live & replay
 16                                       live), CCTV风云足球（
                                          CCTV fengyun soccer)
 17                                       (live)
 18                 BETV                  CCTV 1, CCTV 2, CCTV
                                          3, CCTV 4, CCTV 5+,
 19                                       CCTV6, CCTV 10,
                                          CCTV 11, CCTV12,
 20                                       CCTV13, CCTV14,
                                          CCTV风云足球（CCTV
 21                                       fengyun soccer) (all live)
 22

 23          516網路電視(516                  CCTV4 (live)                 CCTV4 (live)
               Online TV)
 24

 25

 26

 27

 28

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  1                                                    TVpad3              TVpad4
  2

  3
           Infringing TVpad                CCTV’s Programming       CCTV’s Programming
  4          App and icon                      and Mode                 and Mode

  5
            体育online (Sport               CCTV 1, CCTV 5, CCTV    CCTV 5, CCTV 5+, CCTV
  6           Online)                     5+, CCTV风云足球            风云足球（CCTV fengyun
                                          (CCTV fengyun soccer)   soccer), CCTV 高尔夫. 网球
  7                                       (all live)              （CCTV Golf/ Tennis）(all
                                                                  live)
  8

  9

 10

 11
              25.      One of the Mintz investigators with whom CICC has worked is Nicholas
 12
      Braak. As detailed in the accompanying Braak Declaration, between September 29
 13
      and October 9, 2014, Mr. Braak recorded infringing public performances of 30
 14
      episodes of CCTV Programs streamed through these Infringing TVpad Apps on the
 15
      TVpad device. CCTV has obtained United States copyright registrations for those 30
 16
      episodes. See Exhibit 94 for the list of Registered CCTV Programs. Based on
 17
      Mintz’s investigation, I know that the unauthorized streaming of the 30 Registered
 18
      CCTV Programs represents only a small fraction of the infringing public
 19
      performances of CCTV Programs transmitted without authorization through the
 20
      TVpad device. Each and every day, 24 hours a day, these Infringing TVpad Apps on
 21
      the TVpad device stream to U.S. TVpad users all of the copyrighted content on the
 22
      CCTV Channels from China without authorization and without any fees being paid
 23
      to CCTV or its Authorized U.S. Providers.
 24
                           Irreparable Harm to CICC’s and CCTV’s Business
 25
              26.      Defendants’ infringing conduct in providing and facilitating
 26
      unauthorized streaming of CCTV Channels and CCTV Programs in the United States
 27
      has caused and, unless enjoined, will continue to cause serious and irreparable injury
 28

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  1   to CCTV and CICC in at least the following ways, all of which are inherently and
  2   practically difficult to measure.
  3           27.      First, Defendants’ infringing conduct in providing and facilitating
  4   unauthorized streaming of CCTV Channels and CCTV Programs significantly
  5   reduces a valuable revenue stream to CCTV and CICC. Through the TVpad
  6   Retransmission Service, Defendants compete directly with CCTV, CICC, and their
  7   Authorized U.S. Providers in distributing the Great Wall Package in the United
  8   States. This has caused and will continue to cause CCTV’s Authorized U.S.
  9   Providers to lose an unknown number of subscribers who otherwise would be willing
 10   to pay subscription fees for access to the Great Wall Package. When the Authorized
 11   U.S. Providers lose paying subscribers, it reduces the licensing revenues that CICC
 12   and CCTV receive from the Authorized U.S. Providers, which revenue payments are
 13   based on the number of their subscribers who subscribe to the Great Wall Package.
 14           28.      It is difficult to calculate the amount of U.S. licensing revenue CICC
 15   and CCTV have lost because Plaintiffs do not know how many subscribers and
 16   potential subscribers to the Great Wall Package the Authorized U.S. Providers have
 17   lost as a result of Defendants’ unlawful activities. However, based on my experience
 18   and understanding of our business, the revenue losses suffered by CCTV and CICC
 19   have been substantial. Since the launch of the TVpad device in 2011, CICC’s annual
 20   U.S. licensing revenue has decreased by 41%, totaling millions of dollars in lost
 21   revenues. Based on my knowledge and experience as President of CICC, I conclude
 22   that a substantial factor in this decline in our subscriber base has been and continues
 23   to be unfair competition from the TVpad Retransmission Service, which provides
 24   pirated CCTV programming to TVpad users for free without paying program license
 25   fees to CCTV, CICC, or anyone else.
 26           29.      Second, Defendants’ infringing conduct in providing and facilitating
 27   unauthorized streaming of CCTV Channels and CCTV Programs in the United States
 28   threatens CICC’s ability to negotiate favorable license agreements on behalf of

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  1   CCTV with the Authorized U.S. Providers and other distributors in the United States.
  2   As noted above, the Authorized U.S. Providers pay fees to CICC for the right to
  3   transmit the Great Wall Package. As noted above, the TVpad Retransmission
  4   Service competes directly with the Authorized U.S. Providers, potentially
  5   undercutting the value of their license agreements. If Defendants are permitted to
  6   continue competing directly with the Authorized U.S. Providers using CCTV’s own
  7   content, it will reduce the amount that Authorized U.S. Providers are willing to pay
  8   CICC, thereby significantly reducing the revenues received by CICC and CCTV
  9   through license agreements for retransmission in the United States.
 10           30.      In addition, the unlicensed availability of CCTV Channels and CCTV
 11   Programs undermines CCTV’s and CICC’s relationships with the Authorized U.S.
 12   Providers and damages our goodwill with them.
 13           31.      Third, Defendants’ infringing conduct undermines CICC’s and CCTV’s
 14   strategic choices about where, when, and how to distribute their programs,
 15   particularly because CCTV and CICC have chosen to limit distribution of CCTV
 16   programming to a small number of Authorized U.S. Providers. This loss of control
 17   harms CCTV’s and CICC’s goodwill with U.S. audiences and the Authorized U.S.
 18   Providers. CICC carefully controls the timing and location of the distribution of
 19   CCTV Programs in foreign markets, including the United States, to create the
 20   maximum incentive for customers in those markets to purchase access to the Great
 21   Wall Package through the Authorized U.S. Providers.
 22           32.      For example, in the United States, CCTV’s popular television shows are
 23   generally retransmitted approximately twelve hours after they first air in China, so
 24   that United States viewers can watch new episodes during the traditional prime time
 25   scheduling block between 6PM and 10PM on weeknights. In turn, the Authorized
 26   U.S. Providers in the United States value the right to retransmit new episodes in this
 27   prime time scheduling block. The Authorized U.S. Providers rely on the
 28   understanding that, in their particular time zone, they—along with other Authorized

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  1   U.S. Providers—all will air a new episode at exactly the same time so that their
  2   customers get access to fresh, timely content at the same time as their competitors’
  3   customers.
  4           33.      By streaming live broadcasts of CCTV Channels from China at the same
  5   time as those broadcasts air in China, the TVpad Retransmission Service upsets the
  6   legitimate expectations of the Authorized U.S. Providers by preemptively
  7   retransmitting CCTV Programs before those programs are first aired in the United
  8   States by the Authorized U.S. Providers.
  9           34.      In addition, Defendants’ unauthorized streaming deprives CCTV and
 10   CICC of their right not to retransmit most of the CCTV Channels in the United States
 11   at all, as well as to limit the CCTV Programs that will air in the United States. CICC
 12   carefully chooses the content distributed on the CCTV U.S. Channels to fit the tastes
 13   of the U.S. market. Defendants’ unauthorized streaming of all CCTV programs aired
 14   in China deprives CCTV and CICC of their ability to curate their television
 15   programming for a United States audience. This loss of control threatens to hurt
 16   CCTV’s and CICC’s goodwill with U.S. audiences and the Authorized U.S.
 17   Providers. The precise scope of the harm is difficult to quantify.
 18           35.      Fourth, Defendants’ infringing conduct in providing and facilitating
 19   unauthorized streaming of CCTV Channels and CCTV Programs in the United States
 20   interferes with CCTV’s and CICC’s ability to develop and exploit a lawful market
 21   for Internet distribution of their television programs in the United States. As noted
 22   above, on behalf of CCTV, CICC enters into licensing agreements with Authorized
 23   U.S. Providers, including DISH, that provide Internet-based streaming services. The
 24   TVpad Retransmission Service competes directly with those services because of the
 25   similarity of the technology, damaging CCTV’s and CICC’s relationship and
 26   goodwill with legitimate Internet-based licensees. In addition, the TVpad
 27   Retransmission Service threatens to confuse consumers about Internet-based
 28   distribution channels more generally, including about what constitutes lawful

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        Internet-based exploitation and whether payment is required for access to CCTV
    2   Channels and CCTV Programs.
    3            36.      Fifth, Defendants ' infringing conduct impairs CCTV' s brand,
    4   reputation, and goodwill with consumers by associating its programming with poor
    5   quality viewing experiences on the TVpad device. CCTV and CICC take steps to
    6   safeguard CCTV' s reputation with respect to the quality of the viewing experience
    7   that U.S. viewers can expect when they watch CCTV Channels and CCTV Programs.
    8 Many of CICC 's license agreements with the Authorized U.S. Providers require that
    9   certain quality standards be met. CICC has no contract with any of the Defendants
   1o and therefore lacks any way to ensure that they provide viewers with a quality

   11   viewing experience. As set forth in detail in the accompanying Braak Declaration,
   12   Mintz investigators have documented numerous problems with the TVpad viewing
   13   experience. In addition, Mintz investigators have reviewed popular TVpad forums
   14   and discovered that posters on those forums frequently complain about technical
   15   problems with the TV pad device, including poor image quality and interruptions in
   16   service. Associating CCTV Channels and CCTV Programs with Defendants ' poor-
   17   quality service threatens to harm CCTV 's and CICC ' s brand and reputation,
   18   depriving them of customer goodwill. The harm associated with this injury to
   19   reputation and loss of customer goodwill is difficult to quantify.
   20
                I declare under penalty of perjury under the laws of the United States of
   21
        America that the foregoing is true and correct.
   22
   23
        Executed this      _d_ day of February, 2015.
   24

   25
                                                      ~~       Chunguang Lu
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                    DECLARATION OF CHRISTOPHER WEIL
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  1                            DECLARATION OF CHRISTOPHER WEIL
  2   I, Christopher Weil, declare as follows:
  3             1.     I am a licensed private investigator and partner/shareholder of Mintz
  4   Group LLC (“Mintz”), a corporate research and investigations firm headquartered in
  5   New York, with offices located in Washington D.C., London, Hong Kong, Beijing,
  6   Nairobi, and six other cities throughout the world. I have been employed by Mintz
  7   since July 1999. I have worked as a corporate investigator for more than 16 years.
  8   During my career I have been involved in, and have overseen, hundreds of
  9   investigations involving intellectual property infringement, cybercrime, Internet
 10   forensics, and other matters. I make this declaration in support of Plaintiffs’ motion
 11   for default judgment. I have personal knowledge of the facts contained herein, and, if
 12   called upon as a witness, I could and would testify competently about these facts,
 13   except for those matters stated expressly upon information and belief, which matters
 14   I believe to be true.
 15           2.       Mintz was retained in 2014 by Plaintiffs China Central Television
 16   (“CCTV”), China International Communications Co., Ltd. (“CICC”), TVB Holdings
 17   (USA), Inc. (“TVB (USA)”) and DISH Network L.L.C. (“DISH”) (collectively
 18   “Plaintiffs”) to investigate the TVpad device.
 19           3.       I am and have been the lead investigator for Plaintiffs’ investigation of
 20   the TVpad since Mintz was retained. In my work on this matter, I managed all
 21   aspects of the investigation, including directing our investigators’ research, forensic
 22   examination, contact with targets, and other activities undertaken in furtherance of
 23   the investigation. As the lead investigator, I have reviewed all of the records
 24   generated by Mintz’s research, have had detailed discussions with the investigators
 25   on the direction, progress, and results of our investigation, and have personally
 26   viewed the TVpad devices we have acquired through our investigation, as well as the
 27   streamed content delivered by those devices.
 28

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  1                       CNT’s TVpad Marketing Focus on Overseas Chinese
  2           4.       As part of Mintz’s investigation on behalf of Plaintiffs, Mintz has
  3   investigated the manufacturer of the TVpad, Defendant Create New Technology
  4   (HK) Ltd. (“CNT”). To do this, we investigated how the TVpad Store on the TVpad
  5   device operates, and reviewed CNT’s advertising, promotional, and customer support
  6   materials.
  7           5.       Mintz’s investigation shows that on their websites, fan forum and
  8   Facebook page, CNT has marketed the TVpad device overwhelmingly to overseas
  9   Chinese (i.e., Chinese-speaking consumers residing in countries other than China).
 10           6.       For example, CNT operates a website at itvpad.com that advertises and
 11   offers for sale the TVpad device. The website contains both Chinese- and English-
 12   language webpages. In February 2015, the English-language “About Us” webpage
 13   for CNT stated: “We hope that we can, through unremitting efforts, safely send our
 14   TVpad products to thousands of overseas Chinese without delay.” Attached hereto
 15   as Exhibit 45 is a true and correct copy of a printout of the English-language “About
 16   Us” webpage from iTVpad.com, which printout I personally confirmed accurately
 17   reflected the contents of that webpage on February 2, 2015.
 18           7.       CNT recently changed its official website from itvpad.com to
 19   mtvpad.com in or around June 2015. CNT mirrored much of the itvpad.com content
 20   to the mtvpad.com site. The “About Us” page on the mtvpad.com website is slightly
 21   different from the content I observed in February. Now, in addition to the statement
 22   above, that page also reads:
 23                    Brand Introduction:
 24                    TVpad, the best Chinese TV box, specializes in providing
 25                    stable, smooth and HD Chinese contents to overseas
 26                    Chinese. So far, TVpad has served more than 200 countries
 27                    and regions with high quality Chinese contents.
 28

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  1   Attached hereto as Exhibit 46 is a true and correct copy of a printout of the English-
  2   language “About Us” webpage from mtvpad.com, which printout I personally
  3   confirmed accurately reflects the contents of that webpage on September 11, 2015.
  4           8.       On December 1, 2014, when CNT announced on its website the release
  5   of the TVpad4, its English-language announcement promoted the new model by
  6   touting the availability of Chinese language programming on the new model. The
  7   website stated:
  8                    GCN edition packs massive contents from mainland China,
  9                    Taiwan and HK.
 10                    Exclusive mandarin and Cantonese contents and massive
 11                    third party apps.
 12                    Over 10 live channels and 10 thousands of hit VODS, films
 13                    and entertainments.
 14                    ***
 15                    Best Streaming Player for Overseas Chinese
 16   Attached hereto as Exhibit 47 are true and correct copies of printouts of relevant
 17   webpages from itvpad.com announcing the release of the TVpad4 and discussing the
 18   GCN edition’s focus on Chinese language users, which printouts I personally
 19   confirmed accurately reflected the contents of those webpages on February 6, 2015.
 20           9.       CNT’s website blog also extensively promotes the TVpad device as a
 21   device that provides overseas Chinese consumers with access to Chinese-language
 22   TV programs from China. For example, in an undated blog post entitled “Tons of
 23   Apps in TVpad, which app is designed for you?”, CNT recommends a variety of
 24   Infringing TVpad Apps by touting the availability of Chinese language television to
 25   Chinese users:
 26                    LIVE TV
 27                    516 [an Infringing TVpad App]: is a live Chinese TV app,
 28                    and you can watch live channels or local TV from Taiwan

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  1                    BETV [an Infringing TVpad App]: is a live app for
  2                    providing local TV channels of mainland china ,which
  3                    covers abundant TV resources including financial news,
  4                    entertainment gossip, local TV and sports, and more.
  5                    粤海宽频[Yue Hai Kuan Pin]APP [an Infringing TVpad
  6                    App] provides you some characteristic live tv programs
  7                    such as TVB drama, contonese [sic] songs and Hongkong-
  8                    made films, and more.
  9   The infringing 516 apps streams both TVB and CCTV programs; the infringing
 10   BETV apps stream CCTV programs; and the infringing Yue Hai apps stream TVB
 11   programming. Attached hereto as Exhibit 48 are true and correct copies of printouts
 12   of CNT’s “Tons of Apps” blog post from both the itvpad.com and mtvpad.com
 13   websites, which I confirmed accurately reflect the contents of this blog post on
 14   September 11, 2015.
 15           10.      A blog post by CNT on December 23, 2014 announcing the TVpad4
 16   specifically touted the availability of hundreds of channels from China, Hong Kong
 17   and Taiwan, including specifically TVB content, stating:
 18                    Most streaming players do not support live channels or may
 19                    charge relative fees, but TVpad4 provides us with over 300
 20                    channels from mainland China and more than 40 live TV
 21                    channels from HK andTaiwan [sic] (TVB also included) for
 22                    free!
 23   Attached hereto as Exhibit 49 is a true and correct copy of printouts of CNT’s
 24   December 23, 2014 blog post from the itvpad.com and mtvpad.com websites, which
 25   I confirmed accurately reflects the contents of this blog post on September 11, 2015.
 26           11.        In another blog post in which CNT instructs customers how to
 27   download and install the Infringing TVpad App BETVII from the TVpad Store and
 28   how to select infringing television broadcasts, CNT states:

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  1                    BETV is an exclusively designed [sic] for overseas Chinese
  2                    to provide local Chinese TV programming application. A
  3                    new replay function for BETV added into TVpad2 with
  4                    brand new user interface.
  5                    By this new function, users can reply [sic] 32+ Chinese
  6                    (mainland) live channels of BETV at anywhere and
  7                    anytime to solve time shift issue.
  8   Attached hereto as Exhibit 50 are true and correct printouts of CNT’s instructional
  9   blog post from both the itvpad.com and mtvpad.com websites, which I confirmed
 10   accurately reflect the contents of this blog post on September 11, 2015.
 11           12.        CNT also operates the “TVpad” Facebook page at
 12   https://www.facebook.com/mytvpad, and provides links to that Facebook page on the
 13   English- and Chinese-language homepages of mtvpad.com. CNT’s Facebook
 14   “About” page states:
 15                    Let all Chinese people around the world exclusive stream
 16                    on Chinese TV & VOD without monthly fees because of
 17                    TVpad
 18                    http://www.mtvpad.com/
 19   Attached hereto as Exhibit 51 are true and correct copies of printouts from the
 20   TVpad Facebook pages titled “Timeline” and “About”, which I confirmed on
 21   September 11, 2015 accurately reflect CNT’s Facebook pages on those dates.
 22           13.      In order to investigate CNT’s marketing and advertising of the TVpad
 23   device on its Facebook page, I worked with a Mintz investigator fluent in Chinese to
 24   determine what CNT and its users were saying about the device. Based on that
 25   review, I have determined that the vast majority of posts by CNT and its users on its
 26   Facebook page are in the Chinese language. A representative post by TVpad in
 27   Chinese in August 2013, solicits ideas and suggestions from TVpad users about new
 28   apps and channels to make available to “allow overseas TVpad users to enjoy better

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  1   Chinese TV services....” Users respond, again in Chinese, about the content they
  2   would like to see added. Attached hereto as Exhibit 52 are true and correct copies of
  3   printouts of representative posts from the TVpad Facebook page, which printouts I
  4   personally confirmed with the assistance of a Mintz investigator fluent in Chinese
  5   accurately reflect the contents of those webpages on February 2, 2015, and certified
  6   translations from Chinese to English of those printouts.
  7           14.      Similarly, CNT’s official fan forum is also in Chinese. On its website,
  8   CNT describes TVpad Fans as an “official platform”, and provides links to the fan
  9   forum on its itvpad.com and mtvpad.com websites. See Exhibit 45, at 1. With the
 10   assistance of a Mintz investigator fluent in Chinese, I have reviewed the TVpad Fans
 11   forum. The TVpad Fans forum hosts discussion threads on everything from technical
 12   support for the TVpad device to discussions about the infringing television
 13   programming available on the TVpad. By far, the vast majority of these posts are by
 14   Chinese speakers. Attached hereto as Exhibit 53 are true and correct copies of
 15   printouts of representative examples of these forum post webpages, which printouts I
 16   personally confirmed with the assistance of a Mintz investigator fluent in Chinese
 17   accurately reflect the contents of those webpages on February 3, 2015, along with
 18   certified translations of those printouts.
 19           15.      Not only does CNT market the TVpad device to overseas Chinese, but it
 20   does so while also touting the TVpad device as a method to avoid having to pay the
 21   cost of monthly subscription fees from authorized providers of TVB or CCTV
 22   content, such as through Plaintiff DISH. For example, in a post on the CNT fan
 23   forum dated July 22, 2015, a customer states that “Admin recommended that I write
 24   a review to compare how the old and new [TVpad] models differ.” The customer
 25   goes on to state in the review:
 26                    About 4-5 years ago, I bought the first generation TvPad.
 27                    At the time, I bought it because TvPad was the only thing I
 28                    could use to watch live broadcasts of Hong Kong programs

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  1                    without paying a monthly fee. Before buying TvPad, I paid
  2                    a monthly fee of $39.99 (US dollars, same for the rest of
  3                    the post) to watch Hong Kong Jade Channel.
  4   At the conclusion of a lengthy review of the device, the customer goes on to
  5   recommend the TVpad device. The administrator for the blog then added this thread
  6   to its list of best posts on July 23, 2015. A true and correct copy of this post printed
  7   on July 31, 2015, and which I confirmed accurately reflects the contents of this
  8   website on September 11, 2015, is attached hereto as Exhibit 54, along with a
  9   certified translation to English.
 10           16.      Having investigated CNT’s marketing and advertising of the TVpad for
 11   over a year now, I can confirm that the dominant focus of CNT’s advertising
 12   promoting the TVpad device is to Chinese speakers living outside China, using
 13   Plaintiffs’ television programs in particular to drive sales.
 14                              CNT’s Retail Pricing of the TVpad Device
 15           17.      Also as part of Mintz’s investigation on behalf of Plaintiffs, Mintz has
 16   made purchases of TVpad devices from CNT’s official TVpad store, and from other
 17   resellers. We have also monitored pricing details from time to time on CNT’s online
 18   store for the TVpad. I therefore have familiarity with the retail pricing of the TVpad
 19   device by CNT and its authorized resellers.
 20           18.      On December 5, 2014, Lily Lau, a Mintz investigator, purchased a
 21   TVpad4 device at my direction from CNT’s website located at itvpad.com. Mintz
 22   paid $279 for that device. True and correct copies of the transaction emails and
 23   payment confirmation are attached hereto as Exhibit 55, with details concerning
 24   Mintz’s confidential address and mobile phone information redacted for privacy and
 25   confidentiality.
 26           19.      In February 2015, CNT was offering the TVpad for sale to consumers
 27   on its itvpad.com website for prices ranging from $199 to $299, depending on the
 28   particular TVpad “edition” being sold. Attached hereto as Exhibit 56 is a true and

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  1   correct copy of a printout of the “Store” webpage from itvpad.com, which printout I
  2   personally confirmed accurately reflected the contents of that webpage on February
  3   2, 2015.
  4           20.      The TVpad edition that CNT was selling at a retail price of $199 makes
  5   available only apps that stream Mandarin-language television and is “tailored for
  6   mandarin-speaking overseas Chinese.” The TVpad edition that CNT sells for $299
  7   offers apps that stream television programming from Hong Kong, mainland China,
  8   and Taiwan. Attached hereto as Exhibit 57 are true and correct copies of printouts of
  9   the relevant webpages from ivpad.com in February 2015 describing these TVpad
 10   editions, which printouts I personally confirmed accurately reflected the contents of
 11   those webpages on February 5, 2015.
 12           21.        Currently, CNT no longer offers different models of TVpad4 devices
 13   on its mtvpad.com website. CNT only offers the TVpad4 device, for a retail price of
 14   $299 per device. Notably, CNT also claims to have sold over 10.8 million TVpad
 15   devices on its website. Attached hereto as Exhibit 58 is a true and correct copy of
 16   printouts from CNT’s mtvpad.com website, including from the “TVpad4” webpage,
 17   as well as the retail listing for the device after selecting “buy now.” I personally
 18   confirmed these printouts accurately reflect the contents of these webpages on
 19   September 11, 2015.
 20           22.      Occasionally, CNT offers the TVpad4 at special pricing, including most
 21   recently, with a $50 discount. For example, as part of Mintz’s continuing
 22   investigation on behalf of Plaintiffs, on July 23, 2015, I directed Clara Ho, a licensed
 23   investigator in my San Francisco office who is also a Cantonese speaker, to purchase
 24   a TVpad4 device from CNT’s mtvpad.com website. On July 28, 2015, Ms. Ho
 25   accessed the mtvpad.com website and placed an order for a TVpad4. The price for
 26   the TVpad device was $249. True and correct copies of the transaction emails and
 27   payment confirmation are attached hereto as Exhibit 59, with details concerning
 28

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  1   Mintz’s confidential address and mobile phone information redacted for privacy and
  2   confidentiality.
  3           23.      On October 26, 2014, Lily Lau, also under my direction, purchased a
  4   TVpad device from defendant Club TVpad, one of CNT’s authorized retailers, on its
  5   clubtvpad.com website for a total cost of $238.71. A true and correct copy of the
  6   confirmation email Ms. Lau received is attached hereto as Exhibit 60, with the street
  7   address and telephone number Mintz used for this investigation redacted because the
  8   redacted information reflects confidential and proprietary business information.
  9           24.      Ms. Lau also made additional purchases of TVpad devices from
 10   defendant Asha Media on June 2, 2014, for $239, and again on October 17, 2014, for
 11   $239. True and correct copies of the confirming emails for those transactions, which
 12   Ms. Lau received and provided to me, are attached hereto as Exhibit 61.
 13           25.      In summary, Mintz has purchased TVpad devices from CNT and TVpad
 14 resellers for the following amounts, with an average cost of $249 per TVpad:
 15 Defendant (and website)       Date Purchased               Cost

 16 CNT (itvpad.com)              December 5, 2014             $279.00
 17   CNT (mtvpad.com)                  July 28, 2015                $249.00
 18   Asha Media (tvpad.com)            June 2, 2014                 $239.00
 19                                     October 17, 2014             $239.00
 20   Club TVpad                        October 26, 2014             $238.71
      (clubtvpad.com)
 21
      Average Cost Per Unit:                                         $249
 22

 23                          The Scope of CNT’s Sales Into the United States
 24           26.      As part of Mintz’s investigation on behalf of Plaintiffs, I also have
 25   reviewed and analyzed available public records to determine the scope of CNT’s
 26   sales of TVpad devices to the United States.
 27           27.      According to records filed by CNT with the United States Patent &
 28   Trademark Office (“USPTO”), CNT registered a United States trademark for

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  1   TVPAD in International Class 9 for set-top boxes and other audio-visual goods and
  2   services, claiming a date of first use in commerce in the United States of June 21,
  3   2011. CNT also filed an Opposition before the United States Trademark Trial &
  4   Appeal Board (“TTAB”) against a New Jersey company that attempted to register the
  5   mark TVPAD. In that proceeding, CNT claimed that “Since at least as early as
  6   October of 2011, Opposer has sold or distributed ‘set-top boxes, computer terminals,
  7   monitors, electronic pads, computer hardware and computer peripherals’ … under
  8   the mark TVPAD … in the United States.” In summary, CNT has been selling
  9   TVpads to the United States for approximately four years according to its own
 10   statements in publicly filed documents before the USPTO and TTAB. True and
 11   correct copies of printouts of select CNT filings with the USPTO and TTAB,
 12   referenced above, are attached hereto as Exhibit 62, which printouts I have
 13   personally confirmed accurately reflect records available on the USPTO website
 14   located at uspto.gov.
 15           28.      Mintz has also investigated available U.S. Customs records evidencing
 16   shipments of TVpad devices made by CNT to U.S. maritime ports of entry. These
 17   records are limited to only those products that are transported to the U.S. through
 18   ships, and do not include any airfreight shipments of TVpad devices, and thus do not
 19   reflect the full scope of TVpad shipments CNT has made to the United States. Those
 20   available U.S. Customs records show that, from December 2013 and to March 2015,
 21   CNT repeatedly shipped TVpad devices to a company known as YTC Summit
 22   International Inc. (“YTC Summit”), located in Arcadia, California in the Central
 23   District of California. According to customs abstracts obtained from Datamyne, a
 24   provider of trade data information, including data from U.S. Customs and Border
 25   Protection (“CBP”) bill of lading records, during this sixteen-month period, CNT
 26   made 13 shipments to YTC Summit containing a total of 1627 cartons of set-top box
 27   devices. In addition, Datamyne records show that CNT also shipped 41 additional
 28   cartons of set-top box devices to a company called MetroVista Inc. (“MetroVista”) in

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  1   Alhambra, California on December 23, 2011. A true and correct copy of a
  2   spreadsheet of Datamyne abstracts of U.S. CBP records showing all shipments by
  3   CNT to either YTC Summit or MetroVista through maritime ports of entry from
  4   December 2011 through March 2015 is attached hereto as Exhibit 63, which I
  5   personally generated using Datamyne’s online database and a query for “Create New
  6   Technology.”
  7           29.      According to the deposition testimony of YTC Summit’s President,
  8   Steven Chen (the relevant excerpt of which I have reviewed), each carton received by
  9   YTC Summit from CNT included 20 TVpad devices. Thus, the 1627 cartons that
 10   CNT shipped to YTC Summit from December 2013 to March 2015 contained a total
 11   of 32,540 TVpad devices, while the shipment of 41 cartons to MetroVista in
 12   December 2011 contained 820 TVpad devices. Total shipments therefore equal
 13   33,340 TVpad devices (i.e., 1,667 cartons, at 20 TVpads per carton, totals 33,340
 14   TVpads). This total by no means includes all shipments of TVpads made by CNT to
 15   YTC Summit or MetroVista during this time period, because the data we have is
 16   limited only to shipments transported through maritime channels, and excludes other
 17   forms of transportation such as air freight.
 18           30.      Additionally, U.S. consumers can directly purchase TVpad devices from
 19   CNT through CNT’s website located at mtvpad.com (and, up until June 2015,
 20   consumers could purchase TVpad devices directly from CNT through CNT’s website
 21   located at itvpad.com). As detailed above, Mintz’s own investigators have purchased
 22   TVpad devices through CNT’s websites, including as recently as July 2015, which
 23   were shipped to Mintz drop box addresses in California as recently as August 2015.
 24   The waybills for these devices show that they were shipped directly to the United
 25   States from Shenzhen, China and Hong Kong. True and correct copies of the
 26   photographs of the DHL waybills that accompanied these TVpad devices are
 27   ///
 28

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                     DECLARATION OF NICHOLAS BRAAK
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  1                              DECLARATION OF NICHOLAS BRAAK
  2           I, Nicholas Braak, declare as follows:
  3           1.       I am a licensed private investigator, and have worked as a computer
  4   forensics investigator for more than nine years. I am employed by the Mintz Group
  5   LLC (“Mintz”), a corporate research and investigations firm based in New York,
  6   with offices in Washington D.C., London, Hong Kong, Beijing, Nairobi, and six
  7   other cities throughout the world. I have worked for Mintz since January 2014.
  8   During my career in information security and digital forensics, I have participated in
  9   hundreds of investigations involving intellectual property rights, cybercrime, Internet
 10   forensics, and other matters. I make this declaration in support of Plaintiffs’ motion
 11   for default judgment. I have personal knowledge of the facts contained herein and, if
 12   called upon as a witness, I could and would testify competently about these facts,
 13   except for those matters stated expressly upon information and belief, which matters
 14   I believe to be true.
 15           2.       Mintz was retained in 2014 by Plaintiffs China Central Television
 16   (“CCTV”), China International Communications Co., Ltd. (“CICC”), TVB Holdings
 17   (USA), Inc. (“TVB (USA)”) and DISH Network L.L.C. (“DISH”) (collectively
 18   “Plaintiffs”) to investigate the TVpad device and the unlicensed international
 19   television programming accessible to U.S. consumers through the TVpad device (the
 20   “TVpad Service”).
 21           3.       I managed the forensic investigation for this matter and conducted
 22   research at the direction of Christopher Weil, the lead investigator. During the course
 23   of this investigation, Mintz purchased several TVpad3 and TVpad4 devices.
 24   I personally forensically tested each of these TVpad devices and confirmed their
 25   consistent functionality among TVpads of the same model. I also personally viewed
 26   and caused to be recorded streamed content delivered by these devices and
 27   periodically monitored continued availability of that streamed content through these
 28   devices and the TVpad Service.

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  1                                   The Infringing TVpad Applications
  2           4.       Through our initial investigation of the TVpad device, Mintz identified
  3   15 TVpad applications (“apps”) that users can download from the TVpad Store on
  4   either a TVpad3 or TVpad4 device that stream CCTV and TVB copyrighted
  5   television programming to users of the TVpad (the “Infringing TVpad Apps”). Each
  6   of the Infringing TVpad Apps streams CCTV and /or TVB programs to users via one
  7   or more of the following streaming modes: “live” streaming, “time-shifted”
  8   streaming, and two forms of “video-on-demand” streaming. These 15 Infringing
  9   TVpad Apps are identified in the chart below.
 10
                                                TVpad3                           TVpad4
 11

 12     Infringing TVpad App             Plaintiffs’ Programming        Plaintiffs’ Programming
               and icon                          and Mode                       and Mode
 13

 14            BETV PLUS                                             CCTV 1 (live & replay live),
                                                                     CCTV 2 (live), CCTV 3 (live &
 15                                                                  replay live), CCTV 4 (live &
                                                                     replay live), CCTV6 (live &
 16                                                                  replay live), CCTV 10 (live),
                                                                     CCTV 11 (live), CCTV12 (live),
 17                                                                  CCTV13 (live & replay live),
                                                                     CCTV14 (live & replay live)
 18

 19             BETV_HD                CCTV 1 HD (live), CCTV 5 HD
                                       (live)
 20

 21

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  1
                                                TVpad3                           TVpad4
  2

  3     Infringing TVpad App             Plaintiffs’ Programming        Plaintiffs’ Programming
               and icon                          and Mode                       and Mode
  4

  5               BETV II             CCTV 1 (live & replay live),
                                      CCTV 2 (live), CCTV 3 (live &
  6                                   replay live), CCTV 4 (live &
                                      replay live), CCTV 5 (live &
  7                                   replay live), CCTV 5+ (live),
                                      CCTV6 (live & replay live),
  8                                   CCTV 10 (live), CCTV 11
                                      (live), CCTV12 (live), CCTV13
  9                                   (live & replay live), CCTV14
                                      (live & replay live), CCTV风云
 10                                   足球（CCTV fengyun soccer)
                                      (live)
 11

 12                BETV               CCTV 1, CCTV 2, CCTV 3,
                                      CCTV 4, CCTV 5+, CCTV6,
 13                                   CCTV 10, CCTV 11, CCTV12,
                                      CCTV13, CCTV14, CCTV风云
 14                                   足球（CCTV fengyun soccer)
                                      (all live)
 15

 16
                粵海時移                  JADE HD, JADE (both time-       JADE HD, JADE (both time-
 17          (Yue Hai Shi Yi)         shifted by 12 hours)            shifted by 12 hours)
 18

 19

 20

 21
               粵海寬頻                   JADE HD, J2, JADE, PEARL,
 22        (Yue Hai Kuan Pin)         iNews (all live)
 23

 24

 25

 26

 27

 28

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  1
                                                 TVpad3                             TVpad4
  2

  3     Infringing TVpad App             Plaintiffs’ Programming           Plaintiffs’ Programming
               and icon                          and Mode                          and Mode
  4

  5            粵海寬頻2                  JADE HD (live), JADE (live),
          (Yue Hai Kuan Pin 2)        J2 (live and replay live) PEARL
  6                                   (live), iNews (live)
  7

  8

  9

 10          港粤網絡電視                   JADE HD (live), JADE (live),      JADE HD (live), JADE (live),
          (Gang Yue Wang Luo          J2 (live and replay live) PEARL   J2 (live and replay live) PEARL
 11            Dian Shi)              (live), iNews (live)              (live), iNews (live)

 12                                   TVB programs on demand            TVB programs on demand

 13

 14

 15
               粵海直播                   iNews, J2, PEARL, JADE,
 16         (Yue Hai Zhi Bo)          JADE HD (all live)

 17

 18

 19

 20
                   516TV              TVBS (live)
 21

 22

 23

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  1
                                                TVpad3                        TVpad4
  2

  3     Infringing TVpad App             Plaintiffs’ Programming      Plaintiffs’ Programming
               and icon                          and Mode                     and Mode
  4

  5            516網路電視                CCTV4 (live)                 CCTV4 (live)
             (516 Online TV)
  6                                   TVBS (live)                  TVBS (live)
  7                                                                TVBS News (live)
  8

  9

 10                HITV               JADE HD, J2, JADE, PEARL,
                                      iNews (all live)
 11

 12

 13

 14             体育online              CCTV 1, CCTV 5, CCTV 5+,     CCTV 5, CCTV 5+, CCTV风云
              (Sport Online)          CCTV风云足球（CCTV                足球 (CCTV fengyun soccer),
 15                                   fengyun soccer) (all live)   CCTV 高尔夫. 网球 (CCTV
                                                                   Golf/ Tennis) (all live)
 16

 17

 18

 19            港粵快看                   TVB programs on demand
          (Gang Yue Kuai Kan)
 20

 21

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  1
                                               TVpad3                          TVpad4
  2

  3     Infringing TVpad App            Plaintiffs’ Programming        Plaintiffs’ Programming
               and icon                         and Mode                       and Mode
  4

  5     港台武俠(Gang Tai Wu              TVB programs on demand        TVB programs on demand
            Xia)
  6

  7

  8

  9

 10           5.       From on or about April 24, 2014 until September 11, 2015, I tested and
 11   periodically monitored the TVpad3 and TVpad4 devices that Mintz purchased as part
 12   of its investigation. During that time period, I confirmed that 14 of the 15 Infringing
 13   TVpad Apps identified above continue to be available for download from the TVpad
 14   store on either the TVpad3 or TVpad4 devices I tested. The only changes that have
 15   occurred are that the Gang Yue Wang Luo Dian Shi and Yue Hai Zhi Bo apps are no
 16   longer available for download from the TVpad Store on the TVpad3 device.
 17   However, the Gang Yue Wang Luo Dian Shi app can still be downloaded from the
 18   TVpad Store on TVpad4 devices. In addition, on the TVpad3 devices that Mintz
 19   previously purchased and through which Mintz had already downloaded copies of the
 20   Yue Hai Zhi Bo app, that app still functions and continues to stream TVB content.
 21           6.       In summary, all 15 Infringing TVpad Apps continue to stream CCTV
 22   and TVB programming on at least one of the TVpad models, including in some or all
 23   of the following four modes:
 24                    • live television programming as it is broadcast, subject to a minor
 25                         delay due to the video capture and streaming process (“Live TV
 26                         Mode”);
 27                    • time-delayed live television programming, such that programming is
 28                         streamed around the same time of day in the U.S. as it originally
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  1                         aired in China, depending on respective time zones (“Time-Shifted
  2                         Mode”);
  3                    • specific recorded programming chosen through a menu system, often
  4                         known as video-on-demand (“VOD Mode”); and
  5                    • specific recorded programming chosen through a menu system for a
  6                         specific time frame, such as the last three days (“Replay Live
  7                         Mode”).
  8          The Infringing TVpad Apps Continue to Operate In the Same Manner
  9           7.       All of the TVpad devices that I have tested continue to function in the
 10   modes identified above in the same manner that they have since the outset of our
 11   investigation. For example, once the TVpad has been connected to the Internet, but
 12   before the user performs any actions with the device, the device automatically
 13   performs Internet domain name server (DNS) lookups of the same four domain
 14   names each time, to locate one or more servers with which it needs to communicate
 15   in order to properly authenticate itself as a valid TVpad. The TVpad device then
 16   contacts the identified servers and authenticates itself by sending unique identifying
 17   information to that server.
 18           8.       The live television video data streamed through Infringing TVpad Apps
 19   in Live TV Mode continues to be delivered to TVpad users through a peer-to-peer
 20   network on the TVpad3 and TVpad4 devices in the same manner as I detailed at the
 21   outset of this litigation in my declaration dated March 6, 2015 at Paragraphs 53
 22   through 56. In other words, TVpad users who use Infringing TVpad Apps to watch
 23   live CCTV and TVB programming not only receive that programming, but continue
 24   to simultaneously retransmit that programming to large numbers of other TVpad
 25   users in the United States and elsewhere.
 26           9.       The Infringing TVpad Apps in Live TV Mode also continue to connect
 27   to a set of leased commercial servers that the apps treat as peers. These servers also
 28   stream content to the TVpad devices, I believe to add stability to the peer-to-peer

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  1   network, particularly when an insufficient number of TVpad devices are online and
  2   available to stream as “peers.” Just as before, since entry of the preliminary
  3   injunction and subsequent to the filing of Plaintiffs’ motion for contempt, a number
  4   of these servers continue to be located in the United States, including in Los Angeles,
  5   California.
  6           10.      The Infringing TVpad Apps that offer VOD Mode and Replay Live
  7   Modes continue to allow TVpad users to select an available television program (such
  8   as a specific episode from a CCTV or TVB television series) to view “on demand”—
  9   that is, commencing from the beginning of the program and playing the program
 10   whenever the user chooses. Infringing TVpad Apps in VOD Mode and Replay Live
 11   Mode continue to receive video streams from servers in the U.S., including in Los
 12   Angeles, California.
 13           11.      The Infringing TVpad Apps that offer Time-Shifted Mode continue to
 14   stream video content by means of a combination of peer-to-peer streaming and direct
 15   streaming, while at other times, they stream video content exclusively through direct
 16   streaming from servers. Time-Shifted direct streams of television programming come
 17   from servers in California. Unlike previously, I have not observed Time-Shifted
 18   direct streams of television programming from servers in China.
 19                   Volume of Live CCTV and TVB Television Programming
                               Streamed by Infringing TVpad Apps
 20

 21           12.      The live television programming streamed through Infringing TVpad
 22   Apps in Live TV Mode is delivered continuously, around the clock, every day of the
 23   week, with the exception of occasional outages for maintenance or technical
 24   problems. Including channels carried by more than one Infringing TVpad App, as
 25   shown in the chart above, the Infringing TVpad Apps in Live TV Mode carry 71
 26   continuously-streaming CCTV and TVB live television channels. Following the
 27   initial forensic testing I conducted in April 2014, I have periodically monitored live
 28   television streaming through the Infringing TVpad Apps in Live TV Mode since

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  1   April 24, 2014 to the present day, at least twice each month. During this monitoring
  2   period, the Infringing TVpad Apps in Live TV Mode have streamed approximately
  3   860,520 hours of live CCTV and TVB programming without authorization,
  4   excepting any sporadic outages.
  5           13.      The Infringing TVpad App in Time-Shifted Mode similarly delivers
  6   time-delayed television programming on a continuous basis. The Infringing TVpad
  7   App in Time-Shifted Mode carries two continuously-streaming TVB time-shifted
  8   television channels. Following the initial forensic testing I conducted in April 2014, I
  9   have periodically monitored time-shifted television streaming through the Infringing
 10   TVpad App in Time-Shifted Mode since April 24, 2014 to the present day, at least
 11   twice each month. During this monitoring period, the Infringing TVpad App in
 12   Time-Shifted Mode has streamed approximately 24,240 hours of TVB programming
 13   without authorization, excepting any sporadic outages.
 14           14.      Thus, during the period of my regular monitoring of the Infringing
 15   TVpad Apps since April, 24 2014, the Infringing TVpad Apps in Live TV Mode and
 16   Time-Shifted Mode have streamed an approximate total of 884,760 hours of CCTV
 17   and TVB programming without authorization. Given CNT’s claim to have been
 18   selling TVpads since June 2011, discussed in paragraph 27 of the declaration of my
 19   colleague Christopher Weil dated September 11, 2015, this leaves three additional
 20   years of TVpad availability unaccounted for. If a similar volume of content has been
 21   streamed over the TVpad since its inception, many hundreds of thousands of hours of
 22   CCTV and TVB programming have been streamed through the TVpad device
 23   without authorization since 2011.
 24   ///
 25   ///
 26

 27

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  1                                   Means of Disabling The TVpad Service
  2           15.      As part of my forensic investigation, I have identified the IP addresses
  3   and domain names that the TVpad device and its Infringing TVpad Apps use to
  4   function and deliver CCTV and TVB programming.
  5           16.      The servers located at these IP addresses and/or associated with these
  6   domain names communicate with the TVpad device and the TVpad Infringing Apps
  7   to: (1) authenticate the TVpad device as an authentic TVpad device originating with
  8   CNT, which is a necessary precursor for the Infringing TVpad Apps to function; (2)
  9   download to the TVpad device the elements of the software it uses, including the
 10   “TVpad Store”—from which TVpad Infringing Apps and other apps are made
 11   available to users—and the TVpad Infringing Apps; (3) download Infringing TVpad
 12   Apps; and (4) stream CCTV and TVB programming. A table containing the IP
 13   addresses and/or domain names of servers with which the TVpad device and TVpad
 14   Infringing Apps communicate for these purposes is attached hereto as Exhibit 65.
 15           17.      Based on my experience, this Court may most effectively stop the
 16   unauthorized streaming of CCTV and TVB television programming through the
 17   Infringing TVpad Apps by taking two steps: (1) ordering domain name registries
 18   and/or registrars that control the domain names used by Defendants to operate the
 19   TVpad Service and illegally stream Plaintiffs’ programs to disable those domain
 20   names; and (2) ordering Internet service providers to cease hosting content associated
 21   with the IP addresses of the servers used by Defendants to operate the TVpad Service
 22   ///
 23   ///
 24

 25

 26

 27

 28

                                                     10                      DAVIS WRIGHT TREMAINE LLP
                                                                                865 S. FIGUEROA ST, SUITE 2400
      DECLARATION OF NICHOLAS BRAAK                                          LOS ANGELES, CALIFORNIA 90017-2566
                                                                                          (213) 633-6800
      DWT 27757176v7 0094038-000021                                                     Fax: (213) 633-6899
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 95 of 428 Page ID
                                 #:3706
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                                                                   EXHIBIT 1
 Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 98 of 428 Page ID
                                  #:3709
                               TRANSLATION CERTIFICATION


    County of New York
    State of New York

    Date: September 10, 2015


    To whom it may concern:

    This is to certify that the attached translation from Chinese into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:
        Exhibit 1

    Jamie Sirota, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




WI‐44, 6/25/2015, Rev 0
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    Subject: FW: FW: You have successfully registered and have become a user of the Hua Yang International
    website, an authorized online distributor of TVPad




    Subject: FW: You have successfully registered and have become a user of the Hua Yang International web-
    site, an authorized online distributor of TVPad

    From: Hua Yang International’s official website [mailto: service@tvpad.hk]
    Sent: Thursday, May 24, 2012 2:23PM
    To: cloudcrown@hotmail.com
    Subject: You have successfully registered and have become a user of the Hua Yang International website,
    an authorized online distributor of TVPad

    Dear Luis,
    The following is the information about your registration on the Hua Yang International website, an author-
    ized online distributor of TVPad (http://www.tvpad.hk):
    Username: cloudcrown@hotmail.com
    Password:
    This is an automatic email. Please do not reply to it directly.
    If you have any question, please turn to the online customer service on the Hua Yang International website.
    Thanks.
    TVpad is the best choice for overseas Chinese to watch live Chinese TV!
    Customer Service Center of TVpad
    May 25, 2012 03:23:11

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                                                                       EXHIBIT 2
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                                  #:3713
                               TRANSLATION CERTIFICATION


    County of New York
    State of New York

    Date: September 10, 2015


    To whom it may concern:

    This is to certify that the attached translation from Chinese into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:
        Exhibit 2

    Jamie Sirota, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




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    Subject: FW: FW: Your application (on the TVPad promotion platform) has been approved




    Subject: FW: FW: Your application (on the TVPad promotion platform) has been approved

    From: CloudCrown Studio
    Sent: April 10, 2015 10:51
    To: support@newtvpad.com
    Subject: FW: Your application (on the TVPad promotion platform) has been approved

    From: Official website of Hua Yang International [mailto:market@tvpad.hk]
    Sent: Thursday, June 14, 2012 9:35PM
    To: cloudcrown@hotmail.com
    Subject: Your application (on the TVPad promotion platform) has been approved
    <div><div> Zhou Liangzhong: <div><div> Hi, your application for the secondary promoter (each
    promotion code corresponding to a secondary promoter account) has been approved. Information about the
    account and the promotion code is as follows: <div><div>
       Promotion code        Account of the secondary promoter (the same as the    Initial password of the
                                              promotion code)                               account




    </div><div> Login platform:                                                   ; promotion platform:
                                                     ; promotion center </div><div>; date: June 15, 2012
    </div></div>

                                                      1
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                                 EXHIBIT 3
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                                                                      EXHIBIT 3
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                                  #:3718
                               TRANSLATION CERTIFICATION


    County of New York
    State of New York

    Date: September 10, 2015


    To whom it may concern:

    This is to certify that the attached translation from Chinese into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:
        Exhibit 3

    Jamie Sirota, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




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                                  #:3719


                            CREATE NEW TECHNOLOGY (HK) LIMITED
                                     PURCHASE ORDER
    PO No.: SPOB20120814001             Currency: USD                                       Date: August 14, 2012

    Buyer:                                                    Supplier:
    Company Name: Luis Zhou from Dallas, the United           Company Name: Create New Technology (HK)
    States                                                    Limited
    Contact: Luis Zhou                                        Contact: Lily Zhou
    Tel:                                                      Tel: 0755-23805696
    Fax:                                                      Fax: 0755-82079384

     Item No.       Model No.       Language/Version         Quantity     Unit Price    Amount           Remark
                                                                                        (USD)
         1             TVpad        International ver-         50         USD 115      USD 5,750
                      M121S             sion/3.06v
         2          8G TF card                                 50           Free             Free
                      (empty)
         3             TVpad        International ver-          1           Free             Free
                      M121S             sion/3.06v
         4          8G TF card                                  1           Free             Free
                      (empty)
         5           WiFi card                                  3          Free          Free
         5          DHL/UPS                                     1         USD 378       USD 378
                       freight
         6         Bank Charge                                  1          USD 25       USD 25
         7        Advertisement                                            USD 0        USD 0
                  fund and other
                     amounts
                     (balance)
                                                 Total                                 USD 6,153

    Payment terms: FULL T/T                                   Total under the order:
                                                              USD six thousand one hundred and fifty-three only.
    Delivery time: Within two days after receiving the        Shipping way: DHL/UPS
    payment
    Delivery address: See the following remark for de-        Freight settlement: Advance
    tails
    Remarks:                                                  Bank Info:
    1. Delivery address: 7411 La Bolsa Dr., Dallas,           Account name: CREATE NEW TECHNOLOGY
          TX 75248                                            (HK) LIMITED (HKD/USD)
          Contact person: Liangzhong Zhou
          Tel: 972-352-3255                                   Opening bank: The Hong Kong and Shanghai
    2. Declaration name: Standard of the company              Banking Corporation Limited
          Declaration value: Standard of the company          Address of the opening bank: No. 1 Queen’s Road
    3. Whether to send color pages and posters: The           Central, Hong Kong
          latest version of posters, 2 copies of which re-    Account name: 819485723838
          spectively for the Chinese version and the Ko-      Bank code: 004
          rean version, and 200 copies of Chinese color       SWITF CODE: HSBCHKHHHKH
          pages.

    Buyer (Signature): ______________________            Supplier (Signature): ______________________
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                                                                        EXHIBIT 4
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                                 EXHIBIT 5
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                                                                        EXHIBIT 5
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                                  #:3731
                               TRANSLATION CERTIFICATION


    County of New York
    State of New York

    Date: September 10, 2015


    To whom it may concern:

    This is to certify that the attached translation from Chinese into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:
        Exhibit 5

    Jamie Sirota, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




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    >>> About the future of TVpad products

    Optimization items that have been put on the agenda:

    1.   The “time shifting” function can solve the problem where the target program cannot be watched live.
         The user can “replay” any live program of any live channel in the time shifting application.
         Expected time of realization: August 2012
         Expected hardware carrier: TVpad M121S
         Software version: 2.73
         Expected optimization result: Achieve replay (note: not a recorded broadcast technique)

    2.   Replace the CPU chip and increase the dominant frequency to 1.2G Hz, so as to solve the problem of
         slow switch between channels and enhance the decoding capability and speed
         Preset the browser implant function
         Chip mode: 8925
         Hardware carrier: TVpad 2
         Software version: 3.02
         Expected time of launch in the market: October

    3.   Optimize the WiFi card drive 3070 and solve the bugs in USB Host
         Expected time of release: At the end of July
         Hardware carrier: M121, M121S and subsequent versions
         Expected optimization result: The USD WiFi card of the designated model will be used then for
         connection, which will be the most stable way of Internet access.

    4.   Implant the “APP Shopping Mall” to be truly rid of the sensitive relationship between the box and the
         content. After the box is started up, the user will get this automatic reminder, “There is no application
         installed for the time being. Please go to the APP Shopping Mall to search for what you want among
         the huge number of third-party APPs, and download and install them.”
         Expected time of release: October
         Hardware carrier: TVpad 2
         Software version: 3.02
         Expected optimization result: It totally relies on the binding relationship between the product and the
         content, abandon the model of pre-installation of applications of TF cards, which can help avoid any
         problem arising therefrom for distributers/dealers. Then, Create New will invest a large fund for the
         promotion of the brand, and provide its marketing channels with marketing education.

    Planning for the release of the new product:
    1. Time of release for TVpad M121S: At the end of July
    2. Time of release for TVpad: October

    Furthermore, expect that audio and video applications are in planning, such as motion sensing games,
    Karaoke, VOIP, etc., no development milestones will be announced officially. Relevant issues will be
    announced but no commitment will be made for the specific launch time.
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                                 EXHIBIT 6
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                                                                     EXHIBIT 6
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                                  #:3735
                               TRANSLATION CERTIFICATION


    County of New York
    State of New York

    Date: September 10, 2015


    To whom it may concern:

    This is to certify that the attached translation from Chinese into English is an accurate
    representation of the documents received by this office.

    The documents are designated as:
        Exhibit 6

    Jamie Sirota, Project Manager in this company, attests to the following:

    “To the best of my knowledge, the aforementioned documents are a true, full and accurate
    translation of the specified documents.”




WI‐44, 6/25/2015, Rev 0
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    Subject: FW: Notice about the penalty on the sale of TVpad at a low price




    Subject: Fw: Notice about the penalty on the sale of TVpad at a low price

    From: market
    Sent: February 20, 2013 18:37
    To: tvpad-dallas; Luis
    Cc: Ge Meiqing; Zhang Liang; Zhou Li; Ren Taofeng
    Subject: Notice about the penalty on the sale of TVpad at a low price

    Dear partner,
    Hi, Mr. Zhou.

    Recently, we have received a lot of complaint letters about your sale of TVpad products at a low price. We
    have already communicated with you many times, but you fail to cooperate with us and improve your
    actions.
    The Marketing Department of Create New believes that, you have violated the channel policy of Create
    New, affected the market order of TVpad, and caused serious adverse impact on the healthy development of
    the market. Thus, the following penalty will be imposed on you as prescribed:

    Now as prescribed by the Channel Order and Online Price Management Measures and the Channel
    Terminal Price Management Regulations, the following ruling is hereby made:
    1. You are imposed with a fine of USD 1,000.00. If you fail to pay the fine, we will stop supplying
        products to you.
    2. You are required to rectify your prices on all online sales platforms and may not sell TVpad products
        by placing bids, making offers, opening boxes, free freight, etc.

    Note: Since 16:00, February 20, 2013, the 100 most recent TVpad products that you received have been
    blacklisted and will be unusable. If you fail to pay the fine of USD 1,000.00, we will stop supplying
    products to you.
    Please contact the regional director if you have any question.

    Regards.

    Marketing Center, Marketing Department
    CREATE NEW TECHNOLOGY (HK) LIMITED

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                                 EXHIBIT 7
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                                                                  EXHIBIT 7
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                                  #:3789




                                 EXHIBIT 8
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                                     125 Filed
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                                                                              Page  ID
                                                                                #:1902
                                   #:3790

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       ATTORNEYS FOR PLAINTIFFS
  11                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  12

  13   CHINA CENTRAL TELEVISION, a China ) Case No.
       company; CHINA INTERNATIONAL              ) CV 15-1869 MMM (AJWx)
  14   COMMUNICATIONS CO., LTD., a China )
       company; TVB HOLDINGS (USA), INC., a ) PROOF OF PERSONAL
  15   California corporation; and DISH          ) SERVICE OF SUMMONS AND
       NETWORK L.L.C., a Colorado corporation, ) COMPLAINT ON CREATE
  16                         Plaintiffs,         ) NEW TECHNOLOGY (HK)
              vs.                                ) LIMITED
  17   CREATE NEW TECHNOLOGY (HK)                )
       LIMITED, a Hong Kong company; HUA         )
  18   YANG INTERNATIONAL TECHNOLOGY ))
       LIMITED, a Hong Kong company;
  19   SHENZHEN GREATVISION NETWORK ))
       TECHNOLOGY CO. LTD., a China               Courtroom: 780
  20                                             )
       company; CLUB TVPAD, INC., a California )Judge: Hon. Margaret M. Morrow
       corporation; BENNETT WONG, an             )
  21   individual, ASHA MEDIA GROUP INC.
       d/b/a TVPAD.COM, a Florida corporation; ))
  22   AMIT BHALLA, an individual;
       NEWTVPAD LTD. COMPANY d/b/a               )
  23   NEWTVPAD.COM a/k/a TVPAD USA, a           )Action Filed: March 13, 2015
       Texas corporation; LIANGZHONG ZHOU, ))Trial Date:
  24   an individual; HONGHUI CHEN d/b/a E-
       DIGITAL, an individual; JOHN DOE 1 d/b/a ))
  25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
       DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
  26   JOHN DOE 5 d/b/a GANG YUE; JOHN
       DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 ))
  27   d/b/a GANG TAI WU XIA; and JOHN DOES)
       8-10,                                     )
  28                             Defendants.

       PROOF OF SERVICE OF SUMMONS AND COMPLAINT
       DWT 26499375v1 0094038-000021                                            EXHIBIT 8
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                                                                         428 ID
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                                                                                #:1903
                                   #:3791
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
                            Document 38
                                     125 Filed
                                           Filed03/24/15
                                                 09/14/15 Page
                                                           Page3 181
                                                                 of 4 ofPage
                                                                         428 ID
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                                                                                #:1904
                                   #:3792
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
                            Document 38
                                     125 Filed
                                           Filed03/24/15
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                                                           Page4 182
                                                                 of 4 ofPage
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                                                                                #:1905
                                   #:3793
CM/ECF - California Central District                                              Page 1 of 1
      Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 183 of 428 Page ID
Service/Waivers of Summons and              Complaints :
                                        #:3794
2:15-cv-01869-MMM-AJW China Central Television et al v. Create New Technology HK Limited et al

ACCO,(AJWx),AO120,AO121,DISCOVERY,MANADR


           UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by McCauley, Carla on 3/24/2015 at 2:36 PM PDT and filed on 3/24/2015
Case Name:           China Central Television et al v. Create New Technology HK Limited et al
Case Number:         2:15-cv-01869-MMM-AJW
Filer:               China International Communications Co., Ltd.
                     China Central Television
                     TVB Holdings USA Inc
                     Dish Network L.L.C.
Document Number: 38

Docket Text:
PROOF OF SERVICE Executed by Plaintiff China International Communications Co., Ltd., China
Central Television, TVB Holdings USA Inc, Dish Network L.L.C., upon Defendant Create New
Technology HK Limited served on 3/18/2015, answer due 4/8/2015. in compliance with California
Code of Civil Procedure by personal service. Original Summons NOT returned. (McCauley, Carla)


2:15-cv-01869-MMM-AJW Notice has been electronically mailed to:

Carla A McCauley      carlamccauley@dwt.com, frankromero@dwt.com

George P Wukoson       georgewukoson@dwt.com

Lacy H Koonce , III    lancekoonce@dwt.com

Robert D Balin    robbalin@dwt.com

Samuel M Bayard       samuelbayard@dwt.com

2:15-cv-01869-MMM-AJW Notice has been delivered by First Class U. S. Mail or by other means BY THE
FILER to :

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\Users\romef\Desktop\POS complaints\Create New Technology.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=3/24/2015] [FileNumber=19171617-0
] [39afa76071bb692f61e96810526d03a5da493d81bf33f1c36676fc669b7b44041b8
542b4e16b39af7a055110668e23ef233ee9f029f81bf98e732b417da2c29d]]




https://ecf.cacd.uscourts.gov/cgi-bin/Dispatch.pl?764042571670146                                      3/24/2015
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
                            Document 39
                                     125 Filed
                                           Filed03/24/15
                                                 09/14/15 Page
                                                           Page1 184
                                                                 of 4 ofPage
                                                                         428 ID
                                                                              Page  ID
                                                                                #:1906
                                   #:3795

   1 CARLA A. McCAULEY (State Bar No. 223910)
        carlamccauley@dwt.com
   2 DAVIS   WRIGHT TREMAINE LLP
     865 South Figueroa Street, 24th Floor
   3 Los Angeles, California 90017-2566
     Tel.: (213) 633-6800 Fax: (213) 633-6899
   4
       ROBERT D. BALIN (admitted pro hac vice)
   5      robbalin@dwt.com
       LACY H. KOONCE, III (admitted pro hac vice)
   6      lancekoonce@dwt.com
       SAMUEL BAYARD (admitted pro hac vice)
   7      samuelbayard@dwt.com
       GEORGE WUKOSON (admitted pro hac vice)
   8      georgewukoson@dwt.com
       DAVIS WRIGHT TREMAINE LLP
   9   1633 Broadway
       New York, New York 10019
  10   Tel.: (212) 489-8230 Fax: (212) 489-8340
       ATTORNEYS FOR PLAINTIFFS
  11                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  12

  13   CHINA CENTRAL TELEVISION, a China ) Case No.
       company; CHINA INTERNATIONAL             ) CV 15-1869 MMM (AJWx)
  14   COMMUNICATIONS CO., LTD., a China )
       company; TVB HOLDINGS (USA), INC., a ) PROOF OF PERSONAL
  15   California corporation; and DISH         ) SERVICE OF SUMMONS AND
       NETWORK L.L.C., a Colorado corporation, ) COMPLAINT ON HUA YANG
  16                         Plaintiffs,        ) INTERNATIONAL
              vs.                               ) TECHNOLOGY LIMITED
  17   CREATE NEW TECHNOLOGY (HK)               )
       LIMITED, a Hong Kong company; HUA        )
  18   YANG INTERNATIONAL TECHNOLOGY ))
       LIMITED, a Hong Kong company;
  19   SHENZHEN GREATVISION NETWORK ))
       TECHNOLOGY CO. LTD., a China
  20   company; CLUB TVPAD, INC., a California ))Courtroom: 780
       corporation; BENNETT WONG, an            )Judge: Hon. Margaret M. Morrow
  21   individual, ASHA MEDIA GROUP INC.
       d/b/a TVPAD.COM, a Florida corporation; ))
  22   AMIT BHALLA, an individual;
       NEWTVPAD LTD. COMPANY d/b/a              )
  23   NEWTVPAD.COM a/k/a TVPAD USA, a          )
       Texas corporation; LIANGZHONG ZHOU, ))Action Filed: March 13, 2015
  24   an individual; HONGHUI CHEN d/b/a E-      Trial Date:
                                                )
       DIGITAL, an individual; JOHN DOE 1 d/b/a )
  25   BETV; JOHN DOE 2 d/b/a YUE HAI; JOHN )
       DOE 3 d/b/a 516; JOHN DOE 4 d/b/a HITV; )
  26   JOHN DOE 5 d/b/a GANG YUE; JOHN
       DOE 6 d/b/a SPORT ONLINE; JOHN DOE 7 ))
  27   d/b/a GANG TAI WU XIA; and JOHN DOES)
       8-10,                                    )
  28                             Defendants.

       PROOF OF SERVICE OF SUMMONS AND COMPLAINT
       DWT 26498789v1 0094038-000021
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
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                                     125 Filed
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                                                 09/14/15 Page
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                                                                 of 4 ofPage
                                                                         428 ID
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                                                                                #:1907
                                   #:3796
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
                            Document 39
                                     125 Filed
                                           Filed03/24/15
                                                 09/14/15 Page
                                                           Page3 186
                                                                 of 4 ofPage
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                                                                                #:1908
                                   #:3797
 Case2:15-cv-01869-MMM-AJW
Case  2:15-cv-01869-SVW-AJW Document
                            Document 39
                                     125 Filed
                                           Filed03/24/15
                                                 09/14/15 Page
                                                           Page4 187
                                                                 of 4 ofPage
                                                                         428 ID
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                                                                                #:1909
                                   #:3798
CM/ECF - California Central District                                              Page 1 of 1
      Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 188 of 428 Page ID
Service/Waivers of Summons and              Complaints :
                                        #:3799
2:15-cv-01869-MMM-AJW China Central Television et al v. Create New Technology HK Limited et al

ACCO,(AJWx),AO120,AO121,DISCOVERY,MANADR


           UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by McCauley, Carla on 3/24/2015 at 2:39 PM PDT and filed on 3/24/2015
Case Name:           China Central Television et al v. Create New Technology HK Limited et al
Case Number:         2:15-cv-01869-MMM-AJW
Filer:               China International Communications Co., Ltd.
                     China Central Television
                     TVB Holdings USA Inc
                     Dish Network L.L.C.
Document Number: 39

Docket Text:
PROOF OF SERVICE Executed by Plaintiff China International Communications Co., Ltd., China
Central Television, TVB Holdings USA Inc, Dish Network L.L.C., upon Defendant Hua Yang
International Technology Limited served on 3/17/2015, answer due 4/7/2015. in compliance with
California Code of Civil Procedure by personal service. Original Summons returned. (McCauley,
Carla)


2:15-cv-01869-MMM-AJW Notice has been electronically mailed to:

Carla A McCauley      carlamccauley@dwt.com, frankromero@dwt.com

George P Wukoson       georgewukoson@dwt.com

Lacy H Koonce , III    lancekoonce@dwt.com

Robert D Balin    robbalin@dwt.com

Samuel M Bayard       samuelbayard@dwt.com

2:15-cv-01869-MMM-AJW Notice has been delivered by First Class U. S. Mail or by other means BY THE
FILER to :

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\Users\romef\Desktop\POS complaints\Hua Yang International Tecnology Limited.pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=3/24/2015] [FileNumber=19171684-0
] [c36df87bd3fa135916e35660199384e83b753ffd64c4d1c5e884d63922a38f1809f
ae035c3c25a9c29f034e3c50e9dc06ff341a2399ee66b203c40780d5740ad]]




https://ecf.cacd.uscourts.gov/cgi-bin/Dispatch.pl?102271510677963                                      3/24/2015
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 189 of 428 Page ID
                                  #:3800




                                 EXHIBIT 9
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 190 of 428 Page ID
                                  #:3801




                                                                     EXHIBIT 9
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 191 of 428 Page ID
                                  #:3802
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 192 of 428 Page ID
                                  #:3803
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 193 of 428 Page ID
                                  #:3804
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 194 of 428 Page ID
                                  #:3805




                                 EXHIBIT 10
     Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 195 of 428 Page ID
                                       #:3806

McCauley, Carla

From:                               Owen Tse <owentse@vcclawservices.com>
Sent:                               Thursday, September 10, 2015 9:48 PM
To:                                 McCauley, Carla
Cc:                                 Wukoson, George; Koonce, Lance; Ken Hung
Subject:                            RE: China Central Television v. Create New Technology (HK)/Service Request




Dear Carla,

Thank you for your instructions.

We confirm that our firm stands ready to arrange our solicitor to personally serve on Defendants Create New
Technology (HK) Limited and Hua Yang International Technology Limited the documents to be provided by you
upon receipt.

We have conducted updated company search against both Create New Technology (HK) Limited and Hua Yang
International Technology Limited today. According to the online record as of today, the registered office of
Create New Technology (HK) Limited is situate at Room D, 10/F., Tower A, Billion Centre, 1 Wang Kwong Road,
Kowloon Bay, Kowloon, Hong Kong, and the registered office of Hua Yang International Technology Limited is
situate at Room 1103, Hang Seng Mongkok Building, 677 Nathan Road, Mongkok, Kowloon, Hong Kong.

Should you have any query, please feel free to contact us.


Best regards,
Owen Tse
Partner



        SOLICITORS & NOTARIES
       HONG KONG | BEIJING

Hong Kong Office:
57/F Cheung Kong Center,
2 Queen's Road Central
T:   (852) 2533 2162
F:   (852) 2530 9627
E:   owentse@vcclawservices.com
W:   www.vcclawservices.com

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                                                              1
                                                                                                               EXHIBIT 10
       Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 196 of 428 Page ID
                                         #:3807
cost. Internet communications cannot be guaranteed to be secured or error-free as information could be intercepted,
corrupted, lost, arrive late or contain viruses. Therefore, we cannot accept liability. It is your responsibility to ensure that
viruses do not adversely affect your system and that your messages to us meet your own security requirements. We
reserve the right to read any email or attachment entering or leaving our systems without notice.

WARNING:
From time to time, our spam scanners may eliminate legitimate email from clients. If your email contains important
instructions, please ensure that we acknowledge receipt of those instructions.

From: McCauley, Carla [mailto:CarlaMcCauley@dwt.com]
Sent: Thursday, September 10, 2015 4:06 AM
To: Owen Tse
Cc: Wukoson, George; Koonce, Lance
Subject: China Central Television v. Create New Technology (HK)/Service Request

Dear Owen,

Consistent with our prior communications on this subject, Plaintiffs anticipate having ready for service by September 14,
2015 a Motion for Default Judgment as to Defendants Create New Technology (HK) Limited and Hua Yang International
Technology Limited. In addition to the Motion, we anticipate having several volumes of exhibits for service on
Defendants, as well as a proposed Order and proposed Judgment.

Can you please confirm that your firm stands ready to have a solicitor personally serve these documents? I will send a
draft proof of service along with the filings once they are completed on September 14, 2015 PST.

In addition, could your firm please reconfirm the registered addresses for service in Hong Kong of both CNT and HYIT by
Friday this week so that I may include that information in our motion and in the Proof?

If you have any questions, please let me know.

Regards,
Carla

Carla McCauley | Davis Wright Tremaine LLP
865 S Figueroa Street, Suite 2400 | Los Angeles, CA 90017
Tel: (213) 633-8665 | Fax: (213) 633-6899
Email: carlamccauley@dwt.com | Website: www.dwt.com

Anchorage | Bellevue | Los Angeles | New York | Portland | San Francisco | Seattle | Shanghai | Washington, D.C.




                                                                                          2
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 197 of 428 Page ID
                                  #:3808




                                 EXHIBIT 11
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 198 of 428 Page ID
                                  #:3809
                                EXHIBIT 11


          I.       Defendants’ Sales of TVpads in the United States

      Shipment Method                    Units                      Average Price1           Total

      Shipments by DHL from              8191                       $249                     $2,039,559
      CNT in China to
      Individuals2

      Shipments by DHL from              100,696                    $126                     $12,687,696
      CNT in China to Bulk
      Purchasers3

      Shipments by UPS from              7,348                      $126                     $925,848
      CNT in China to U.S.4

      Shipments to YTC from              32,540                     $126                     $4,100,040
      CNT Per Customs Records
      from Dec. 2013-Mar.
      20155

      Shipments to YTC Summit 40,000                                $126                     $5,040,000
      by CNT from Feb. 2012-
      Nov. 20136

      Shipments to MetroVista            820                        $126                     $103,320
      by CNT7

      Shipments from China by            4,478                      $126                     $564,228
      Hoogle to Bulk
      Purchasers8

                       Total Units: 194,073                         Grand Total              $25,460,691
                                                                    CNT Sales of
                                                                    TVpads:



  1
    Source support: Weil Decl. ¶25 ($249 retail price); Zhou Decl. ¶10 ($126 average wholesale price)
  2
    Source support: McCauley Decl. ¶25 & Ex. 28.
  3
    Source support: McCauley Decl. ¶24 & Ex. 27.
  4
    Source support: McCauley Decl. ¶36 & Ex. 17.
  5
    Source support: Weil Decl. ¶¶28-29 & Ex. 63. Plaintiffs’ analysis of UPS Shipping records for YTC Summit,
  which show shipments of 38,405 shipments of TVpads to bulk purchasers, and 152 shipments of TVpads to
  individuals for the period of August 2013 to April 22, 2015, provide a parallel source of records that confirm these
  shipments and that YTC Summit was shipping an average of 1,830 TVpads per month. McCauley Decl. ¶¶37-44 &
  Exs. 19-20. Plaintiffs do not include these shipments in the above numbers to avoid double-counting, but offer them
  as additional support for the total numbers of TVpad units shipped to U.S. addresses.
  6
    Source support: McCauley Decl. ¶14.
  7
    Source support: Weil Decl. ¶¶28-29.
  8
    Source support: McCauley Decl. ¶21 & Ex. 25.


  DWT 27803611v2 0094038-000021


                                                                                                            EXHIBIT 11
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 199 of 428 Page ID
                                  #:3810



             II.      Lost Licensing Fees Not Paid to Plaintiffs Due to Infringement

             Total TVpad           Monthly Fee Paid by     Months of    Grand Total:
             Units as Proxy        Authorized Distributors Infringement
             for Authorized        per Viewer:9
             Viewers:

             194,073               $30                      48             $279,465,120



             III.     Lost Subscription Fees Not Paid to Plaintiffs Due to Infringement

             25% of TVpad          Lowest Monthly Fee       Months       Grand Total:
             Units as Proxy        Paid by Authorized       (average
             for Paying            Viewers for either TVB   contract
             Subscribers:          or CCTV Lineup on        period)
                                   DISH:10

             48,518                $15                      24           $17,466,480




  9
      Source Support: Kuelling Decl. ¶13.
  10
       Source Support: Kuelling Decl. ¶13.

                                                     2
  DWT 27803611v2 0094038-000021
Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 200 of 428 Page ID
                                  #:3811




                                 EXHIBIT 12
     Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 201 of 428 Page ID
                                       #:3812
                           Steven Shiang Chen - 7/15/2015

                                                      Page 1                                                    Page 3
                    UNITED STATES DISTRICT COURT                1
                                                                          DEPOSITION OF STEVEN SHIANG CHEN, taken on
            FOR THE CENTRAL DISTRICT OF CALIFORNIA              2
                                                                          behalf of the Plaintiffs, at 865 South Figueroa
     CHINA CENTRAL TELEVISION, a China      )                   3
                                                                          Street, Suite 2400, Los Angeles, California,
     company; CHINA INTERNATIONAL           )                   4
                                                                          commencing at 10:11 A.M., Wednesday, July 15,
     COMMUNICATIONS CO., LTD., a China      )                   5
                                                                          2015, before Shelly B. Storey, CSR No. 3932,
     company; TVB HOLDINGS (USA), INC., a   )                   6
                                                                          pursuant to Amended Subpoena under the Federal
     California corporation; and DISH       )                   7
                                                                          Rules of Civil Procedure.
     NETWORK L.L.C., a Colorado limited     )                   8

     liability company,                     )                   9

                      Plaintiffs,           )                   10

         vs.                                ) No. CV 15-1869    11

     CREATE NEW TECHNOLOGY (HK) LIMITED,    )      MMM (AJWx)   12

     a Hong Kong company; HUA YANG          )                   13

     INTERNATIONAL TECHNOLOGY LIMITED, a    ) PAGES 1 - 196     14

     Hong Kong company; SHENZHEN            )                   15

     GREATVISION NETWORK TECHNOLOGY CO.     )                   16

     LTD., a China company; CLUB TVPAD,     )                   17

     INC., a California corporation;        )                   18

     BENNETT WONG, an individual;           )                   19

     --------------------------------------                     20

     (CONTINUED NEXT PAGE)                                      21

               DEPOSITION OF STEVEN SHIANG CHEN                 22

     Reported by:                                               23

       Shelly B. Storey                                         24

       CSR No. 3932                                             25




                                                      Page 2                                                    Page 4
                                                                1
 1
       (CONTINUED FROM FIRST PAGE)                                   APPEARANCES OF COUNSEL:
 2                                                              2
       ASHA MEDIA GROUP, INC., d/b/a            )
 3                                                              3
                                                                          FOR THE PLAINTIFFS:
       TVPAD.COM, a Florida corporation; )
 4                                                              4
       AMIT BHALLA, an individual; NEWTVPAD )                               DAVIS WRIGHT TREMAINE LLP
 5                                                              5
       LTD. COMPANY d/b/a NEWTVPAD.COM a/k/a )                              BY: CARLA A. McCAULEY, ESQ.
 6
       TVPAD USA, a Texas corporation;        )                 6
                                                                            865 South Figueroa Street
 7
       LIANGZHONG ZHOU, an individual;           )              7
                                                                            Twenty-fourth Floor
 8
       HONGHUI CHEN d/b/a E-DIGITAL, an )                       8
                                                                            Los Angeles, California 90017-2566
 9
       individual; JOHN DOE 1 d/b/a BETV; )                     9
                                                                            (213) 633-6800
10
       JOHN DOE 2 d/b/a YUE HAI; JOHN DOE 3 )                   10
                                                                                   - AND -
11
       d/b/a 516; JOHN DOE 4 d/b/a HITV; )                      11
                                                                            DAVIS WRIGHT TREMAINE LLP
12
       JOHN DOE 5 d/b/a GANG YUE; JOHN DOE 6 )                  12
                                                                            BY: LACY H. KOONCE III, ESQ.
13
       d/b/a SPORT ONLINE; JOHN DOE 7 d/b/a )                   13
                                                                            1633 Broadway
14
       GANG TAI WU XIA; and JOHN DOES 8-10, )                   14
                                                                            New York, New York 10019
15
                    Defendants.            )                    15
                                                                            (212) 489-8230
16
       --------------------------------------                   16
                                                                          FOR CLUB TVPAD, INC., AND BENNETT WONG:
17                                                              17
18
                                                                            RYU LAW FIRM
                                                                18
19
                                                                            (OF RECORD, BUT NOT PRESENT)
                                                                19
20
                                                                            5900 Wilshire Boulevard
                                                                20
21
                                                                            Suite 2250
                                                                21
22
                                                                            Los Angeles, California 90036
                                                                22
23
                                                                            (323) 931-5270
                                                                23
24
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25                                                                   //
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                                                                                              1 (Pages 1 to 4)
                    Ben Hyatt Certified Deposition Reporters
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                                                                                                         EXHIBIT 12
     Case 2:15-cv-01869-SVW-AJW Document 125 Filed 09/14/15 Page 202 of 428 Page ID
                                       #:3813
                           Steven Shiang Chen - 7/15/2015

                                                      Page 5                                                      Page 7
 1                                                              1
       APPEARANCES (CONTINUED)                                          A Yes.
 2                                                              2
                                                                        Q So if I ask a question, it's important to
 3                                                              3
         FOR ASHA MEDIA GROUP, INC., AND AMIT                       say "yes," "no" and not a nod or shake of the head
 4                                                              4
         BHALLA:                                                    and to also avoid saying "uh-huh" and "uh-uh," and
 5                                                              5
           TRAVERSE LEGAL, PLC                                      hopefully if you do that, I'll catch you and we can
                                                                6
 6
           (OF RECORD, BUT NOT PRESENT)                             make sure we fix that.
                                                                7
 7
           810 Cottageview Drive                                        A Okay.
                                                                8
 8
           Suite G-20                                                   Q The other thing that is going to be
                                                                9
 9
           Traverse City, Michigan 49684                            challenging today, particularly since we met
                                                               10
10
           (866) 936-7447                                           yesterday and we had a very nice conversation, is
                                                               11
11
         FOR NEWTVPAD LTD. CO. DBA NEWTVPAD.COM                     that a deposition is not like a conversation.
                                                               12
12
         AKA TVPAD USA:                                                    And so when we start getting involved, we
                                                               13
13
           NI, WANG & MASSAND, PLLC                                 all have a tendency to want to talk over each other,
                                                               14
14
           (OF RECORD, BUT NOT PRESENT)                             so it's important to remember to let me finish my
                                                               15
15
           8140 Walnut Hill Lane                                    question, and then you can provide an answer;
                                                               16
16
           Suite 500                                                otherwise, we make the life of Shelly here very
                                                               17
17
           Dallas, Texas 75231                                      challenging. Is that something that you can try to
                                                               18
18
           (972) 331-4600                                           remember to do?
                                                               19
19
         FOR HONGHUI CHEN, DBA E-DIGITAL:                               A Sure.
                                                               20
20
           LT PACIFIC LAW GROUP LLP                                     Q Is there any reason you cannot provide your
                                                               21
21
           (OF RECORD, BUT NOT PRESENT)                             best testimony today?
                                                               22
22
           17800 Castleton Street                                       A No.
                                                               23
23
           Suite 560                                                    Q Are you taking any medications that might
                                                               24
24
           City of Industry, California 91748                       impact your ability to provide truthful testimony
                                                               25
25
           (626) 810-7200                                           today?


                                                      Page 6                                                      Page 8
 1                                                             1
                 STEVEN SHIANG CHEN,                                    A No.
 2                                                             2
           having been first administered the oath,                     Q The other thing is I may ask you a question
 3                                                             3
           was examined and testified as follows:                   from time to time and you may not fully understand
 4                                                             4
                                                                    it, and you should feel free to ask me to rephrase if
 5                                                             5
                      EXAMINATION                                   something's vague or you don't understand so that you
 6                                                             6
       BY MS. McCAULEY:                                             are making sure to give a truthful statement. Do you
 7                                                             7
           Q Good morning, Mr. Chen. Thanks so much                 understand that?
 8                                                             8
       again for being with us here today.                              A Yes.
 9                                                             9
           A Good morning.                                              Q Now, aside from the deposition that you gave
10                                                             10
           Q Please state your entire name for the                  in March of 2015, had you ever been deposed before
11                                                             11
       record.                                                      that time?
12                                                             12
           A Steven Chen. S-t-e-v-e-n C-h-e-n.                          A No.
13                                                             13
           Q Do you have a middle name?                                 Q Have you been deposed since that time?
14                                                             14
           A I don't use it.                                            A No.
15                                                             15
           Q Can you provide it, though, for the record?                Q Have you ever provided testimony in a
16                                                             16
           A Shiang, S-h-i-a-n-g.                                   lawsuit before?
17                                                             17
           Q Now, you were deposed back in March of this                A No.
18                                                             18
       year in a different litigation, so I know some of                Q Has YTC Summit, the company that you work
19                                                             19
       what I'm going to tell you may feel a little bit             for, ever been sued to your knowledge?
20                                                             20
       repetitive, but I think it's always helpful for the              A Yes.
21                                                             21
       witnesses being deposed to keep some of these rules              Q On what occasion was it the subject of a
22                                                             22
       in mind.                                                     lawsuit?
23                                                             23
             You see we have a lovely court reporter here               A False advertisement.
24                                                             24
       today, and so one thing you have to make sure to do              Q And when did that lawsuit occur?
25                                                             25
       is vocalize your responses.                                      A Six or seven years ago.


                                                                                              2 (Pages 5 to 8)
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                                                   Page 9                                                    Page 11
1                                                               1
          Q And how was it resolved?                                   Q And the e-mails that you produced on the
2                                                               2
          A The insurance company end up picking it up.             memory device, were those all e-mails from Yvonne's
3                                                               3
          Q So it was settled?                                      e-mail system?
                                                                4
4
          A It was settled.                                            A Yes.
                                                                5
5
          Q And you were not deposed in that action?                   Q Did you yourself take steps to determine
                                                                6
6
          A No.                                                     whether you had any additional responsive e-mails
                                                                7
7
          Q Now, you have in front of you a document                other than what you produced to us in paper form
                                                                8
8
       that I've marked as Exhibit 1.                               yesterday?
                                                                9
9
              (Plaintiffs' Exhibit No. 1                               A I have looked over my computer also, but I
                                                               10
10
              was marked for identification.)                       do not have any of the e-mails.
                                                               11
11
          Q BY MS. McCAULEY: Do you recognize this                     Q And did you also request that other
                                                               12
12
       document?                                                    individuals who may have had business dealings with
                                                               13
13
          A Yes.                                                    Create New Technology also search their e-mail
                                                               14
14
          Q And this is in fact the amended subpoena                systems within YTC Summit?
                                                               15
15
       that was served on you for your appearance here                 A Yes.
                                                               16
16
       today, correct, for YTC Summit's appearance?                    Q And did anybody else have any responsive
                                                               17
17
          A Yes.                                                    documents to your knowledge?
                                                               18
18
          Q And you are appearing today on behalf of YTC               A No.
                                                               19
19
       Summit; is that correct?                                        Q Now, yesterday when we were at your office,
                                                               20
20
          A Yes.                                                    you handed me a binder -- an additional binder with
                                                               21
21
          Q Now, do you understand when I ask you                   additional shipping and wire transfer information.
                                                               22
22
       questions today, what I'm asking is you as a                 Do you recollect doing so?
                                                               23
23
       representative of YTC Summit questions, so my                   A Yes.
                                                               24
24                                                                     Q Who was the custodian of that binder?
       questions pertain to YTC Summit's business as a         25
25                                                                     A Jennifer Chen, C-h-e-n.
       whole? Do you understand that?

                                                 Page 10                                                     Page 12
1                                                              1
          A Yes.                                                        Q Is she any relation to you?
2                                                              2
          Q Now, attached to this document is a Schedule                A She's my spouse, my wife.
3                                                              3
       A, Topics For Testimony, and a Schedule B, Documents             Q And aside from the binder you provided
4                                                              4
       and Things Requested.                                        yesterday to us and the e-mails you provided
5
              Did you take steps prior to today to look        5
                                                                    yesterday, you also provided two agreements between
6
       for documents responsive to Schedule B and all of the   6
                                                                    YTC Summit and Create New Technology. Do you recall
7
       requests for production that are listed there?          7
                                                                    handing those to us as well?
8
          A Yes.                                               8
                                                                        A Yes.
9
          Q What steps did you or other people at YTC          9
                                                                        Q And were those agreements documents that you
10
       Summit take in order to produce responsive documents?   10
                                                                    had in your custody?
11
          A We have gathered all the documents that --         11
                                                                        A Those are documents that -- yes.
12
       pertaining to have any business with Create New         12
                                                                        Q And where did you retain those documents?
13
       Technology and brought it either to you yesterday,      13
                                                                        A In my cabinet.
14
       which was the 14th of July, and also additional         14
                                                                        Q And when you were looking in your cabinet
15
       documents today.                                        15
                                                                    for the agreements, did you see whether there were
16
          Q And the documents you produced today were a        16
                                                                    any other documents that pertained to Create New
17
       USB memory device with e-mails; correct?                17
                                                                    Technology?
18
          A That was -- we just didn't want to print           18
                                                                        A No.
19
       that; therefore, we copied it onto the USB.             19
                                                                        Q So let me rephrase to make the record clear.
20
          Q And in addition, you also produced to me a         20
                                                                          Is it accurate to say that when you looked
21
       binder today; is that correct?                          21
                                                                    for those two agreements, those were the only two
22
          A Correct.                                           22
                                                                    documents in your possession in your cabinet that
23
          Q And who was the custodian of that binder           23
                                                                    pertained to Create New Technology?
24
       prior to delivery of that to us today?                  24
                                                                        A Yes.
25
          A Our shipping clerk, Yvonne Gonzalez.               25
                                                                        Q Now, you don't have an attorney with you


                                                                                          3 (Pages 9 to 12)
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                                                  Page 13                                                     Page 15
 1                                                            1
       here today, so you're representing yourself here            in time regarding whether she would provide counsel
 2                                                            2
       today; correct?                                             to you?
 3                                                            3
           A Yes.                                                      A She called back about a couple of hours
 4
           Q Did you attempt to contact Create New            4
                                                                   later and says no, that there won't be any counsel
 5
       Technology to determine whether they would provide     5
                                                                   here with me, that whatever questions at the
 6
       you counsel?                                           6
                                                                   deposition I just answer truthfully.
 7
           A Not for the subpoena that you have sent me,      7
                                                                       Q Anything else that she told you during that
 8
       no.                                                    8
                                                                   phone call?
 9
           Q Previously did you contact Create New            9
                                                                       A Nothing else.
10
       Technology to see if they would provide you an         10
                                                                       Q Did you discuss with her the documents that
11
       attorney to represent you at any deposition            11
                                                                   you had been requested to produce in response to that
12
       proceedings involving litigation concerning Create     12
                                                                   March 2015 subpoena?
13
       New Technology?                                        13
                                                                       A No.
14
           A Yes, on the previous deposition, yes.            14
                                                                       Q Did you discuss with Ms. Zhang the documents
15
           Q And was that the deposition that took place      15
                                                                   that you intended to produce in response to that
16
       in March of 2015?                                      16
                                                                   subpoena?
17
           A Yes.                                             17
                                                                       A We didn't -- we did not discuss about what
18
           Q And at what point did you contact Create New     18
                                                                   documents. Whatever I was supposed to be presented,
19
       Technology to determine whether they would provide     19
                                                                   I will present it.
20
       you with counsel?                                      20
                                                                       Q And did you have that discussion with her at
21
           A When I had -- when I received the subpoena.      21
                                                                   that time?
22
       That's when I contacted them.                          22
                                                                       A I told her I'm going to be answering exactly
23
           Q And who specifically at Create New               23
                                                                   to what the attorneys request.
24
       Technology did you speak with?                         24
                                                                       Q And what was her response to that?
25
           A Annie Zhang, Z-h-a-n-g, last name.               25
                                                                       A Nothing.

                                                  Page 14                                                     Page 16
1                                                              1
          Q Does Annie have any other names that she                   Q Did Ms. Zhang say anything to you in either
2                                                              2
       goes by?                                                    of those phone calls regarding the subpoena?
3                                                              3
          A That's the only name that I know of.                       A She said she was sorry that YTC got involved
4                                                              4
          Q And how did you communicate with Ms. Zhang             into this case.
5                                                              5
       about your receipt of the subpoena in the March 2015            Q Anything else that she said?
6                                                              6
       deposition?                                                     A That's about it.
7                                                              7
          A I called her.                                              Q Did she express surprise that you had been
8                                                              8
          Q And what did you say to her?                           subpoenaed?
9                                                              9
          A I said, "I have a deposition for a lawsuit                 A At the initial phone call, yes, when I told
10                                                            10
       which involves your company, and I understand you do        her I got subpoenaed.
11                                                            11
       have an attorney that's representing the company. Is            Q And did she elaborate in terms of why she
12                                                            12
       your counsel going to be present when I do my               was surprised?
13                                                            13
       deposition?"                                                    A She didn't think YTC would get involved.
14                                                            14
          Q Anything else that you let her know about                  Q Any other reason?
15                                                            15
       that subpoena in that call?                                     A No.
16                                                            16
          A That's it.                                                 Q Let me take a step back and go through a
17                                                            17
          Q And what was Ms. Zhang's response?                     couple of background questions regarding you
18                                                            18
          A She said she'll get back with me on that as            personally. Where do you reside presently?
19                                                            19
       she had no idea that I was subpoenaed.                          A 1534 Lark Tree Way, L-a-r-k T-r-e-e,
20                                                            20
          Q Did you e-mail her at any point or mail her            Hacienda Heights, 91745.
21                                                            21
       a copy of the subpoena that you had received?                   Q And where are you employed currently?
22                                                            22
          A No.                                                        A YTC Summit.
23                                                            23
          Q Did she request that you do so?                            Q And what is your title there?
24                                                            24
          A No.                                                        A Manager.
25                                                            25
          Q Did Ms. Zhang get back to you at any point                 Q Are you also president?


                                                                                        4 (Pages 13 to 16)
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                                                 Page 17                                                     Page 19
 1                                                              1
           A Yes.                                                       A 40.
 2                                                              2
           Q Any other titles that you have at YTC                      Q Who are the other shareholders in the
 3                                                              3
       Summit?                                                      company?
 4                                                              4
           A No.                                                        A There's Oliver Tan, 20 percent, Tony Chen,
 5                                                              5
           Q And what is the address of YTC Summit?                 20 percent, and Victor Chen, 20 percent.
 6                                                              6
           A 12037 Clark Street, C-l-a-r-k, Arcadia,                    Q Is Mr. Tony Chen a relation of yours?
 7                                                              7
       91006.                                                           A Yes.
 8                                                              8
           Q Now, you probably are familiar with this                   Q And what relation is that?
 9                                                              9
       from the last deposition, but in a few weeks from now            A My cousin.
10                                                             10
       after today is completed, you will get a booklet                 Q And what about Mr. Victor Chen? Is he a
11                                                             11
       where the court reporter has written all of what's           relation?
12                                                             12
       transpired today on the open record, and you'll have             A Yes.
13                                                             13
       an opportunity to review that booklet and provide any            Q What relation?
14                                                             14
       corrections to any mistranscriptions that you see.               A Same thing. Cousin.
15                                                             15
       Do you understand that?                                          Q And what about Oliver Tan?
16                                                             16
           A Yes.                                                       A Oliver Tan is my brother-in-law.
17                                                             17
           Q Do you have a preference as to where the                   Q So Jennifer's brother.
18                                                             18
       court reporter should send that deposition? To your              A Yes.
19                                                             19
       work or to your home?                                            Q Were you, Mr. Tan, Mr. Tony Chen, and
20                                                             20
           A It should be sent to work.                             Mr. Victor Chen the original shareholders in YTC
21                                                             21
           Q How long have you worked at YTC Summit?                Summit as of 1994?
22                                                             22
           A Twelve years.                                              A No.
23                                                             23
           Q So would that be --                                        Q Who were the original shareholders?
24                                                             24
           A Year 2002.                                                 A Original shareholder was myself, Oliver Tan
25                                                             25
           Q I'll represent to you when I looked at the             and Silvia Tan.


                                                 Page 18                                                     Page 20
 1                                                             1
       articles of incorporation for YTC Summit on the                  Q And who's Silvia Tan?
 2                                                             2
       California business portal, it indicated that the                A Jennifer's sister.
 3                                                             3
       articles were filed on February 17th of 1994.                    Q Aside from you, Mr. and Mrs. Tan, Tony Chen
 4                                                             4
           A Correct.                                               and Victor Chen, have there been any other
 5                                                             5
           Q So is that the actual founding of the                  shareholders at the company from its inception to
 6                                                             6
       company?                                                     today?
 7                                                             7
           A Yes.                                                       A No.
 8                                                             8
           Q And you've worked at YTC Summit for that                   Q So at the time that you incorporated YTC
 9                                                             9
       entire period of time?                                       Summit in 1994, you said you were working at L.A.
10                                                             10
           A I did not work in YTC at that time.                    County as a physicist; correct?
11                                                             11
           Q Where did you work when the company was                    A Correct.
12                                                             12
       founded?                                                         Q Who was running the business of YTC Summit
13                                                             13
           A I was working for L.A. County.                         at that time?
14                                                             14
           Q And what was your job position at L.A.                     A Jennifer.
15                                                             15
       County?                                                          Q At what point did you become involved in YTC
16                                                             16
           A Physicist.                                             Summit's business?
17                                                             17
           Q Did you personally incorporate YTC Summit?                 A 2002.
18                                                             18
           A No.                                                        Q So from 1994 until 2002, were you working
19                                                             19
           Q Did somebody else?                                     for L.A. County as a physicist the entire time?
20                                                             20
           A It was a law firm that did that for us.                    A Yes.
21                                                             21
           Q I see. Let me be clearer.                                  Q And did you leave that job in 2002 when you
22                                                             22
              Are you a shareholder in YTC Summit?                  started working for YTC --
23                                                             23
           A Yes.                                                       A Yes.
24                                                             24
           Q And what percentage shares do you own in the               Q -- or -- let me finish my question first.
25                                                             25
       company?                                                     That's the challenge of a deposition.


                                                                                        5 (Pages 17 to 20)
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                                                   Page 21                                                      Page 23
1                                                              1
              At the time that you joined YTC Summit in                 A We help distribute these products in the
2                                                              2
       2002, did you leave your position at L.A. County?            U.S. in the logistic format only.
3                                                              3
           A Yes.                                                       Q So is YTC Summit involved in making sales
4                                                              4
           Q And have you been working at YTC Summit                for Fortune Bag?
5                                                              5
       since 2002?                                                      A No.
6                                                              6
           A Yes.                                                       Q Is it involved in making sales for Hennessy?
7                                                              7
           Q So no other jobs in the interim?                           A No.
8                                                              8
           A No.                                                        Q And is it involved in making sales for
9                                                              9
           Q And have you been a 40 percent owner of YTC            Create New Technology?
10                                                             10
       Summit since approximately 2002 or for some other                A No.
11                                                             11
       period of time?                                                  Q Has it ever been involved in making sales
12                                                             12
           A 40 percent was since 1996.                             for any of those three companies?
13                                                             13
           Q Does Create New Technology own any interest                A No.
14                                                             14
       in YTC Summit?                                                   Q So we'll get back to that in a little bit in
15                                                             15
           A No.                                                    terms of how that works.
16                                                             16
           Q Can you describe to me generally what the                    Before YTC Summit began doing fulfillment
17                                                             17
       nature of YTC Summit's business is?                          services for Create New Technology, had it already
18                                                             18
           A We are a gift import company. We design                done fulfillment services for the Fortune Bag company
19                                                             19
       our -- the gift items, produce it in China, import it        or Hennessy previously?
20                                                             20
       back to the U.S. and distribute it throughout North              A Yes.
21                                                             21
       America.                                                         Q And taking one step back to YTC Summit's
22                                                             22
           Q And I think your website lists some of the             gift import business, the manufacturing of the gifts
23                                                             23
       gifts as home decor, historical replicas, fantasy            occurs in China; correct?
24                                                             24
       figurines, jewelry, and housewares.                              A Yes.
25                                                             25
              Is that an accurate summary of the types of               Q Is the manufacturing done by a company owned

                                                   Page 22                                                      Page 24
1                                                              1
       gifts that your company designs and imports from             by YTC Summit?
2                                                              2
       China?                                                           A No.
3                                                              3
           A Yes.                                                       Q What is the name of the company that does
4                                                              4
           Q Any other products that your company itself            the manufacturing for YTC Summit?
5                                                              5
       designs in the U.S., manufactures in China, and then             A There are various different factories that
6                                                              6
       imports into the U.S. that constitutes part of your          produce the goods for YTC.
7                                                              7
       business?                                                        Q And where are they located in China?
8                                                              8
           A Pretty much whatever you just described.                   A They are located some in the Guangdong area,
9                                                              9
           Q Now, YTC Summit also has done fulfillment              some in the Fujian Province area.
10                                                             10
       services for some companies; is that correct?                    Q Are any of the companies that do the
11                                                             11
           A Correct.                                               manufacturing of YTC Summit's gift imports located in
12                                                             12
           Q What companies has YTC Summit done                     ShenZhen?
13                                                             13
       fulfillment services for?                                        A No.
14                                                             14
           A We have done fulfillments for Hennessy and                 Q Now, when we talk about YTC Summit doing
15                                                             15
       there's a Fortune Bag company that we have, and              fulfillment services for Create New Technology, what
16                                                             16
       that's it.                                                   product or products was YTC Summit specifically
17                                                             17
           Q And what about Create New Technology?                  handling logistics for?
18                                                             18
           A Including Create New Technology also.                      A TVPads and accessories that -- associated
19                                                             19
           Q Any other companies aside from Hennessy, the           with TVPads.
20                                                             20
       Fortune Bag company and Create New Technology that               Q Can you be more specific about the types of
21                                                             21
       YTC Summit has engaged in fulfillment services for?          accessories that YTC Summit handled fulfillment for?
22                                                             22
           A No.                                                        A Remote control, USB cable, power supplies,
23                                                             23
           Q When you use the term "fulfillment                     advertisement posters, and promotional bags.
24                                                             24
       services," what do you mean in terms of the nature of            Q Anything else?
25                                                             25
       YTC Summit's business for those three companies?                 A That's it.


                                                                                         6 (Pages 21 to 24)
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                                                  Page 25                                                      Page 27
 1                                                              1
           Q When did YTC Summit begin doing business               cards on the very first page which I will represent
 2                                                              2
       with Create New Technology?                                  to you when you handed the document to us, those two
 3                                                              3
           A 2012.                                                  separate business cards were clipped on top of the
 4
           Q So let me hand you a document that you gave        4
                                                                    agreement.
 5
       us yesterday. We'll mark it as Exhibit 2, a document     5
                                                                        A Correct.
 6
       entitled "Logistic Distribution Agreement" dated         6
                                                                        Q Who is Fanny?
 7
       February 20, 2012, by and between Create New             7
                                                                        A She's the one -- from my knowledge, she's
 8
       Technology and YTC Summit International, Inc.            8
                                                                    the one who is doing the distribution manager for
 9
              (Plaintiffs' Exhibit No. 2                        9
                                                                    Create New Technology.
10
              was marked for identification.)                  10
                                                                        Q And who is Min Zhang?
11
           Q BY MS. McCAULEY: If I could have you              11
                                                                        A Min Zhang is Annie Zhang, and she's the
12
       please, Mr. Chen, take a look at Exhibit 2 and let me   12
                                                                    general manager.
13
       know when you've had a chance to just review it very    13
                                                                        Q So Annie Zhang and Min Zhang are one and the
14
       briefly, and I'll ask you after you've had a chance     14
                                                                    same people?
15
       to do that whether you recognize this document.         15
                                                                        A It's the same person.
16
           A Yes.                                              16
                                                                        Q And her title is general manager?
17
           Q And what is this document?                        17
                                                                        A From what I understand, she's the general
18
           A This is a logistic contract that we signed        18
                                                                    manager.
19
       with Create New Technology.                             19
                                                                        Q Now, on the business card, the business
20
           Q Was this the first such agreement that YTC        20
                                                                    cards identify a company called ShenZhen GreatVision
21
       Summit signed with Create New Technology?               21
                                                                    Network Technology Co. Ltd. right underneath the
22
           A Yes.                                              22
                                                                    title of Ms. Zhang's business director of Fanny's
23
           Q And if you could turn to the second-to-last       23
                                                                    business manager. Do you see that?
24
       page of that agreement, is that your signature?         24
                                                                        A Yes.
25
           A Yes.                                              25
                                                                        Q Do you have an understanding of what that

                                                  Page 26                                                      Page 28
 1                                                             1
           Q And who signed on behalf of Create New                 company is?
 2                                                             2
       Technology?                                                     A The same company as Creative New Technology.
 3                                                             3
           A Annie.                                                    Q And when you say "Creative New Technology,"
 4                                                             4
           Q Is that --                                             do you mean Create New Technology?
 5                                                             5
           A Zhang.                                                    A Create New Technology.
 6                                                             6
           Q Annie Zhang? And the date of that agreement               Q So your understanding was that GreatVision
 7                                                             7
       was what date?                                               Network Technology Co. was one and the same with
 8                                                             8
           A The date of this agreement was back in, I              Create New Technology, the company with which you
 9                                                             9
       guess, April of 2012.                                        were signing this logistic distribution agreement; is
10                                                             10
           Q If you look on the second page of the                  that correct?
11                                                             11
       exhibit, the distribution agreement on the first line           A Correct.
12                                                             12
       says it was made on the 20th of February, 2012; is              Q And how did you come to have that
13                                                             13
       that correct?                                                understanding?
14                                                             14
           A Correct.                                                  A They are the person and they're using Create
15                                                             15
           Q Is that the actual date when the document              New Technology.
16                                                             16
       was created?                                                    Q Did you ask any questions about why their
17                                                             17
           A Yes.                                                   business card said GreatVision but the contract said
18                                                             18
           Q So February, not April.                                Create New Technology?
19                                                             19
           A February, correct.                                        A No.
20                                                             20
           MS. McCAULEY: Let's go off the record one                   Q Did you ask them what the relationship was
21                                                             21
       second, please.                                              between those two differently named entities?
22                                                             22
              (A recess was taken.)                                    A No.
23                                                             23
           MS. McCAULEY: Back on the record.                           Q Did you ask Ms. Zhang what her relationship
24                                                             24
           Q So back to Exhibit 2, if you look on the               was in terms of ownership to either GreatVision or
25                                                             25
       first page, there are photocopies of two business            Crate New Technology?


                                                                                         7 (Pages 25 to 28)
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                                                   Page 33                                                    Page 35
1                                                              1
           A Normally anybody that asks us to do a                  but we didn't have any other documents to say we're
2                                                              2
       fulfillment, we would tell them it will be at least          going to renew another year until 2014, then we have
3                                                              3
       $7.50 per address.                                           another document that was drawn.
4                                                              4
           Q And in terms of the deal that you actually                 Q So in April of 2014, YTC Summit executed a
5                                                              5
       signed with Crate New Technology, "you" being YTC            new logistic distribution agreement with Create New
6                                                              6
       Summit, what were the pricing terms for that                 Technology; is that right?
7                                                              7
       distribution agreement? And if you don't recall                  A Yes.
8                                                              8
       specifically, feel free to take a look at the                    Q So from the period of February 2012 when
9                                                              9
       agreement to refresh your memory. And I'll note for          this first agreement that's Exhibit 2 was signed
10                                                             10
       the record that Mr. Chen is reviewing the agreement          until that April 2014 agreement, was YTC Summit doing
11                                                             11
       to refresh his memory.                                       fulfillment services for Create New Technology
12                                                             12
           A $7 for three and above, $4.50 for one to two           according to the terms of this 2012 agreement?
13                                                             13
       units.                                                           A Yes.
14                                                             14
           Q And what page are you looking at for those                 Q So this 2012 agreement was in effect from
15                                                             15
       numbers?                                                     effectively February of 2012 until it was subsumed by
16                                                             16
           A The very last page.                                    the April 2014 second agreement; is that correct?
17                                                             17
           Q And in fact, you're looking at 2.1 for the                 A Yes.
18                                                             18
       $4.50; correct?                                                  Q Now, going back to the terms of the
19                                                             19
           A Correct.                                               agreement, if you could flip to page 2 and look at
20                                                             20
           Q And 2.2 for the $7.                                    1.2, there's discussion here of a territory in which
21                                                             21
           A Correct.                                               YTC Summit would be doing distribution services.
22                                                             22
           Q Now, when you talk about three and above,              What territory was it?
23                                                             23
       that would be for three TVPads or more shipped to a              A United States.
24                                                             24
       single address, YTC Summit would charge a flat fee of            Q Anywhere else?
25                                                             25
       $7; is that correct?                                             A No.

                                                   Page 34                                                    Page 36
1                                                               1
          A Yes.                                                        Q If you turn to page 4, and I'll direct your
2                                                               2
          Q And any shipping of one or two units to a               attention to paragraph 3.3 that's labeled "Customer
3                                                               3
       single address would be charged $4.50; is that               Support," do you see where the agreement says,
4                                                               4
       correct?                                                     "Distributor agrees to cooperate with supplier in
5                                                               5
          A Yes.                                                    dealing with any customer complaints concerning the
6                                                               6
          Q Now, this agreement was entered into in                 products and to take any action requested by supplier
7                                                               7
       February of 2012. Was the agreement renewed at any           to resolve such complaints. Distributor also agrees
8                                                               8
       point in time?                                               to assist supplier in arranging for any customer
9                                                               9
          A Yes.                                                    warranty service"?
10                                                             10
          Q When was it renewed?                                           At any point in time, did YTC Summit address
11                                                             11
          A April 2014.                                             customer complaints or customer warranty issues on
12                                                             12
          Q Well, let me take a step back. Is this a                behalf of Create New Technology?
13                                                             13
       one-year agreement or a multiyear agreement? And                 A No.
14                                                             14
       perhaps I can assist you by directing your attention             Q Taking a step back to the background
15                                                             15
       to page 10 in section 14.1.                                  surrounding the signing of this 2012 agreement, after
16                                                             16
          A One year.                                               that initial conversation with Ms. Zhang, what
17                                                             17
          Q So the term of this agreement was from                  happened next in terms of your negotiations with
18                                                             18
       February 2012 until February of 2013; is that                Create New Technology regarding a distributorship
19                                                             19
       accurate?                                                    relationship?
20                                                             20
          A Yes.                                                        A Can you elaborate that question?
21                                                             21
          Q And then was the agreement renewed for an                   Q Sure. I know you had an initial call from
22                                                             22
       additional one-year term after that?                         Ms. Zhang. Where did the communication progress
23                                                             23
          A I know it was renewed, but in my mind has               after that point in time?
24                                                             24
       always been one year. That's why I was a little bit              A I asked her to draw up an agreement, a
25                                                             25
       surprised that this original contract was in 2012,           logistic agreement only.


                                                                                         9 (Pages 33 to 36)
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                                                  Page 37                                                     Page 39
1
           Q So during that initial conversation, you           1
                                                                        Q So what happened next? Did YTC Summit
2                                                               2
       were provided enough information by Ms. Zhang to know        immediately receive an agreement?
3
       that you wanted to have a distribution agreement with    3
                                                                        A Subsequently we received an agreement which
4                                                               4
       this company?                                                was closer to this particular format, and we kind of
                                                                5
5
           A I would like to take on that particular --             went through it striking out items that I don't see
                                                                6
6
       this particular opportunity to distribute the                fit and added whatever that was supposed to be added
                                                                7
7
       product.                                                     to this agreement.
                                                                8
8
           Q Did you do any sort of research into the                   Q And so what you ended up with was the
                                                                9
9
       company before you told Ms. Zhang to write up a              agreement that is Exhibit 2; is that correct?
                                                               10
10
       distribution agreement?                                          A Yes.
                                                               11
11
           A Over the phone she told me about TVPad.                    Q Approximately how long did that process of
                                                               12
12
           Q And what did she tell you about TVPad?                 negotiation take?
                                                               13
13
           A That it's just a little box, set-up box,                   A About a week, little bit more than a week.
                                                               14
14
       that we'll be distributing, and what clicked my mind             Q At any point during that process, did you do
                                                               15
15
       was Apple TV, so...                                          any research online about the TVPad device?
                                                               16
16
           Q Did Ms. Zhang give you any indication of the               A No.
                                                               17
17
       number of units that Create New Technology was                   Q Were you sent any examples of the device?
                                                               18
18
       shipping to the United States at that time?                      A No.
                                                               19
19
           A About a hundred units.                                     Q Did you do any research into Create New
                                                               20
20
           Q A hundred units how frequently?                        Technology's background prior to signing this
                                                               21
21
           A About a hundred units a week.                          agreement that is Exhibit 2?
                                                               22
22
           Q And did Ms. Zhang suggest that YTC Summit                  A No.
                                                               23
23
       would be the sole distributor for those                          Q After executing the agreement in
                                                               24
24
       hundred-unit-a-week shipments to the United States?          February 2012, how shortly after that time period did
                                                               25
25
           A That we would do the shipping for them, yes.           YTC Summit begin to do fulfillment services for


                                                  Page 38                                                     Page 40
 1                                                             1
           Q So all shipping?                                       Create New Technology?
 2                                                             2
           A I assumed it's all shipping.                               A I really don't remember the time frame.
 3                                                             3
           Q Did you have an exclusive relationship with                Q Was it within the same year of 2012?
 4                                                             4
       Create New Technology?                                           A Yes.
 5                                                             5
           A No.                                                        Q Can you be more precise in terms of whether
 6                                                             6
           Q Any other background information that                  it was within a month, two months, three months of
 7                                                             7
       Ms. Zhang gave you in that initial phone call prior          the signing of the agreement?
 8                                                             8
       to your request that she write up a distribution                 A I really don't remember specific dates.
 9                                                             9
       agreement?                                                       Q After YTC Summit began to do distribution
10                                                             10
           A Can you ask that question one more time?               and fulfillment services for Create New Technology
11                                                             11
           Q Did Ms. Zhang give you any other background            and that process started, was it YTC Summit's
12                                                             12
       information that led you, as YTC Summit's president,         experience that it was shipping more of the one and
13                                                             13
       to want to engage in a distribution agreement with           two devices per address or more of the three-plus
14                                                             14
       this company?                                                devices to addresses?
15                                                             15
           A Yeah, because we didn't have to spend any                  A We were doing more of the three or plus.
16                                                             16
       money stocking. All we will be doing is just to                  Q And in fact, were the shipments that YTC
17                                                             17
       collect a fee for the service that we provided.              Summit ended up doing in the 2012 to April 2014 time
18                                                             18
           Q So effectively, collect a fee just for                 period larger than three units? What was the -- let
19                                                             19
       shipping and handling and nothing else.                      me try that again.
20                                                             20
           A Yes.                                                         During this initial contract period of 2012
21                                                             21
           Q And did Ms. Zhang provide you any other                to April of 2014, what was the average size of the
22                                                             22
       information during that call that encouraged you to          shipments that YTC Summit was performing for Create
23                                                             23
       want to begin a distribution relationship with Create        New Technology?
24                                                             24
       New Technology?                                                  A It was more of a bulk shipment than
25                                                             25
           A No.                                                    individual shipment.


                                                                                       10 (Pages 37 to 40)
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 1                                                              1
           Q And when you say "bulk shipment," can you              agreement different in terms of pricing than the
 2                                                              2
       give me an idea of the numbers we're talking about?          original 2012 agreement?
 3                                                              3
           A 20 plus.                                                   A The units were raised from the one to two to
 4                                                              4
           Q Up to 500?                                             one to five units, and the price per address had been
 5                                                              5
           A Up to 200.                                             changed from $4.50 to $4.
                                                                6
 6
           Q Did YTC Summit on occasion ship one to two                 Q And then what's the flat fee for shipping
                                                                7
 7
       devices to a particular address?                             contents of five units and above?
                                                                8
 8
           A Sometimes.                                                 A For five units and above, it's $7.
                                                                9
 9
           Q Do you have an estimate as to what type of                 Q Now, this agreement is still in effect; is
                                                               10
10
       fees YTC Summit was charging Create New Technology on        that right?
                                                               11
11
       a monthly basis for its fulfillment services under               A Yes.
                                                               12
12
       this first agreement?                                            Q It's a two-year agreement; correct?
                                                               13
13
           A On a weekly basis, maybe about $50.                        A Yes.
                                                               14
14
           Q I'm going to turn for a minute to the second               Q Is YTC Summit currently doing any sort of
                                                               15
15
       agreement that you provided to us yesterday.                 fulfillment or distribution services for Create New
                                                               16
16
              I'll hand to the witness Exhibit 3, which is          Technology?
                                                               17
17
       a document entitled "Logistic Distribution Agreement"            A No.
                                                               18
18
       between Create New Technology and YTC Summit                     Q Approximately when did YTC Summit cease
                                                               19
19
       International, Inc., dated April 1, 2014.                    doing fulfillment services on behalf of Create New
                                                               20
20
              (Plaintiffs' Exhibit No. 3                            Technology?
                                                               21
21
              was marked for identification.)                           A The last shipment that we have shipped out
                                                               22
22
           Q BY MS. McCAULEY: Now, Mr. Chen, do you                 was back in -- I think end of March, beginning of
                                                               23
23
       recognize this document?                                     April.
                                                               24
24
           A Yes.                                                       Q And has Create New Technology sent you any
                                                               25
25
           Q And what is it?                                        additional shipments of TVPads since approximately


                                                  Page 42                                                       Page 44
 1                                                             1
           A This is the distribution agreement that's              that time?
 2                                                             2
       currently in its term.                                          A No.
 3                                                             3
           Q And if you could turn to the second-to-last               Q Has any other company sent you any shipments
 4                                                             4
       page, is that your signature on behalf of YTC Summit?        of TVPads since approximately that time?
 5                                                             5
           A Yes.                                                      A No.
 6                                                             6
           Q And who signed on behalf of Create New                    Q And why is it that YTC Summit is no longer
 7                                                             7
       Technology?                                                  engaging in distribution services and fulfillment
 8                                                             8
           A Fanny.                                                 services on behalf of Create New Technology?
 9                                                             9
           Q Now, the date of this agreement is April 1,               A First of all, Create New Technology has not
10                                                             10
       2014; is that correct?                                       sent any more TVPads for us to do the work.
11                                                             11
           A Yes.                                                          Second, when I had that first deposition,
12                                                             12
           Q If you'd turn to the second page at                    Annie was sorry that we got involved, so I assume
13                                                             13
       paragraph 1.2 where it lists "Territory," what was           that they just don't want to send any more pads until
14                                                             14
       the territory for this agreement?                            this whole litigation is resolved.
15                                                             15
           A The same as before.                                       Q Well, that deposition took place March 11,
16                                                             16
           Q United States?                                         2015; is that right?
17                                                             17
           A United States.                                            A Correct.
18                                                             18
           Q And again, if you turn to page 4 and you                  Q And did YTC Summit receive any additional
19                                                             19
       look at section 3.3 entitled "Customer Support," did         deliveries from Create New Technology after the date
20                                                             20
       YTC Summit ever field customer complaints or customer        of your deposition?
21                                                             21
       warranty service issues on behalf of Create New                 A No.
22                                                             22
       Technology?                                                     Q Did you have a conversation with anyone at
23                                                             23
           A No.                                                    Create New Technology about whether they would
24                                                             24
           Q If you could turn to the last page, section            continue to use YTC Summit for fulfillment services
25                                                             25
       2, "Distributor Services and Charges," how was this          for TVPad?


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                                                  Page 53                                                      Page 55
1                                                               1
       nature at the lunch?                                             A It's an ID number for each electronic
2                                                               2
           A No more business talk during lunch.                    device.
3                                                               3
           Q So in the three hours, you gave Annie a tour               Q So what would happen to the scans, MAC
4                                                               4
       and you talked about the bulk shipment situation and         numbers, from your system's perspective? What would
5                                                               5
       how YTC Summit wanted more individual shipments per          happen next to that information?
6                                                               6
       address. Any other topics during the three hours                 A That information will be translated -- will
7                                                               7
       that you discussed with her?                                 be sent back to Create New Technology's back end
8                                                               8
           A No other topics.                                       area.
9                                                               9
           Q So let's talk a minute about how the                       Q And what's the purpose of a MAC number
10                                                             10
       fulfillment process works or worked when YTC Summit          according to your understanding?
11                                                             11
       was distributing TVPads on behalf of Create New                  A That's how they can turn on or turn off a
12                                                             12
       Technology.                                                  device.
13                                                             13
              How does the process begin from your                      Q So is it necessary for Create New Technology
14                                                             14
       perspective? When YTC Summit receives a large                to know the precise MAC numbers for each device that
15                                                             15
       shipment of TVPads?                                          is being shipped to each customer?
16                                                             16
           A We will receive TVPads from Create New                     A It's important that they know we ship that
17                                                             17
       Technology in the volume of couple of hundred                particular units out --
18                                                             18
       initially to I think one time we had couple of                   Q And why is that?
19                                                             19
       thousand.                                                        A -- to a customer.
20                                                             20
           Q And would Create New Technology give YTC                   Q Why is that?
21                                                             21
       Summit any sort of advance notification of the volume            A That means they already collected the money.
22                                                             22
       of TVPads or the date of arrival of a shipment?                  Q Well, another way of thinking about it is
23                                                             23
           A No. We will get a call from the trucking               that if you track for Create New Technology the
24                                                             24
       company that they are delivering some shipment to us         particular MAC number of the devices you ship to a
25                                                             25
       and that's it.                                               particular customer, Create New Technology then knows

                                                  Page 54                                                      Page 56
 1                                                             1
           Q And once the shipment is delivered, what               that those particular devices are in the hands of a
 2                                                             2
       happens to it?                                               particular customer and has the ability to turn them
 3                                                             3
           A We would put it in a pallet spot, and pretty           on; is that correct?
 4                                                             4
       much that's it.                                                  A No. I think knowing the MAC number went out
 5
           Q So once the inventory is located in YTC           5
                                                                    of our office meaning that particular device they
 6
       Summit's warehouse, what happens next in the            6
                                                                    collected the money. The one that still sits in my
 7
       fulfillment process?                                    7
                                                                    office meaning it hasn't get turned on or it hasn't
 8
           A Create New Technology will send shipping          8
                                                                    got paid; therefore --
 9
       instructions, and --                                    9
                                                                        Q Is that an inventory control process?
10
           Q What would those shipping instructions            10
                                                                        A It's more of -- for them it will be a good
11
       provide in terms of information to YTC Summit?          11
                                                                    inventory control process plus if anybody took a box
12
           A Name, address, shipping amount, and what to       12
                                                                    from my warehouse, they wouldn't be able to turn it
13
       ship.                                                   13
                                                                    on, so it's a useless piece of electronics.
14
           Q And who would receive those shipping              14
                                                                        Q So it's in a way -- transmission of the MAC
15
       instructions at YTC Summit?                             15
                                                                    number to Create New Technology is a security feature
16
           A Yvonne.                                           16
                                                                    to make sure that their products aren't stolen.
17
           Q And how would she receive the shipping            17
                                                                        A One, it's not stolen. Second, means they
18
       instructions?                                           18
                                                                    ask us to ship 10 units. We're telling them these 10
19
           A E-mail.                                           19
                                                                    units are shipped. In their system that means that
20
           Q And then what would happen next upon receipt      20
                                                                    10 units are the ones that's been paid for;
21
       of shipping instructions from Create New Technology?    21
                                                                    therefore, it could be turned on.
22
           A They will be sent to the packing area, it         22
                                                                        Q Fair enough.
23
       will get packed, and we will scan all of the MAC        23
                                                                           And the relay of the MAC number information
24
       numbers for that particular shipment.                   24
                                                                    to Create New Technology also helps them identify how
25
           Q And what is a MAC number?                         25
                                                                    much product YTC Summit had in stock in its warehouse


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                                                  Page 57                                                      Page 59
1                                                               1
       at any given time; is that right?                            Create New Technology knew that YTC Summit had acted
2                                                               2
           A Yes.                                                   on the shipping instructions Create New Technology
3                                                               3
           Q So if, for example, YTC Summit was running             had sent?
4                                                               4
       low on product, Create New Technology would know that           A There's a tracking number once it's been
5                                                               5
       they would have to ship more TVPads with new MAC             processed, and Yvonne would relay that tracking
6                                                               6
       numbers to YTC Summit; is that right?                        number back to Create New Technology along with the
7                                                               7
           A Yes.                                                   MAC number.
8                                                               8
           Q And just to be clear, every MAC number is a               Q Any other information Yvonne would provide
9                                                               9
       unique identifying number; correct?                          other than the tracking number for the shipping and
10                                                             10
           A Yes.                                                   the MAC numbers?
11                                                             11
           Q So in other words, a device -- strike that.               A No.
12                                                             12
             So in other words, there would not be two                 Q The UPS account or FedEx account that YTC
13                                                             13
       identical MAC numbers out there in the world.                Summit used to ship these devices on behalf of Create
14                                                             14
           A Shouldn't be.                                          New Technology, was that a YTC Summit account or did
15                                                             15
           Q I think my colleague, Mr. Koonce, likened it           the accounts or UPS and FedEx belong to Create New
16                                                             16
       to a vehicle identification number for a car. It's a         Technology?
17                                                             17
       similar concept; is that right?                                 A That is a Create New Technology account.
18                                                             18
           A Yes.                                                      Q And did Create New Technology provide that
19                                                             19
           Q So when the shipping department in YTC                 UPS account and FedEx account information to YTC
20                                                             20
       Summit gets the order instructions for the TVPads,           Summit?
21                                                             21
       what would they, then, do to ship those devices out?            A Yes.
22                                                             22
           A Can you ask that question one more time?                  Q Did Create New Technology have YTC Summit
23                                                             23
           Q So Yvonne receives instructions from Create            use any other shipping company other than UPS or
24                                                             24
       New Technology. She would then relay those                   FedEx?
25                                                             25
       instructions to -- I'm sorry, to the packing                    A Only UPS, not even FedEx.

                                                  Page 58                                                      Page 60
1                                                               1
       department and back. What would the packing                     Q Did YTC Summit ever use DHL Express for
2                                                               2
       department do aside from scanning the MAC numbers for        purposes of shipping?
3                                                               3
       that shipment?                                                  A YTC would use DHL before for our own product
4                                                               4
           A They will weigh the boxes and also take a              but not for Concrete New Design.
                                                                5
5
       measurement of that particular box.                             Q And when you say Concrete New Design, you
                                                                6
6
           Q And what would they do with that                       mean Create New Technology?
                                                                7
7
       information?                                                    A Or Create New Technology.
                                                                8
8
           A That information will come back to Yvonne.                Q So for purposes of YTC Summit's fulfillment
                                                                9
9
           Q And then what would Yvonne do with that                relationship with Create New Technology, the only
                                                               10
10
       information?                                                 shipping service it used was UPS for all TVPads
                                                               11
11
           A That would have to be inputted into the UPS            delivered in the United States; is that right?
                                                               12
12
       system or FedEx system so that they will generate a             A Yes.
                                                               13
13
       shipping label, proper charges will be charged for              Q And were all of the shipments that YTC
                                                               14
14
       that particular shipment.                                    Summit ultimately did for Create New Technology
                                                               15
15
           Q And then what would Yvonne do with the                 shipments to addresses in the United States?
                                                               16
16
       shipping label?                                                 A I think 99 percent of the time it's to
                                                               17
17
           A She would place it onto the -- each                    United States, but I know of one shipment that went
                                                               18
18
       particular shipment, and UPS will pick it up at the          to Guam that I know of.
                                                               19
19
       end of the day.                                                 Q Anything else outside of the 50 states of
                                                               20
20
           Q Now, would Yvonne do anything to input                 the United States that you are aware of?
                                                               21
21
       information to Create New Technology regarding                  A That's the only one I am aware of.
                                                               22
22
       effectuating the distribution of the products in                Q Once the product was shipped by UPS, would
                                                               23
23
       accordance with the shipping instructions?                   YTC Summit receive any sort of notifications from UPS
                                                               24
24
           A Can you ask that question again?                       that shipment was complete?
                                                               25
25
           Q What would Yvonne do to make sure that
                                                                       A When the shipment gets delivered, we will


                                                                                        15 (Pages 57 to 60)
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                                                   Page 65                                                     Page 67
1                                                              1
       sells and imports from China into its U.S. warehouse;        GreatVision Network Technology or -- how do you
2                                                              2
       right?                                                       pronounce -- sorry, I'm going to destroy it -- Qi --
3                                                              3
          A Correct.                                                    A Qi something. I don't even remember.
4                                                              4
          Q And then what happens to those designs after                Q Okay. So Create New Technology either is
5                                                              5
       they're created on the computer?                             Create New Technology or GreatVision Network
6                                                              6
          A They are being sculpted in China.                       Technology or Qichaung International?
7                                                              7
          Q And what company in China is responsible for                A Yes.
8                                                              8
       the sculpting?                                                   Q Any other names that that business has gone
9                                                              9
          A The production of these companies will do               by when you've been dealing with people from that
10                                                             10
       the sculpting.                                               company?
11                                                             11
          Q So either the Yonglung or the Duke company                  A I have heard of the three different names.
12                                                             12
       would do any sort of resin figurine sculpting?               The Qi, Q-i whatever, that name, the Create New
13                                                             13
          A They would do a clay sculpting.                         Technology, and then GreatVision.
14                                                             14
          Q And is the clay then the model from which                   Q Any others?
15                                                             15
       the final product is built?                                      A No. They might have others, but I have no
16                                                             16
          A Then based upon the clay, they would cast a             idea. In China, these companies will have tons of
17                                                             17
       mold, a production mold, and do the production.              different names.
18                                                             18
          Q Does any other company have sculpting                       Q And why is that?
19                                                             19
       responsibilities for YTC Summit in China?                        A No idea.
20                                                             20
          A No.                                                         Q Do you know how CNT was shipping its
21                                                             21
          Q Is that a no?                                           products in the United States before YTC Summit began
22                                                             22
          A No.                                                     its distributorship relationship with them?
23                                                             23
          Q Do you own any other companies in the United                A Probably DHL.
24                                                             24
       States other than YTC Summit?                                    Q Do you know that for a fact or are you
25                                                             25
          A Partnership? Is that considered a company?              guessing?

                                                   Page 66                                                     Page 68
1                                                               1
           Q Yes.                                                       A Guessing.
2                                                               2
           A Yes.                                                       Q Do you know whether CNT was using a
3                                                               3
           Q What other companies do you have either a              different distribution company prior to its
4                                                               4
       shareholder or -- strike that.                               arrangement with YTC Summit for shipments in the
5                                                               5
              What other companies do you have a                    U.S.?
6                                                               6
       partnership relationship in in the United States?                A I don't think so.
7                                                               7
           A TVS Holding.                                               Q Do you know?
8                                                               8
           Q And what is TVS Holding responsible for?                   A I don't know.
9                                                               9
           A Real estate.                                               Q Which TVPad devices did YTC Summit
10                                                             10
           Q Any other companies in which you have a                distribute on behalf of CNT, Create New Technology?
11                                                             11
       substantial ownership interest in the United States?         Do you know the device numbers?
12                                                             12
           A No other.                                                  A No, I don't.
13                                                             13
           Q What about outside of the U.S.? Do you have                Q How did YTC Summit access Create New
14                                                             14
       any ownership interest in other entities outside of          Technology's shipping information?
15                                                             15
       the U.S. other than YTC Summit and TVS Holdings?                 A There's a back-end platform.
16                                                             16
           A No.                                                        Q And what do you mean by a back-end platform?
17                                                             17
           Q Has YTC Summit ever done business with Hua                 A It's a port that they open specifically that
18                                                             18
       Yang International Technology, Limited?                      YTC can log in and send the information in.
19                                                             19
           A Never heard of that company name.                          Q So is it an Internet-based port that YTC
20                                                             20
           Q And what about Qichaung International,                 Summit could access to input information?
21                                                             21
       Q-i-c-h-a-u-n-g International?                                   A Yes.
22                                                             22
           A That's the company, I think, that we know of               Q Was it password protected?
23                                                             23
       like it's the same company as Create New Technology.             A Yes.
24                                                             24
       It's the same company.                                           Q And who provided that port location
25                                                             25
           Q So Create New Technology either goes by                information to YTC Summit?


                                                                                       17 (Pages 65 to 68)
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                                                  Page 73                                                       Page 75
1                                                              1
          A Not to the levels that I'm looking for.                 that meeting in China, and you testified that you had
2                                                              2
          Q And what levels were you looking for?                   that meeting about a year prior to your deposition in
3                                                              3
          A I was looking for that we don't ship bulk,              March of 2015. Do you have any basis to dispute that
4                                                              4
       we're shipping individual.                                   today?
5                                                              5
          Q And what were the levels that you were                      A No.
6                                                              6
       looking for?                                                     Q Is it possible that your recollection from
7                                                              7
          A That at least I'm shipping 50 to a hundred              several months ago is more accurate than it is
8                                                              8
       orders.                                                      sitting here today?
9                                                              9
          Q In what time period?                                        A Possibly.
10                                                             10
          A In a week.                                                  Q What was the purpose of the visit to Create
11                                                             11
          Q Did you express that to Fanny or anyone else            New Technology's offices in China?
12                                                             12
       at Create New Technology before signing the 2014                 A I have never visited them. They invited me
13                                                             13
       agreement that those were the numbers you were               in China when I was there, so -- and I felt it would
14                                                             14
       looking to be shipping?                                      be a short trip.
15                                                             15
          A I told Fanny.                                               Q Why did you feel it would be a short trip?
16                                                             16
          Q And what was Fanny's response?                              A Because it was about an hour away from where
17                                                             17
          A She will try to give us that individual                 I am.
18                                                             18
       orders.                                                          Q And where were you at the time?
19                                                             19
          Q When after signing the 2014 agreement Create                A I was in Dongguan city.
20                                                             20
       New Technology did not end up providing YTC Summit               Q And where was the meeting at Create New
21                                                             21
       with 50 to a hundred orders to individual addresses          Technology's offices?
22                                                             22
       as you had requested, did you talk to anybody at                 A They're in Shenzhen.
23                                                             23
       Create New Technology about that?                                Q Do you recall the address?
24                                                             24
          A No.                                                         A No, I don't.
25                                                             25
          Q You never mentioned it.                                     Q Can you describe the building where the

                                                  Page 74                                                       Page 76
 1                                                             1
           A I have not mentioned it.                               meeting took place in ShenZhen?
 2                                                             2
           Q Prior to signing the 2014 agreement, did you               A It's an office building in a business park.
 3                                                             3
       take a trip to China to visit Create New Technology's            Q Did Create New Technology have the entire
 4                                                             4
       offices?                                                     office?
 5                                                             5
           A Can you ask that question one more time?                   A They had the entire building.
 6                                                             6
           Q Well, have you ever visited Create New                     Q And about how big was the building, how many
 7                                                             7
       Technology's offices in China?                               stories tall?
 8                                                             8
           A Yes, I have.                                               A About three stories.
 9                                                             9
           Q Do you recall the approximate time period                  Q Did it appear that there was manufacturing
10                                                             10
       when that visit occurred?                                    done at that location?
11                                                             11
           A About two years ago.                                       A No.
12                                                             12
           Q So in 2013?                                                Q What was done at that location, to your
13                                                             13
           A 2013.                                                  knowledge?
14                                                             14
           Q Was it a time period immediately before                    A Mainly technical, clerical.
15                                                             15
       signing the 2014 agreement?                                      Q What about customer service?
16                                                             16
           A It was before, but I'm not too sure -- it                  A Customer service --
17                                                             17
       was either in March, April time frame or September,              Q Anything else?
18                                                             18
       October time frame. That's the only time I go to                 A -- also.
19                                                             19
       China.                                                             That's about it.
20                                                             20
           Q So your visit to Create New Technology's                   Q Was this building located in a nice area of
21                                                             21
       offices in China would either have been March, April         ShenZhen?
22                                                             22
       of 2014 or September, October of 2013; is that right?            A Yeah.
23                                                             23
           A Not in 2014, but 2013.                                     Q Was the area an area typical for
24                                                             24
           Q Now, when you were deposed in March of 2015,           manufacturing or professional offices or can you
25                                                             25
       you were asked that same question about the date of          describe the general vicinity where it's located?


                                                                                        19 (Pages 73 to 76)
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                                                   Page 97                                                     Page 99
1                                                               1
       know whether she's referring to the orders that you             Q Can you be more specific about what you
2                                                               2
       could expect to receive once you adjusted your               mean?
3                                                               3
       pricing?                                                        A The fee that we end up charging them per
4                                                               4
           A I'm assuming.                                          address wasn't significantly up.
5                                                               5
           Q Did you have an understanding of whether the              Q And so if YTC Summit had started receiving
6                                                               6
       600 orders she mentions here are specifically for the        more orders in the one to five order range, you would
7                                                               7
       U.S. market?                                                 have expected the fees to be higher; is that right?
8                                                               8
           A I would assume bulk of it will be for the                 A Yes.
9                                                               9
       U.S. market because we're only talking about U.S.               Q Is it fair to say that CNT was not using YTC
10                                                             10
       market.                                                      Summit for all of its shipments into the United
11                                                             11
           Q Aside from an assumption, do you have an               States?
12                                                             12
       understanding based on any information given to you             A Yes.
13                                                             13
       by Create New Technology that they were shipping 600            Q Do you have any sense about what percentage
14                                                             14
       orders a month to the U.S. for orders of one to five         of Create New Technology's shipments that it was
15                                                             15
       units?                                                       using YTC to ship as opposed to shipping using other
16                                                             16
           A Can you ask that question one more time?               distributors or other postal services direct from
17                                                             17
           Q I'll strike that.                                      China?
18                                                             18
              If you look at the topmost portion of the                A I think they're doing from China directly
19                                                             19
       e-mail right underneath where it says, "Hi Steven,"          probably about 90 percent, and we were only getting
20                                                             20
       what does Fanny say to you there in the first line?          the 10 percent or maybe even less.
21                                                             21
           A Says, "How are you? Our suggestion is one                 Q And on what do you base those numbers?
22                                                             22
       to five and the fees to be $4 and five and above to             A Just based upon if there's a hundred orders,
23                                                             23
       be $7 and can we try to use this and try it and then         we're not shipping hundred orders a week.
24                                                             24
       if there's anything that needs to be adjusted we can            Q How many shipments a week was YTC Summit
25                                                             25
       talk about this later."                                      doing?

                                                   Page 98                                                    Page 100
1                                                              1
          Q And that's ultimately what YTC Summit ended                 A Twenty or maybe even less.
2                                                              2
       up doing in terms of the pricing in the 2014                     Q And the hundred orders, where do you get
3                                                              3
       contract; is that right?                                     that number from?
4                                                              4
          A Yes.                                                        A Based upon exactly what they were telling me
5                                                              5
          Q Do you know why there was a delay from                  initially.
6                                                              6
       October 2013 to April of 2014 before that new pricing            Q And what was it that Create New Technology
7                                                              7
       was implemented in the second agreement?                     told you initially about the volume they were
8                                                              8
          A Can you ask that question one more time?                shipping to the U.S.?
9                                                              9
          Q Why was there a delay from the date of this                 A They were talking about, at least, a hundred
10                                                             10
       e-mail in October of 2013 to actually implementing           units a week and more.
11                                                             11
       this new pricing that they suggested in April of                 Q And what YTC Summit ended up shipping was in
12                                                             12
       2014?                                                        the range of 20 on average?
13                                                             13
          A Because our contract was still in place.                    A On average.
14                                                             14
          Q The February 2012 contract was still in                     Q Sometimes less?
15                                                             15
       place.                                                           A Sometimes less. We're talking only
16                                                             16
          A Yes.                                                    addresses, not units, because I only care about
17                                                             17
          Q After the e-mails here in October of 2013,              addresses.
18                                                             18
       did YTC Summit begin to receive significant numbers              Q So your 20 shipments a week might have been
19                                                             19
       of orders in the one to five unit range?                     anywhere from 20 to a hundred to a thousand units.
20                                                             20
          A Not significantly.                                          A Exactly.
21                                                             21
          Q Was there an increase in the number of                      Q But Create New Technology, then, if you take
22                                                             22
       orders in the one to five unit range?                        their hundred a week average, was shipping 80 of the
23                                                             23
          A Not that I can remember. The numbers just               one to five unit range.
24                                                             24
       didn't -- the service fee that we collect on them                A Exactly.
25                                                             25
       wasn't there.                                                    Q To the U.S.


                                                                                     25 (Pages 97 to 100)
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                                                 Page 101                                                     Page 103
 1                                                             1
           A Yes.                                                   photograph of the labeling on two of the cartons, the
 2                                                             2
           Q And bypassing YTC Summit for purposes of               empty cartons that were sitting in your office if you
 3                                                             3
       that distribution; is that correct?                          recollect.
 4                                                             4
           A Yes.                                                      A Yes.
 5                                                             5
           Q And they never explained to you why they                  Q He did that in your presence; correct?
 6                                                             6
       were doing that themselves as opposed to using YTC              A Yes.
 7                                                             7
       Summit?                                                         Q And if you could refer to the first page of
 8                                                             8
           A No.                                                    Exhibit 12, this is a photograph of the packaging
 9                                                             9
           Q But in the October communication that they             labeling on one of those empty cartons. Is that
10                                                             10
       had with you marked as Exhibit 11, they did suggest          right?
11                                                             11
       that the handling fees YTC Summit was charging were             A Yes.
12                                                             12
       too high; is that right?                                        Q Now, the date for this is 2015-01-22. Do
13                                                             13
           A They suggested that.                                   you see that?
14                                                             14
           Q Did they ever suggest that that was the                   A Yes.
15                                                             15
       reason Create New Technology was not using YTC Summit           Q Does that indicate to you the date when this
16                                                             16
       for those additional one to five unit shipments?             particular carton of 20 TVPad units was delivered to
17                                                             17
           A It's an excuse that they will use not giving           YTC Summit?
18                                                             18
       me the one to two units that we're seeking.                     A It's probably the date that they ship it to
19                                                             19
           Q When YTC Summit received shipments of TVPads           YTC Summit.
20                                                             20
       from Create New Technology, how were those devices              Q And if you look below on that label, what
21                                                             21
       packaged when you received them in your warehouse?           are all these MAC numbers here?
22                                                             22
           A They're packaged in a box ready to be                     A It represents the units that's in there,
23                                                             23
       shipped just like when you buy an iPhone.                    individual units.
24                                                             24
           Q And were those particular devices combined                Q And so when you were talking before about
25                                                             25
       in a carton?                                                 the MAC numbers and scanning the MAC numbers, these

                                                 Page 102                                                     Page 104
 1                                                              1
          A There are 20 boxes in a carton.                         are the MAC numbers for the devices that used to be
 2                                                              2
          Q So there are 20 individual TVPad units in a             in this carton; is that right?
 3                                                              3
       carton?                                                          A Yes.
 4                                                              4
          A Yes.                                                        Q If you turn the page to the next page,
                                                                5
 5
          Q And so when the products would be received              you'll see that the date on this carton is
                                                                6
 6
       at YTC Summit's warehouse, were they all packaged            2015-02-07. Do you see that?
                                                                7
 7
       together 20 per carton and the cartons themselves                A Yes.
                                                                8
 8
       were sealed?                                                     Q And again, your understanding would be that
                                                                9
 9
          A Yes.                                                    would be the date this particular carton was shipped
                                                               10
10
          MS. McCAULEY: Let me mark as Exhibit 12 a                 to YTC Summit by Create New Technology; is that
                                                               11
11
       couple of different photographs.                             right?
                                                               12
12
             (Plaintiffs' Exhibit No. 12                                A Yes. It could be a manufacturing date, the
                                                               13
13
             was marked for identification.)                        date that they generated these labels.
                                                               14
14
          Q BY MS. McCAULEY: Now, when we were in your                  Q And again, this also lists a quantity of 20
                                                               15
15
       warehouse yesterday, do you recall that you showed us        units for this particular cardboard carton; is that
                                                               16
16
       the location in the warehouse where the TVPad cartons        correct?
                                                               17
17
       used to be stored at your facility; correct?                     A Yes.
                                                               18
18
          A Correct.                                                    Q And unique identifying MAC numbers are
                                                               19
19
          Q And if you recall, there were two empty                 listed on the label on the exterior; is that right?
                                                               20
20
       carton boxes in that location; correct?                          A Yes.
                                                               21
21
          A Yes.                                                        Q What would you estimate the approximate size
                                                               22
22
          Q Does YTC Summit have any remaining TVPad                of the TVPad device when it's boxed in its official
                                                               23
23
       products in its warehouse?                                   packaging would be?
                                                               24
24
          A No.
                                                                        A 10 by 10, about 3 inches in height.
                                                               25
25
          Q And so if you'll recall, my colleague took a
                                                                        Q So they're pretty small devices.


                                                                                   26 (Pages 101 to 104)
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                                                Page 105                                                      Page 107
1                                                              1
           A Yes.                                                   consistent with your memory of when Create New
2                                                              2
           Q Probably about the equivalent of an Apple TV           Technology shipped TVPad products to YTC Summit?
3                                                              3
       product; right?                                                  A Yes.
4                                                              4
           A Yes.                                                       Q And I take it that YTC Summit received
5                                                              5
           Q Do you have any records at YTC Summit that             additional shipments from Create New Technology after
6                                                              6
       would indicate the total number of cartons and/or            this October 2nd, 2014, date; is that right?
7                                                              7
       TVPad units that had been shipped to YTC Summit from             A Yes.
8                                                              8
       Create New Technology?                                           Q Do you have any knowledge of the frequency
9                                                              9
           A I don't.                                               with which YTC Summit received shipments from Create
10                                                             10
           Q And other than what you handed us today and            New Technology after October 2014?
11                                                             11
       yesterday, does YTC Summit have any records of the               A Probably got couple of more shipments.
12                                                             12
       total number of TVPad units that it has shipped over             Q Only a couple?
13                                                             13
       the lifetime of its agreement with Create New                    A I wouldn't...
14                                                             14
       Technology to customers in the United States?                    Q Could it be more than that?
15                                                             15
           A I don't have that record.                                  A Could be.
16                                                             16
           MS. McCAULEY: I'm going to mark as Exhibit 13 a              Q In fact, in March of 2015, YTC Summit
17                                                             17
       document which is a summary of import house customs          received a shipment of 2000 TVPads; is that right?
18                                                             18
       records.                                                         A March '15?
19                                                             19
              (Plaintiffs' Exhibit No. 13                               Q Yes.
20                                                             20
              was marked for identification.)                           A No. It was before that.
21                                                             21
           Q BY MS. McCAULEY: I'll represent to you that                Q Do you know when?
22                                                             22
       this is a printout of a bill of lading summary from              A We probably received it February. That was
23                                                             23
       custom records.                                              the last shipment we got --
24                                                             24
              If you could look on the second page, are                 Q And --
25                                                             25
       you familiar with Metro Vista Inc. in Alhambra?                  A -- and nothing else after that.

                                                Page 106                                                      Page 108
 1                                                              1
          A No.                                                         Q And what about in January?
 2                                                              2
          Q Now, if you look on the entry immediately                   A I think in January we got couple of hundred
 3                                                              3
       above that on December 1st, 2013, do you see where it        pieces, and that was it.
 4                                                              4
       says "YTC Summit International"?                                 Q Now, in terms of the February 2015 shipment,
 5                                                              5
          A Yes.                                                    YTC Summit does not have any more of those devices in
 6                                                              6
          Q And do you see the address adjacent to it in            its warehouse; is that right?
 7                                                              7
       Arcadia?                                                         A That was the last shipment.
 8                                                              8
          A Yes.                                                        Q All of those devices were shipped to
 9                                                              9
          Q That is YTC Summit's address; correct?                  customers in the United States and Guam; isn't that
10                                                             10
          A Yes.                                                    correct?
11                                                             11
          Q Now, if you continue on towards the end of                  A Only in United States, not Guam. Guam was
12                                                             12
       that column, do you see where it says "200 cartons"?         much prior.
13                                                             13
          A Yes.                                                        Q How much did Create New Technology pay to
14                                                             14
          Q Do you know if YTC Summit received shipments            YTC Summit in 2015 for its fulfillment services
15                                                             15
       from Create New Technology prior to December 1st,            specifically?
16                                                             16
       2013?                                                            A That I'm not too sure. I don't -- I
17                                                             17
          A I think we probably did.                                don't -- I know the number's not there, so that to me
18                                                             18
          Q Do you have any records of shipments that               really doesn't matter.
19                                                             19
       YTC Summit would have received in its offices that               Q Would you need to keep track of that for tax
20                                                             20
       would contradict this bill of lading summary?                purposes?
21                                                             21
          A No.                                                         A We keep track of it, of course, our
22                                                             22
          Q If you could take a quick moment to look                accounting does, but I don't look at those numbers
23                                                             23
       through these totals, do these numbers representing          specifically.
24                                                             24
       shipments of anywhere from 11 cartons to 200 -- 10 or            Q How does accounting keep track of the total
25                                                             25
       50 cartons of TVPads and the dates, are these                amounts that Create New Technology has paid YTC


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                                                Page 125                                                      Page 127
1                                                              1
       New Technology aside from receipt of this shipping           the second deposition. After the first one, I'm
2                                                              2
       file and shipping instructions about this shipment to        already going I don't need to go through this.
3                                                              3
       the Oakland, California address on April 15th?                   Q Did you ask Create New Technology to
4                                                              4
           A No.                                                    reimburse you in any way for your time spent in
5                                                              5
           Q Did you have any communications with Create            deposition and handling discovery requests related to
6                                                              6
       New Technology aside from receipt of this shipping           their legal issues?
7                                                              7
       instruction e-mail about the shipments of these last             A No.
8                                                              8
       three orders on April 16, 2015?                                  Q Did you ask them for payment of any money of
9                                                              9
           A No.                                                    any type?
10                                                             10
           Q Did anyone at YTC Summit other than you have               A No.
11                                                             11
       communications with Create New Technology about these            Q Did you request that Create New Technology
12                                                             12
       last two shipments?                                          increase the number of single orders that YTC Summit
13                                                             13
           A No.                                                    would begin shipping as compensation for the fact
14                                                             14
           Q Did you ever contemplate after not receiving           that you were having to respond to subpoenas?
15                                                             15
       subsequent shipments from Create New Technology that             A No.
16                                                             16
       you would sue them for breach of contract for failing            Q Did Create New Technology communicate to you
17                                                             17
       to abide by your contract for distribution?                  at any point in time that they would increase the
18                                                             18
           A I don't know if I have a basis to sue them             number of single shipment orders made through YTC
19                                                             19
       because we never talked about how many units we have         Summit as compensation for the fact that you were
20                                                             20
       to ship or I have to receive minimum dollar amount           being inconvenienced by being deposed in these cases?
21                                                             21
       for service that's been provided.                                A No.
22                                                             22
           Q I guess that's a slightly different answer                 MS. McCAULEY: Mark as Exhibit 15 a binder of
23                                                             23
       than the question that I asked.                              documents with a label reading "Qi," which is just
24                                                             24
              The question that I asked is when you                 spelled Q-i, Chuang, which is spelled, C-h-u-a-n-g,
25                                                             25
       realized that YTC Summit is shipping out massive             Technology.

                                                Page 126                                                      Page 128
1                                                              1
       quantities of TVPads in the April time period wiping                (Plaintiffs' Exhibit No. 15
2                                                              2
       out the inventory in the YTC Summit warehouse and YTC               was marked for identification.)
3                                                              3
       Summit at the same time was not receiving any                    Q BY MS. McCAULEY: So, Mr. Chen, I recognize
4                                                              4
       additional shipments and yet you had a contract for          this is a black-and-white copy of the binder that you
                                                               5
5
       distribution through April of 2016, did you                  provided to us yesterday.
                                                               6
6
       contemplate pursuing a breach of contract action                    Taking a minute to kind of flip through
                                                               7
7
       against them? Is that something you thought about?           it -- and the original that we are returning to you
                                                               8
8
          A No.                                                     is adjacent to you as well if you want to compare --
                                                               9
9
          Q Why not?                                                but can you just confirm generally speaking what the
                                                               10
10
          A Suing someone is never on top of my mind.               contents of this binder include?
                                                               11
11
          Q And you didn't call them and question them                  A UPS billings, custom brokers' fees. It's
                                                               12
12
       why they weren't sending any additional shipments?           various documents of the shipments.
                                                               13
13
          A No.                                                         Q And who was the custodian of this particular
                                                               14
14
          Q So to this day, you have no idea why they               binder of documents?
                                                               15
15
       stopped?                                                         A Jennifer Chen.
                                                               16
16
          A I have -- I could speculate why they                        Q And as the office manager for YTC Summit,
                                                               17
17
       stopped.                                                     did she maintain this binder of documents?
                                                               18
18
          Q Is there a reason you didn't want to at                     A Yes.
                                                               19
19
       least have a conversation with them about the precise            Q Now, there's a bunch of date tabs included
                                                               20
20
       reasons why as opposed to relying on speculation?            with paperwork filed under January through I think
                                                               21
21
          A I have no reason to ask for more.                       it's about March or April. Do you see that?
                                                               22
22
          Q Why is it that you have no reason to ask for                A Yes. She does that.
                                                               23
23
       more?                                                            Q What was that?
                                                               24
24                                                                      A Yes.
          A They're in trouble, I'm getting                    25
25                                                                      Q Is that something that she does as a matter
       inconvenienced going through depositions, and this is


                                                                                   32 (Pages 125 to 128)
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                                                Page 129                                                      Page 131
 1                                                             1
       of course to maintain account records for customers?         the 2015 time period, she was maintaining this binder
 2                                                             2
           A Yes.                                                   as documents were received by YTC Summit in the
 3                                                             3
           Q And has Jennifer maintained binders of YTC             ordinary course of business; is that accurate?
 4
       Summit records as a matter of course since the          4
                                                                        A Yes.
 5
       beginning of the relationship, the distribution         5
                                                                        Q Now, we talked before about the fact that
 6
       relationship with Create New Technology?                6
                                                                    the name on the binder, Qi Chuang Technology, is one
 7
           A I would think she would keep the records,         7
                                                                    of the names for Create New Technology; is that
 8
       and then after a certain amount of time, then they      8
                                                                    correct?
 9
       will be probably shredded or destroyed.                 9
                                                                        A Yes.
10
           Q My question is a little different.                10
                                                                        Q Now, if I could have you flip to about the
11
              My question is did Jennifer, as a matter of      11
                                                                    sixth page that reads on the top "Commercial Invoice"
12
       course, maintain binders such as the one that has       12
                                                                    dated May 6, 2014, right after the blue page. Two
13
       been marked as Exhibit 15 where records relating to     13
                                                                    pages after the blue page.
14
       the Create New Technology business and fulfillment      14
                                                                          Now, do you see on the top it says "Create
15
       agreement would be collated?                            15
                                                                    New E-commerce (SZ) Co. Ltd"?
16
           A Yes.                                              16
                                                                        A Yes.
17
           Q And what we have here, if I understand it,        17
                                                                        Q Do you recognize that business name?
18
       would be records from the 2015 time period; is that     18
                                                                        A No.
19
       correct?                                                19
                                                                        Q Is that Create New Technology?
20
           A Correct.                                          20
                                                                        A I would think so.
21
           Q So this does not include records from 2014.       21
                                                                        Q Do you know this address, Virtual University
22
           A No.                                               22
                                                                    Park of Hi-Tech Industrial Park, Gao Xin, South Road
23
           Q And it does not include records from 2013.        23
                                                                    No. 4 in ShenZhen, China?
24
           A No.                                               24
                                                                        A I don't know the -- I've never remembered
25
           Q And it does not include records from 2012.        25
                                                                    the Chinese address.

                                                Page 130                                                      Page 132
 1                                                              1
           A No.                                                       Q Do you know who Li Ping Chen is?
 2                                                              2
           Q Do you know whether she maintained binders                A No.
 3                                                              3
       for those years?                                                Q What was shipped, according to this invoice,
 4                                                              4
           A I'm not sure for that, but we started to               to YTC Summit?
 5                                                              5
       keep all the records and went back and searched for             A 200 remote controls, 4,800 TF cards.
 6                                                              6
       all the records after we had the deposition because             Q And then if you --
 7                                                              7
       we were told try to keep all the records as much as I           MR. KOONCE: Off the record for just a second.
 8                                                              8
       can, so Jennifer will do it and Yvonne will do it.                  (Discussion held off the record.)
 9                                                              9
           Q So did you produce this binder of documents               MS. McCAULEY: Back on the record.
10                                                             10
       to Jones Day?                                                   Q Let me take you a step back to the e-mail
11                                                             11
           A No.                                                    just after that first blue sheet dated May 8th, 2014.
12                                                             12
           Q And yet you were compiling it ever since                  A Okay.
13                                                             13
       receipt of the subpoena?                                        Q Is this an e-mail that YTC Summit received
14                                                             14
           A Ever since that particular subpoena when I             from Create New Technology?
15                                                             15
       went back and said keep all the documents and file              A Yes.
16                                                             16
       them, and they're all together.                                 Q Who is duy@sh-ykkj.com?
17                                                             17
           Q My question is maybe a little bit different               A One of their staff.
18                                                             18
       which is as a matter of business practice, did                  Q Do you know the name of the person?
19                                                             19
       Jennifer, prior to receiving the subpoena, keep a               A At the bottom it says Duy --
20                                                             20
       binder like this with documents relating to the Qi              Q Is there a last name?
21                                                             21
       Chuang Technology/Create New Technology?                        A -- in Chinese.
22                                                             22
           A Previously maybe not.                                         Last name Du, D-u.
23                                                             23
           Q Do you know?                                              Q First name Duy or is it something else?
24                                                             24
           A I don't.                                                  A No, first name in Chinese Ying.
25                                                             25
           Q Okay. But as far as you know, at least for                Q Ying?


                                                                                    33 (Pages 129 to 132)
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                                                Page 137                                                    Page 139
 1                                                              1
       remote controls -- do you see that?                              A I don't know.
 2                                                              2
          A Um-hum.                                                     Q Is the e-mail for Cass Lu luph@gvtv.com.cn?
 3                                                              3
          Q -- was it the practice of YTC Summit to                     A Yes.
 4                                                              4
       always ship a remote control with the TVPad device?              Q I'm going to ask you to flip through several
 5                                                              5
          A Only when they ask us to add additional                 more pages to the shipping label that's sideways.
 6                                                              6
       remote control.                                              And do you see the address on the "from" on this
 7                                                              7
          Q So unlike the TF card, it was not something             shipping label?
 8                                                              8
       that you always had to include in the shipment?                  A Yes.
 9                                                              9
          A No.                                                         Q Do you recognize that address?
10                                                             10
          Q Let's make sure we don't have a double                      A No.
11                                                             11
       negative.                                                        Q Do you know what was being shipped to you?
12                                                             12
              In contrast to the TF card, which you were                A No.
13                                                             13
       required to put one TF card per TVPad in the                     Q Well, the contents say "set top box, 1 set"
14                                                             14
       shipment, it was not always the case that the remote         in February 2012. Is it possible that this was a
15                                                             15
       control had to always be shipped with the TVPad; is          TVPad for your use?
16                                                             16
       that correct?                                                    A I don't remember.
17                                                             17
          A The individual box already contained a                      Q February 10th, 2012, was before you entered
18                                                             18
       remote control. The additional remote control is             into an agreement with Create New Technology, the
19                                                             19
       just that they're asking us to send additional remote        first distribution agreement in February 2012;
20                                                             20
       control to whoever we're sending it to.                      correct?
21                                                             21
              So I'm guessing when they place an order,                 A Yes.
22                                                             22
       they're saying my remote control -- or the customer              Q Did Create New Technology send a device, a
23                                                             23
       has a bad remote control, we need to replace it or           sample device, to you prior to you entering into the
24                                                             24
       whatever it is, so we just ship it.                          distribution agreement?
25                                                             25
          Q And when shipping the remote controls, how                  A I don't remember that.


                                                Page 138                                                    Page 140
1                                                              1
       would YTC Summit ship those products?                           Q Now, if you turn now another page past
2                                                              2
           A They come in one individual. Just put them             January tab, past the February tab, there's a list
3                                                              3
       in the box.                                                  here of incoming wire transfers. Do you see that?
4                                                              4
           Q Fair enough.                                              A March?
5                                                              5
              Now I'm going to have you turn to that sheet             Q So it's right after the February tab.
6                                                              6
       after the second blue sheet. It has UPS account and             A Okay.
7                                                              7
       FedEx account numbers. Do you see where it says "UPS            Q What is this a printout from?
8                                                              8
       account number"?                                                A Incoming wire transfer acknowledgment.
9                                                              9
           A Um-hum.                                                   Q And how was this transmitted to YTC Summit,
10                                                             10
           Q Is that the UPS account number for Create              this information?
11                                                             11
       New Technology shipments in the United States that              A From -- I think it's probably from HSBC.
12                                                             12
       YTC Summit used for fulfillment?                                Q A slightly different question. I understand
13                                                             13
           A Um-hum. Yes.                                           that the wire transfer itself was from HSBC Bank.
14                                                             14
           Q And there's also a FedEx account listed                What I'm trying to understand is where did this
15                                                             15
       there. On what occasions did YTC Summit use FedEx            document come from.
16                                                             16
       for purposes of Create New Technology's business?               A Where does it come from?
17                                                             17
           A I don't think we used it, but it was there.               Q Yes.
18                                                             18
           Q Now, there's an e-mail here listed for Fanny              A I don't know.
19                                                             19
       at gvtv.com. Do you see that?                                   Q Is this printed from your own -- YTC's own
20                                                             20
           A Yes.                                                   bank account?
21                                                             21
           Q And Huang is her last name; is that right?                A Yes.
22                                                             22
           A Yes.                                                      Q And what bank would this be printed from?
23                                                             23
           Q Who is AP Cass Lu?                                        A HSBC.
24                                                             24
           A Accounts payable.                                         Q So YTC Summit also has an account with HSBC
25                                                             25
           Q And is that a she?                                     Bank?


                                                                                   35 (Pages 137 to 140)
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                                                  Page 149                                                    Page 151
1                                                               1
           A Um-hum.                                                    A Yes.
2                                                               2
           Q So can you identify what this document is                  Q Were there any TVPads included in this
3                                                               3
       for us?                                                      particular --
4                                                               4
           A This is the UPS statement for Create New                   A 3,000 set top boxes.
5                                                               5
       Technology, shipment charges.                                    Q And where do you see that?
6                                                               6
           Q And it's addressed to 12037 Clark Street in                A First line. Second page.
7                                                               7
       Arcadia. That's YTC Summit's address; isn't that                 Q Is that the same document?
8                                                               8
       right?                                                           A The invoice?
9                                                               9
           A Correct.                                                   Q Yes.
10                                                             10
           Q And yet this was an account for Create New                 A Okay. This is only arrival plus this is
11                                                             11
       Technology that they were responsible for; is that           called arrival notice. Normally, if I have to pay
12                                                             12
       right?                                                       for the freight for this particular shipment, it will
13                                                             13
           A Yes.                                                   be a dollar amount down on the very, very bottom here
14                                                             14
           Q Do you know why it was addressed to YTC                that says zero because they're taking care of the
15                                                             15
       Summit's address?                                            freight.
16                                                             16
           A Because the shipping point is from YTC                       On the second page, that's commercial
17                                                             17
       Summit's address. The goods leaves from our address.         invoice. That's what's the shipments all included,
18                                                             18
           Q And so YTC Summit would receive the bill,              and you can tell, the first line is for 3,000 set top
19                                                             19
       would pay the bill on Create New Technology, and             boxes, 3,000 flyers, 80 posters, 60 remotes, and 10
20                                                             20
       they'd be reimbursed for the bill; is that right?            cable.
21                                                             21
           A Yes.                                                       Q And the date of this is January 22nd, 2015?
22                                                             22
           Q If you could turn the page to the next page,               A Yes.
23                                                             23
       is this e-mail from David Russo, does this have                  Q And who's Eric, the contact name for Create
24                                                             24
       anything to do with Create New Technology or is this         New Technology?
25                                                             25
       a different -- an e-mail that was misfiled?                      A I have no idea.

                                                  Page 150                                                    Page 152
1                                                              1
           A It's not misfiled. When we print these, we                 Q Do you know how much TVPad retails for?
2                                                              2
       always recycle all of our papers. This is the back               A I think it's $200.
3                                                              3
       end of that piece of paper.                                      Q Let me actually identify another document,
4                                                              4
           Q I see. Fair enough.                                    and let's take a look at something.
5
             So the UPS document was printed on recycled       5
                                                                           For purposes of shipping the products out to
6
       paper.                                                  6
                                                                    customers from YTC Summit's end using UPS, did YTC
7
           A Yes.                                              7
                                                                    Summit have to identify a particular value of the
8
           Q If you could turn the page to the freight         8
                                                                    product?
9
       invoice, do you recognize what this document is?        9
                                                                        A No.
10
           A This is an arrival notice that a shipment         10
                                                                        MS. McCAULEY: Let's mark as Exhibit 16, which
11
       has arrived.                                            11
                                                                    is the contents of another binder produced this
12
           Q And YTC Summit would receive a copy of this       12
                                                                    morning by YTC Summit.
13
       arrival notice when freight was delivered from Create   13
                                                                           (Plaintiffs' Exhibit No. 16
14
       New Technology; isn't that right?                       14
                                                                           was marked for identification.)
15
           A On this particular shipment, yes.                 15
                                                                        Q BY MS. McCAULEY: So, Mr. Chen, could I have
16
           Q Were there shipments that would arrive where      16
                                                                    you flip through this document, collection of
17
       a freight invoice would not be included?                17
                                                                    documents, quickly, and let me know if you recognize
18
           A Yes.                                              18
                                                                    this.
19
           Q And what circumstances would a freight            19
                                                                        A Shipping records.
20
       invoice not be included?                                20
                                                                        Q Was this from the binder that Yvonne
21
           A If they use DHL, then it wouldn't be -- we        21
                                                                    maintained?
22
       wouldn't get an arrival notice.                         22
                                                                        A Yes.
23
           Q In this particular case, the contents were        23
                                                                        Q Were these documents that Yvonne collected
24
       set top box, flyer, posters, remote controls and HDMI   24
                                                                    in the ordinary course of YTC Summit's business?
25
       cables; is that right?                                  25
                                                                        A This is what she collected for Create New


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                                                 Page 161                                                     Page 163
 1                                                              1
       some point?                                                      A Oh, okay.
 2                                                              2
           A When I first talked to them, they told me                  Q And do you see how the weight is listed as 4
 3                                                              3
       they were in Futian area.                                    and there's a various "Published Charge," and then
 4                                                              4
           Q Okay. And then at some point did they move?            when you get to the bottom of the first entry,
 5                                                              5
           A When I visited them in, it wasn't in Futian.           there's a 2nd reference for one TVPad to Hawaii?
 6                                                              6
       It was in ShenZhen.                                              A Yes.
 7                                                              7
           Q Do you have any reason to believe that they                Q Is that the typical weight for transporting
 8                                                              8
       stopped you from using the Futian address?                   or shipping a single TVPad via UPS is 4 pounds?
 9                                                              9
           A Futian becomes very expensive, so they                     A Either 1 or 2, yes.
10                                                             10
       probably moved their office.                                     Q Given a second reference lists one TVPad, do
11                                                             11
           Q And yet it's listed here as the shipper                you have any reason to doubt that this was not a
12                                                             12
       location for DHL Express; isn't that right?                  shipment of one TVPad or could it have been more?
13                                                             13
           A Yes.                                                       A I wouldn't know, but it's definitely a
14                                                             14
           Q In 2015.                                               TVPad. I just don't know how many.
15                                                             15
           A Yes.                                                       Q If you flip to the next page and you look at
16                                                             16
           Q Is it possible that they still have a                  line item 6, so flip to the next page, do you see
17                                                             17
       location there?                                              entry 6?
18                                                             18
           A It's possible.                                             A Yes.
19                                                             19
           Q Now, if you look at the next invoice on                    Q And you see the second reference where it
20                                                             20
       March 9th, 2015, that's for an additional shipment of        says two TVPads?
21                                                             21
       101 cartons; correct?                                            A Yes.
22                                                             22
           A Yes.                                                       Q Do you have any reason to doubt whether this
23                                                             23
           Q And that's for 2000 TVPad devices?                     was two TVPads being shipped to this customer?
24                                                             24
           A 2000, yes.                                                 A No.
25                                                             25
           Q So when we talked earlier about the last                   Q I'm going to flip through the rest of this


                                                 Page 162                                                     Page 164
1                                                              1
       shipment that YTC Summit received was in February, in        March invoice, and then there's another invoice which
2                                                              2
       fact it looks like YTC Summit received another               is dated March 14, 2015. Do you know what this
3                                                              3
       shipment of 2000 units in March; isn't that right?           document is?
4                                                              4
           A Yes.                                                       A Same thing. Shipping invoices.
5                                                              5
           Q You'll see that there's a delivery service                 Q Again, on behalf of Create New Technology?
6                                                              6
       invoice for UPS Next.                                            A Yes.
7                                                              7
           A Yes.                                                       Q And YTC Summit would pay these bills on
8                                                              8
           Q From March 7, 2015; is that correct?                   behalf of them and be reimbursed?
9                                                              9
           A Um-hum.                                                    A Right.
10                                                             10
           Q Is this a document that Create New                         Q And then if you flip to the fourth page of
11                                                             11
       Technology would have received for UPS on behalf             that invoice, entry 8, that appears to be a shipment
12                                                             12
       of -- strike that.                                           of a hundred TVPads to Richmond, California; is that
13                                                             13
              Is this a document YTC Summit received on             right?
14                                                             14
       behalf of Create New Technology for shipments of the             A Yes.
15                                                             15
       TVPad devices from UPS?                                          Q And then the 11-package shipment beginning
16                                                             16
           A Yes.                                                   on entry 9 is for 200 TVPads and the remotes being
17                                                             17
           Q And a document that -- an invoice that YTC             sent to Eric Chen in Woodside, New York; is that
18                                                             18
       Summit would have paid on behalf of Create New               right?
19                                                             19
       Technology?                                                      A Yes.
20                                                             20
           A Yes.                                                       Q And then if you flip, the next invoice is
21                                                             21
           Q Now, if you look starting at March 2nd on              from March 21st, 2015, and again, this is another
22                                                             22
       the pick-up date, which is page 3 of that invoice --         invoice that YTC paid on behalf of Create New
23                                                             23
       are you there?                                               Technology for shipment of TVPads; correct?
24                                                             24
           A Page 3?                                                    A Yes.
25                                                             25
           Q Page 3 of the invoice.                                     Q And then if you flip through here, there's


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                                                 Page 165                                                     Page 167
1                                                              1
       also some large shipments included to various                this period of time to help YTC unload this product
2                                                              2
       recipients in this invoice as well; correct?                 that was left over in its warehouse?
3                                                              3
          A Yes.                                                       A I think they send over all these orders to
4                                                              4
          Q And we have a March 28th invoice, same                  help them unload all these products off my warehouse.
5                                                              5
       thing. This is an invoice that YTC paid for shipment            Q Fair enough. Were you surprised by the
6                                                              6
       of TVPads on behalf of Create New Technology; is that        level of activity in terms of shipments or was this
7                                                              7
       right?                                                       pretty much par for the course throughout the
8                                                              8
          A Yes.                                                    relationship?
9                                                              9
          Q And then it looks like there's another --                  A You know, during this particular time, from
10                                                             10
       under the April tab, there's another wire transfer           March to April, I wasn't even in the office, so by
11                                                             11
       transaction notice; correct?                                 the time I came back and they told me everything's
12                                                             12
          A Yes.                                                    gone, I was surprised.
13                                                             13
          Q And another statement from YTC Summit to                   Q Fair enough. You weren't in communication
14                                                             14
       Create New Technology dated May 6, 2015; is that             with your office while you were traveling in China?
15                                                             15
       right?                                                          A I am, but definitely did not discuss TVPad.
16                                                             16
          A May 6, yes.                                                Q Let's go back to -- and we're almost, I
17                                                             17
          Q And this lists the beneficiary bank as JP               think, about finished. I've got a few extra
18                                                             18
       Morgan Chase Bank. Is that YTC Summit's current              questions. Go back to Exhibit 16, if we could.
19                                                             19
       bank?                                                              We'll start from the beginning. That first
20                                                             20
          A Yes.                                                    document, which is a packing list it appears to be,
21                                                             21
          Q If you could turn to the -- the next page               do you have any additional information about what
22                                                             22
       there's an e-mail from Jennifer Chen dated April 8,          this document is?
23                                                             23
       2015. Do you see that?                                          A It's just a packing list that 2000 units
24                                                             24
          A Um-hum.                                                 came in from Create New Technology.
25                                                             25
          Q Do you recognize that e-mail address near                  Q In February of 2015; is that right?

                                                 Page 166                                                     Page 168
1                                                              1
       the bottom under the Luph, bracket, "Notice about                A Yes.
2                                                              2
       change at work"? Is that Ms. Huang?                              Q And whose handwriting is at the bottom? Is
3                                                              3
           A You mean "Dear Jenny, for the following part           that Yvonne's?
4                                                              4
       of my work" --                                                   A That's Yvonne's.
5                                                              5
           Q Yes.                                                       Q Other than Yvonne's handwriting, is this a
6                                                              6
           A -- "that will be taken over by Ms. Huang?              document created by Create New Technology?
7                                                              7
           Q Who is Ms. Huang?                                          A This is something that probably came in
8                                                              8
           A Should be Fanny.                                       along with the shipment.
9                                                              9
           Q And is that Fanny's e-mail address right                   Q And then if you turn to the next page, the
10                                                             10
       there?                                                       packing list, what does Yvonne mean when she says
11                                                             11
           A Right underneath "Jennifer-YTC Summit"?                "E-mailed March 11, 2015"?
12                                                             12
           Q Yes, where it says huangxy@your- --                        A Which page?
13                                                             13
           A Yes, that's her Chinese name on the sign.                  Q The second page that's vertical, and there's
14                                                             14
           Q Let me try that again.                                 a notation at the top, it looks to be in Yvonne's
15                                                             15
             Is haungxy@yourfk.com Fanny's e-mail                   handwriting, that says "e-mailed March 11, 2015." Do
16                                                             16
       address?                                                     you know what she's referring to there with that
17                                                             17
           A Yes.                                                   notation?
18                                                             18
           Q If you flip to the next page, again we have                A No -- or probably this came in on
19                                                             19
       another UPS invoice it looks like for shipments of           March 11th, 2015.
20                                                             20
       TVPads that YTC Summit distributed and then paid this            Q Meaning the packing list came in?
21                                                             21
       bill on behalf of Create New Technology; is that                 A Or this particular request, so let me look
22                                                             22
       right?                                                       at the March.
23                                                             23
           A Yes.                                                       Q Could it be that's a notation indicating
24                                                             24
           Q Did you get the impression that Create New             when Yvonne entered information in the back-end
25                                                             25
       Technology was sending you a lot of orders during            system for Create New Technology?


                                                                                    42 (Pages 165 to 168)
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1                                                              1
           A Could be. I'm not too sure.                            October 2013 time period was at least in this area in
2                                                              2
           Q Okay. That's fair.                                     China?
3                                                              3
              Then if you look at the next packing list                 A In the Nanshan area for sure.
4                                                              4
       2-12-2015, this is for the same order number it                  Q If you turn the page to the next invoice,
5                                                              5
       appears that we looked at earlier; correct? It's,            there's this person by the name of Eric again. Do
6                                                              6
       again, for 2000 TVPads?                                      you know who that is?
7                                                              7
           A Correct, correct.                                          A No.
8                                                              8
           Q And then when you flip to the next page,                   Q And the address for the shipper here is the
9                                                              9
       this is a different packing list for a different             normal address or the typical address that YTC Summit
10                                                             10
       shipment of 200 TVPads; isn't that right?                    would see on shipments from Create New Technology; is
11                                                             11
           A 200, correct.                                          that right?
12                                                             12
           Q And then there's a January packing list,                   A You know, they use so many different
13                                                             13
       this is for a different quantity of 3,000 TVPads; is         addresses.
14                                                             14
       that right?                                                      Q Do you know what all those addresses were
15                                                             15
           A Correct.                                               for? Are they different locations of theirs?
16                                                             16
           Q So it looks as if YTC Summit received a                    A You know, there are a lot of companies that
17                                                             17
       shipment of 3,000 TVPads in January, 200 TVPads              does business, and they will ship from all over the
18                                                             18
       February 10th, and then another 2000 February 12th.          place. They will use different addresses. I guess
19                                                             19
       It that accurate?                                            it's for their account -- in China, that's for
20                                                             20
           A Yes.                                                   accounting purpose.
21                                                             21
           Q If I could have you skip to commercial                     Q If you could turn to the next page, there's
22                                                             22
       invoice dated 2015-3-10. Looks like this. And it             a different invoice, and this one is from the Fujian
23                                                             23
       says "E-Mailed March 11, 2015" in handwriting on the         Free-Trade Zone.
24                                                             24
       top.                                                             A Um-hum.
25                                                             25
           A Yes.                                                       Q And that's that address that I think you

                                                Page 170                                                     Page 172
 1                                                              1
           Q Who is Chun Fang Huang? Is that Fanny?                 testified earlier was where they were originally
 2                                                              2
           A Yeah. Huang is her last name.                          located when you first started doing business with
 3                                                              3
           Q And so is that her full Chinese name?                  them; is that right?
 4                                                              4
           A That's her Chinese name.                                   A You know, the Fujian Free-Trade Zone, I
 5                                                              5
           Q And then do you recognize this address in              would imagine that's their warehouse. If I were
 6                                                              6
       Chaguang Village in Nanshan District, ShenZhen,              doing business, I'd want to have my warehouse in the
 7                                                              7
       China?                                                       Free-Trade Zone.
 8                                                              8
           A This is where their office is at from my --                Q Do you have any other basis for thinking
 9                                                              9
       I remember going to Nanshan.                                 that that's their warehouse other than your
10                                                             10
           Q And so that's where you met, in their                  suspicions?
11                                                             11
       conference room?                                                 A I wouldn't put an -- well, I could put an
12                                                             12
           A You know, I know -- I'm not too sure about             office in the Free-Trade Zone, but I would definitely
13                                                             13
       this address up front. I don't know if you've ever           put my warehouse in the Free-Trade Zone.
14                                                             14
       been to China.                                                   Q Fair enough.
15                                                             15
           Q I have not.                                                   I'm going to flip a couple more pages past
16                                                             16
           A Addresses are not something that you'll see            the one that says DHL on the top to the next e-mail.
17                                                             17
       on the street, so sitting in the back of a car and           It's dated May 1st, 2014, to Jennifer. Do you see
18                                                             18
       getting driven -- I mean, I have no idea, but I know         that from Innovation Shipping?
19                                                             19
       I went to Nanshan.                                               A May 1st, 2014. Okay.
20                                                             20
           Q You just don't remember particularly the                   Q Do you know who Innovation Shipping is?
21                                                             21
       address --                                                       A No.
22                                                             22
           A I don't remember the address, but I know the               Q Do you know what Jennifer was discussing
23                                                             23
       area because I would ask what area is this, what area        with Innovation Shipping about port fares here?
24                                                             24
       is that.                                                         A Oh. This is something -- Innovation
25                                                             25
           Q So the meeting in either that March 2014 or            Shipping is a freight forwarder that's trying to


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 1                                                            1
       solicit business with us. This is on a back again.             A This one, she will put the tracking number
 2                                                            2
           Q This is a recycled piece of paper.                    right on this piece of paper.
 3                                                            3
           A We always recycle all of our papers, and for             Q And then what happens to this piece of
 4
       a document such as this, they just -- we always use    4
                                                                   paper?
 5
       recycled paper.                                        5
                                                                      A She'll save it until money is collected and
 6
           Q So if I understand, if I look to the prior       6
                                                                   then toss it away.
 7
       page, September 17th, 2014, the back of it would be    7
                                                                      Q So it's Yvonne's practice after money is
 8
       this May 1st --                                        8
                                                                   collected on each shipment for Create New Technology
 9
           A The back of it would be -- I think that this     9
                                                                   that she would throw away the shipping record?
10
       came from today's. If you flip it, it should be on     10
                                                                      A Yes.
11
       the back end of that.                                  11
                                                                      Q Then when we get to the March tab, we have
12
           Q And then I'm going to get to a tab that says     12
                                                                   another UPS invoice; is that right?
13
       "E-Mailed Orders."                                     13
                                                                      A Correct.
14
           A "E-mailed orders"?                               14
                                                                      Q And then we have another calendar entry; is
15
           Q Yes. There's a tab that says "E-Mailed           15
                                                                   that correct?
16
       Orders."                                               16
                                                                      A Correct.
17
           A Okay.                                            17
                                                                      Q So these are Yvonne's notes regarding the
18
           Q What is this document right after that tab       18
                                                                   shipments she was making of TVPads on behalf of --
19
       label?                                                 19
                                                                      A Yes.
20
           A It's a package that was lost or damaged          20
                                                                      Q -- Create New Technology?
21
       during shipping.                                       21
                                                                      A Right. This is how we keep track how much
22
           Q What does the reference to "e-mailed claim       22
                                                                   money we need to collect from them.
23
       to Lai Lai" mean?                                      23
                                                                      Q And you didn't retain copies of this
24
           A Lai Lai is our UPS rep, so if we have a          24
                                                                   beyond -- or prior to 2015.
25
       problem on a shipment, we will e-mail her.             25
                                                                      A Because once we collect it -- when the

                                               Page 174                                                     Page 176
 1                                                             1
           Q And then you'll see there's a series of               shipment is done, there's absolutely no reason we
 2                                                             2
       calendar entries a little further on starting with          need to keep it, again.
 3                                                             3
       January 2015.                                                   Q My question is a little different. My
 4                                                             4
           A Yes.                                                  question is why YTC Summit did not save copies of
 5                                                             5
           Q Now, is this Yvonne's -- starting in                  these notations of what it was owed by Create New
 6                                                             6
       February 2015, is this her handwriting?                     Technology prior to receipt of the subpoena in the
 7                                                             7
           A These are all her handwriting.                        other action.
 8                                                             8
           Q And what was she making notations of on this              A Correct.
 9                                                             9
       calendar?                                                       Q When were these records destroyed?
10                                                            10
           A Things that she was doing for shipments.                  A They were destroyed on a monthly basis.
11                                                            11
           Q For Create New Technology?                            After it's done, you just toss them, so by the time
12                                                            12
           A For Create New Technology.                            we had the subpoena, the February ones were still
13                                                            13
           Q So when she writes "Single piece UPS at $4,"          available, so those were not destroyed.
14                                                            14
       that means she shipped a single TVPad device on                 Q And if you flip through the remainder of
15                                                            15
       February 23rd?                                              this binder, it's consistent with the records we've
16                                                            16
           A Yes.                                                  looked at earlier which includes the UPS invoice
17                                                            17
           Q And then if you turn the page, this is                followed by the shipping instruction information, and
18                                                            18
       another invoice similar to what we looked at before;        the tracking information; correct?
19                                                            19
       is that right?                                                  A Yes.
20                                                            20
           A Um-hum.                                                   Q So I want to go back really briefly to Nancy
21                                                            21
           Q And then past that where there's an order             Wu. How do you know her?
22                                                            22
       for a Yan Li, February 27, 2015, this is a printout             A Through a business friend.
23                                                            23
       similar to the shipping instructions; correct?                  Q What business friend is that?
24                                                            24
           A Exactly.                                                  A I own different commercial buildings. One
25                                                            25
           Q Along with tracking information; correct?             of the tenants knew Nancy and introduced me to her.


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1                                                              1
           A No.                                                        A No.
2                                                              2
           Q Does Nancy Wu work for or do any work for                  Q Is Nancy Wu using YTC Summit's Clark Street
3                                                              3
       Create New Technology?                                       address for delivery of any goods related to her
4                                                              4
           A Not that I know of.                                    companies?
5                                                              5
           Q Does she do any work related to the TVPad?                 A No.
6                                                              6
           A Not that I know of.                                        MS. McCAULEY: Thank you so much for your time
7                                                              7
           Q Has she ever distributed the TVPad?                    today. I appreciate it.
8                                                              8
           A No, not that I know of.                                      We're going to have the original I think
9                                                              9
           Q Does Nancy pass on information to the owners           sent to Mr. Chen for review, and then it will be sent
10                                                             10
       of Create New Technology on behalf of you?                   to us for safekeeping. The court reporter is
11                                                             11
           A You know, Nancy only mentioned that to me              otherwise released from her duties and thank you. We
12                                                             12
       one time and asked me whether I was interested, and I        can go off the record.
13                                                             13
       said yes, I like to hear it, and that's when Annie                 (At the hour of 4:08 P.M.
14                                                             14
       called.                                                            the deposition was concluded.)
15                                                             15
             Nancy has never since again gotten involved
16                                                             16
       because Nancy has not taken one dime out of this
17                                                             17
       cooperation that we have, so it was just a friend
18                                                             18
       introducing another friend to see if they can
19                                                             19
       cooperate, and that's it.
20                                                             20
           Q And yet you talked to Nancy about the fact
21                                                             21
       that the relationship was not generating enough
22                                                             22
       distribution addresses for your company; isn't that
23                                                             23
       right?
24                                                             24
           A Yes.
25                                                             25
           Q And what was the purpose of relaying that

                                                  Page 190                                                      Page 192
1                                                               1
       information to Nancy?                                        STATE OF              )
2
          A Just to talk. She introduced someone, she                             ) ss.
3                                                               2
       was going, "Are you guys still distributing?"                COUNTY OF                 )
4                                                               3
             "Yes, we're distributing, but I'm not doing
5                                                               4
       that big of a business." That's it.
6                                                               5
          Q And was the object of giving her that
7                                                               6
       information so she could be a liaison between YTC
8                                                               7
       Summit and Create New Technology?
9                                                               8
          A No, no. Sometimes people will ask you after
10                                                              9
       they introduce you, "How well is it?" In Chinese
11                                                             10
       society, it's like well, you guys are doing well.       11
12
       Now you owe me a dinner. Well, we're not doing well;               I, the undersigned, say that I have read the
                                                               12
13
       therefore, I'm not obligated to take her out on a            foregoing deposition, and I declare under penalty of
                                                               13
14
       dinner party because of that.                                perjury that the foregoing is a true and correct
                                                               14
15
          Q Any other reason why you would have                     transcript of my testimony contained therein.
                                                               15
16
       discussed details about that business relationship      16
17
       with Nancy Wu?                                          17
18
          A No. That's why I don't discuss any of that         18
19
       stuff with her.                                                       Dated this _________ day
                                                               19
20
          Q So aside from giving Nancy mail from time to                     of _______________________, 20_____.
                                                               20
21
       time for her U.S. Herbal Skin Care business, are you    21
22
       involved in any other businesses together currently?                   ____________________________
                                                               22
23                                                                               STEVEN SHIANG CHEN
          A No.                                                23
24
          Q Is YTC Summit doing any sort of business for       24
25
       any of Nancy Wu's companies at this point?              25




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1                                                              1
       STATE OF CALIFORNIA )                                                PLAINTIFF'S EXHIBITS
                  ) ss.                                        2
                                                                            STEVEN SHIANG CHEN
2
       COUNTY OF LOS ANGELES )                                 3
3                                                              4
                                                                   NO. DESCRIPTION                      IDENTIFIED
4                                                              5
                                                                    1 Subpoena                        9
5
              I, SHELLY B. STOREY, CSR No. 3932, do hereby     6
                                                                    2 Logistic Distribution Agreement       25
6
       certify:                                                7
                                                                    3 Logistic Distribution Agreement       41
7
              That the foregoing proceedings were taken        8
                                                                    4 E-mail 2-27-15, caofc@yourfk.com to      80
8
       before me at the time and place therein set forth at    9
                                                                      shipping
9
       which time the witness was put under oath by me;       10
                                                                    5 E-mail 3-2-15, caofc@yourfk.com to      81
10
              That the testimony of the witness and all       11
                                                                      shipping
11
       objections made at the time of the examination were    12
                                                                    6 E-mail 3-4-15, caofc@yourfk.com to      82
12
       recorded stenographically by me and were thereafter    13
                                                                      shipping
13
       transcribed into typewriting under my direction and    14
                                                                    7 E-mail 3-5-15, caofc@yourfk.com to      84
14
       supervision and contain a true and correct             15
                                                                      shipping
15
       transcription of my shorthand notes so taken.          16
                                                                    8 E-mail 3-6-15, caofc@yourfk.com to      85
16
              I further certify that I am neither             17
                                                                      shipping
17
       counsel for nor related to any party to said action,   18
                                                                    9 E-mail 2-27-15, caofc@yourfk.com to      86
18
       nor in any way interested in the outcome thereof.      19
                                                                      shipping
19
              IN WITNESS WHEREOF, I have hereunto             20
20                                                                 10 E-mail 2-12-15, huangcf@gvtv.com.cn       91
       subscribed my name this 31st day of July, 2015.        21
21                                                                    to Steven Chen
                                                              22
22                                                                 11 E-mail 10-16-13, huangcf@gvtv.com.cn       93
                  _____________________________               23
23                                                                    to Steven Chen
                  Shelly B. Storey, CSR No. 3932              24
24                                                                 12 Photographs of package labeling on empty 102
                                                              25
25                                                                    cartons


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